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 7                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 8                                           AT SEATTLE
 9

10   AMAZON.COM, INC., a Delaware                           No.
     corporation; AMAZON.COM SERVICES LLC,
11   a Delaware limited liability company; UBER             COMPLAINT FOR DAMAGES
     TECHNOLOGIES, INC., a Delaware                         AND EQUITABLE RELIEF
12   corporation; and LYFT, INC., a Delaware
     corporation,
13
                                   Plaintiffs,
14
             v.
15
     GARY HUTTON, an individual;
16   HUTTRONICS LLC, a Wyoming limited
     liability company, individually and collectively
17   doing business as HUTTRONICS; and DOES
     1-10,
18
                                   Defendants.
19

20                                          I.     INTRODUCTION
21           1.         This case involves Defendants’ unlawful and expressly prohibited sale of

22   counterfeit Uber Technologies, Inc. (“Uber”) and Lyft, Inc. (“Lyft”) products. Amazon.com,

23   Inc., Amazon.com Services LLC (collectively, “Amazon”), Uber, and Lyft (together with

24   Amazon, “Plaintiffs”) jointly bring this lawsuit to permanently prevent and enjoin Defendants

25   from causing future harm to Amazon’s customers, reputation, and intellectual property (“IP”),

26   and Uber’s and Lyft’s users, reputations, and IP, and to hold Defendants accountable for their

27   illegal actions.

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 1           2.      Amazon.com Services LLC owns and operates the Amazon.com store (the

 2   “Amazon Store”), and Amazon’s affiliates own and operate equivalent counterpart international

 3   stores and websites. Amazon’s stores offer products and services to customers in more than 100

 4   countries around the globe. Some of the products are sold directly by Amazon entities, while

 5   others are sold by Amazon’s numerous third-party selling partners. The Amazon brand is one of

 6   the most well-recognized, valuable, and trusted brands in the world. To protect its customers and

 7   safeguard its reputation for trustworthiness, Amazon invests heavily in both time and resources

 8   to prevent counterfeit and infringing goods from being sold in its stores. In 2022 alone, Amazon

 9   invested over $1.2 billion and employed more than 15,000 people to protect its stores from fraud

10   and abuse. Amazon stopped over 800,000 suspected bad actor selling accounts before they

11   published a single listing for sale.

12           3.      Uber and Lyft are leaders in the ride-share industry. Although they are

13   competitors, they jointly bring this lawsuit—with Amazon—to help protect their respective IP

14   and the safety of Lyft and Uber users. Defendants’ unauthorized sale of counterfeit Uber and

15   Lyft signs and decals in the Amazon Store creates a risk that the counterfeit products will be

16   used by bad actors with improper motives, potentially jeopardizing the safety of riders.

17           4.      Uber was founded more than twelve years ago and is now a worldwide leader in

18   the ride-share industry. Uber offers access to a range of services under its various UBER

19   trademarks, which users can request through apps on their smartphone or through Uber’s

20   websites. Uber develops and operates proprietary technology applications supporting a variety of

21   offerings on its platform. Among its offerings, Uber connects consumers (“riders”) with

22   independent providers of transportation (“drivers”) for ridesharing services. Uber’s technology is

23   available in more than seventy countries worldwide, including across the United States.

24   Rideshare-related services available through Uber’s platform are often identified by a sign

25   bearing the UBER trademark displayed on the vehicle. The Uber brand symbolizes access to not

26   only the quick, affordable services available at the touch of a button, but also the dependability

27   its users have come to enjoy from the company.

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 1          5.       Lyft is also a leader in the ride-sharing industry. Lyft was started more than

 2   twelve years ago under the name Zimride. Lyft’s platform is a ridesharing marketplace that

 3   connects drivers with riders (collectively, “users”) under its various LYFT trademarks, which

 4   users can request through apps on their smartphone or online. Lyft’s platform is available

 5   domestically in every state and in multiple Canadian cities. Drivers providing rides on Lyft’s

 6   platform are often signified by an emblem with the LYFT trademark displayed on the vehicle.

 7   The Lyft brand symbolizes access to not only the quick, affordable services available at the touch

 8   of a button, but also the dependability its users have come to enjoy from the company.

 9          6.       Uber owns, manages, enforces, licenses, and maintains IP, including various

10   trademarks. Relevant to this Complaint, Uber owns the following registered trademarks (“Uber

11   Trademarks”).

12
      Mark       Reg. No.               International Class / Goods & Services (excerpt)
13
     UBER        5,860,001 9. Signaling device comprised of receivers and transmitters of electronic
14                         signals for matching drivers to passengers

15   UBER        6,584,142 11. lighting apparatus and installations, namely, luminous tubes for
                           lighting, searchlights, vehicle reflectors, lights for vehicles; safety lamps;
16                         …vehicle lights for assisting rideshare passengers to locate vehicles; spot
                           lights; lights for vehicles …solar-powered all-weather lights; lights for
17                         use in illuminating signs and displays; LED and HID light assemblies for
18                         vehicles; LED lighting assemblies for illuminated signs; light reflectors;
                           lighting apparatus and installations for vehicles; light panels for vehicles,
19                         namely, cars, motorcars, automobiles, trucks, vans, SUVs, ….

20   UBER        6,175,437 16. Printed matter, namely, decals, stickers.

21   UBER        3,977,893 9. Computer software for coordinating transportation services, namely,
                           software for the automated scheduling and dispatch of motorized vehicles
22                         38. Telecommunications services, namely, routing calls, SMS messages,
                           and push-notifications to local third-party motorized vehicle dispatchers
23
                           in the vicinity of the caller using mobile phones
24                         39. Providing a website featuring information regarding transportation
                           services and bookings for transportation services
25                         42. Providing temporary use of online non-downloadable software for
                           providing transportation services, bookings for transportation services
26                         and dispatching motorized vehicles to customers
27

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 1          7.       All of these registrations are valid, unrevoked, and subsisting, and constitute

 2   prima facie evidence of Uber’s exclusive ownership of the marks. Registration No. 3,977,893 is

 3   also incontestable, which constitutes conclusive evidence of the validity of the mark and Uber’s

 4   exclusive right to use it in commerce. True and correct copies of the registration certificates for

 5   the Uber Trademarks are attached as Exhibit A.

 6          8.       Uber has continuously used the Uber Trademarks in connection with the

 7   promotion, advertising, and sales of its goods and services. Uber has invested millions of dollars

 8   and has expended significant effort in advertising, promoting, and developing the Uber

 9   Trademarks in the United States and around the world. As a result of such advertising and

10   expenditures, Uber has established considerable goodwill in the Uber Trademarks. The Uber

11   Trademarks have become widely known and recognized throughout the world for quick,

12   dependable, and affordable products and services. The Uber Trademarks are famous and

13   distinctive, and have become associated by the consuming public exclusively with Uber. The

14   Uber Trademarks are an invaluable asset of substantial and inestimable worth to Uber.

15          9.       Lyft owns, manages, enforces, licenses, and maintains IP, including various

16   trademarks. Relevant to this Complaint, Lyft owns the following registered trademarks (“Lyft

17   Trademarks”).

18
             Mark             Reg. No.         International Class / Goods & Services (excerpt)
19
                             4,686,618     9. Computer software for coordinating transportation
20                                         services, namely, software for electronic message alerts
                                           featuring leads, optimal matches, and matching posts for
21                                         services, scheduling, namely, connecting transportation
22                                         providers with individuals and groups needing rides, the
                                           arrangement and booking of transportation, the sending
23                                         and receiving of electronic messages, and creating profiles
                                           38. Telecommunications services, namely, routing calls,
24                                         messages, and push-notifications to transportation
                                           providers and riders
25

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 1
             Mark            Reg. No.         International Class / Goods & Services (excerpt)
 2
                             6,170,586    9. Luminous signs using light emitting diodes and
 3                                        electronic controllers to produce real-time and
                                          programmable messages and information displays;
 4                                        luminous signs using light emitting diodes and electronic
 5                                        controllers to project data from a mobile device;
                                          illuminating equipment for vehicles, namely, LED
 6                                        information displays
                                          11. Electric luminaries for vehicles; lighting installations,
 7                                        namely, vehicle lights; lights for use in illuminating signs
                                          and displays; illuminating equipment for vehicles, namely,
 8                                        electrical lamps
 9
                             6,170,587    9. Luminous signs using light emitting diodes and
10                                        electronic controllers to produce real-time and
                                          programmable messages and information displays;
11                                        luminous signs using light emitting diodes and electronic
                                          controllers to project data from a mobile device;
12                                        illuminating equipment for vehicles, namely, LED
13                                        information displays
                                          11. Electric luminaries for vehicles; lighting installations,
14                                        namely, vehicle lights; lights for use in illuminating signs
                                          and displays; illuminating equipment for vehicles, namely,
15                                        electrical lamps
16                           4,698,330    39. Transportation of passengers by motorized vehicle;
                                          Transportation of passengers by vehicle through a network
17
                                          of transportation providers
18
                             4,698,331    9. Computer software for coordinating transportation
19                                        services, namely, software for electronic message alerts
                                          featuring leads, optimal matches, and matching posts for
20                                        services, scheduling, namely, connecting transportation
                                          providers with individuals and groups needing rides, the
21
                                          arrangement and booking of transportation, electronic
22                                        messages
                                          38. Telecommunications services, namely, routing calls,
23                                        messages, and push-notifications to transportation
                                          providers and riders39. Transportation of passengers by
24                                        motorized vehicle; Transportation of passengers by vehicle
                                          through a network of transportation providers
25

26          10.     All of these registrations are valid, unrevoked, and subsisting, and constitute

27   prima facie evidence of Lyft’s exclusive ownership of the marks. Registration Nos. 4,686,618;

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 1   4,698,330; and 4,698,331 are also incontestable, which constitutes conclusive evidence of the

 2   validity of the marks and Lyft’s exclusive right to use them in commerce. True and correct

 3   copies of the registration certificates for the Lyft Trademarks are attached as Exhibit B.

 4          11.     Lyft has continuously used the Lyft Trademarks in connection with the

 5   promotion, advertising, and sales of its goods and services. Lyft has invested millions of dollars

 6   and has expended significant effort in advertising, promoting, and developing the Lyft

 7   Trademarks in the United States. As a result of such advertising and expenditures, Lyft has

 8   established considerable goodwill in the Lyft Trademarks. The Lyft Trademarks have become

 9   widely known and recognized throughout the U.S. for quick, dependable, and affordable

10   products and services. The Lyft Trademarks are famous and distinctive, and have become

11   associated by the consuming public exclusively with Lyft. The Lyft Trademarks are an

12   invaluable asset of substantial and inestimable worth to Lyft.

13          12.     From February 2018 through August 2019, Defendants advertised, marketed,

14   offered, distributed, and sold counterfeit Uber and/or Lyft products in the Amazon Store, using

15   the Uber Trademarks and/or the Lyft Trademarks, without authorization, in order to deceive

16   customers and users about the authenticity and origin of the products and the products’ affiliation

17   with Uber and Lyft.

18          13.     As a result of their illegal actions, Defendants have infringed and misused Uber’s

19   and Lyft’s IP; breached their contracts with Amazon; willfully deceived and harmed Amazon

20   and its customers, and Uber and Lyft and their users; compromised the integrity of the Amazon

21   Store; and undermined the trust that customers and users place in Amazon, Uber, and Lyft.

22   Defendants’ illegal actions have caused Amazon, Uber, and Lyft to expend significant resources

23   to investigate and combat Defendants’ wrongdoing and to bring this lawsuit to prevent

24   Defendants from inflicting future harm to Amazon’s customers and Uber’s and Lyft’s users.

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 1                                            II.     PARTIES

 2          14.     Amazon.com, Inc. is a Delaware corporation with its principal place of business

 3   in Seattle, Washington. Amazon.com Services LLC is a Delaware company with its principal

 4   place of business in Seattle, Washington.

 5          15.     Uber Technologies, Inc. is a Delaware corporation with its principal place of

 6   business in San Francisco, California.

 7          16.     Lyft, Inc. is a Delaware corporation with its principal place of business in San

 8   Francisco, California.

 9          17.     Defendants are a collection of individuals and entities, both known and unknown,

10   who conspired and operated in concert with each other to engage in the counterfeiting scheme

11   alleged in this Complaint. Defendants are subject to liability for their wrongful conduct both

12   directly and under principles of secondary liability including, without limitation, respondeat

13   superior, vicarious liability, and/or contributory infringement.

14          18.     On information and belief, Defendant Gary Hutton, d/b/a Huttronics (“Defendant

15   Hutton”), is an individual residing in Torrance, California who personally participated in and/or

16   had the right and ability to supervise, direct, and control the wrongful conduct alleged in this

17   Complaint, including through owning and operating the selling account in the Amazon Store

18   with the name “Huttronics” (referred to as the “Huttronics Selling Account”), and derived a

19   direct financial benefit as a result of that wrongful conduct.

20          19.     On information and belief, Defendant Huttronics LLC, d/b/a Huttronics

21   (“Defendant Huttronics”), is a Wyoming limited liability company owned, operated, managed,

22   and controlled by Defendant Hutton, who is its CEO. On further information and belief,

23   Defendant Huttronics had the right and ability to supervise, direct, and control the wrongful

24   conduct alleged in this Complaint, including the Huttronics Selling Account, and derived a direct

25   financial benefit as a result of that wrongful conduct.

26          20.     On information and belief, Defendants Does 1-10 (the “Doe Defendants”) are

27   individuals and/or entities working in active concert with each other and the named Defendants

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 1   to knowingly and willfully manufacture, import, advertise, market, offer, distribute, and sell

 2   counterfeit Uber and Lyft products. The identities of the Doe Defendants are presently unknown

 3   to Plaintiffs.

 4                                 III.   JURISDICTION AND VENUE
 5           21.      The Court has subject matter jurisdiction over Uber’s and Lyft’s Lanham Act

 6   claims for trademark infringement, and Amazon’s, Uber’s, and Lyft’s Lanham Act claims for

 7   false designation of origin and false advertising, pursuant to 15 U.S.C. § 1121 and 28 U.S.C.

 8   §§ 1331 and 1338(a). The Court has subject matter jurisdiction over Amazon’s breach of

 9   contract claim and Amazon’s, Uber’s, and Lyft’s claims for violation of the Washington

10   Consumer Protection Act, pursuant to 28 U.S.C. § 1367.

11           22.      The Court has personal jurisdiction over Defendants because they transacted

12   business and committed tortious acts within and directed to the State of Washington, and

13   Amazon’s, Uber’s, and Lyft’s claims arise from those activities. Defendants affirmatively

14   undertook to do business with Amazon, a corporation with its principal place of business in

15   Washington, and sold in the Amazon Store products bearing counterfeit versions of the Uber

16   Trademarks and/or Lyft Trademarks which otherwise infringed Uber’s and Lyft’s IP.

17   Additionally, Defendants shipped products bearing counterfeit versions of the Uber Trademarks

18   and the Lyft Trademarks to consumers in Washington. Each Defendant committed, or facilitated

19   the commission of, tortious acts in Washington and has wrongfully caused Amazon, Uber, and

20   Lyft substantial injury in Washington.

21           23.      Further, the named Defendants have consented to the jurisdiction of this Court by

22   agreeing to the Amazon Services Business Solutions Agreement (“BSA”), which provides that

23   the “Governing Courts” for claims to enjoin infringement or misuse of IP rights and claims

24   related to the sale of counterfeit products in the Amazon Store are the state or federal courts

25   located in King County, Washington.

26           24.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

27   substantial part of the events giving rise to the claims occurred in the Western District of

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 1   Washington. Venue is also proper in this Court because Defendants consented to it under the

 2   BSA.

 3          25.     Pursuant to Local Civil Rule 3(e), intra-district assignment to the Seattle Division

 4   is proper because the claims arose in this Division, where (a) Amazon resides, (b) injuries giving

 5   rise to suit occurred, and (c) Defendants directed their unlawful conduct.

 6                                            IV.     FACTS
 7          A.      Amazon’s Efforts to Prevent the Sale of Counterfeit Goods
 8          26.     Amazon works hard to build and protect the reputation of its stores as a place

 9   where customers can conveniently select from a wide array of authentic goods and services at

10   competitive prices. Amazon invests vast resources to ensure that when customers make

11   purchases in Amazon’s stores—either directly from Amazon or from one of its millions of third-

12   party sellers—customers receive authentic products made by the true manufacturer of those

13   products.

14          27.     A small number of bad actors seek to take advantage of the trust customers place

15   in Amazon by attempting to create Amazon selling accounts to advertise, market, offer,

16   distribute, and sell counterfeit or otherwise infringing products. These bad actors seek to misuse

17   and infringe the trademarks and other IP of the true manufacturers of those products to deceive

18   Amazon and its customers. This unlawful and expressly prohibited conduct undermines the trust

19   that customers, sellers, and manufacturers place in Amazon, and tarnishes Amazon’s brand and

20   reputation, thereby causing irreparable harm to Amazon.

21          28.     Amazon continues to innovate to stay ahead of bad actors, and requires new and

22   existing selling partners to verify their identity and documentation. Amazon investigators review

23   the seller-provided identity documents to determine whether those documents are both valid and

24   legitimate, such as confirming that the seller has provided a fully legible copy of the document,

25   verifying that the document matches the information the seller provided to Amazon with respect

26   to their identity, and analyzing whether the document shows any signs of alteration, tampering,

27   or fabrication. These measures have made it more difficult for bad actors to hide. Amazon’s

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 1   seller verification, coupled with continued advancements in Amazon’s machine learning-based

 2   detection, are deterring bad actors from even attempting to create new Amazon selling accounts.

 3   The number of bad actor attempts to create new selling accounts decreased from 6 million

 4   attempts in 2020, to 2.5 million attempts in 2021, to 800,000 attempts in 2022.

 5          29.     Amazon prohibits the sale of inauthentic and fraudulent products and is constantly

 6   innovating on behalf of its customers and working with brands, manufacturers, rights owners,

 7   and others to improve the detection and prevention of counterfeit products from ever being

 8   offered to customers in Amazon’s stores. Amazon employs dedicated teams of software

 9   engineers, research scientists, program managers, and investigators to prevent counterfeits from

10   being offered in Amazon’s stores. Amazon’s systems automatically and continuously scan

11   thousands of data points to prevent, detect, and remove counterfeits from its stores and to

12   terminate the selling accounts of bad actors before they can offer counterfeit products. When

13   Amazon identifies issues based on this feedback, it takes action to address them. Amazon also

14   uses this intelligence to improve its proactive prevention controls.

15          30.     In 2017, Amazon launched Brand Registry, a free service that offers rights owners

16   an enhanced suite of tools for monitoring and reporting potential instances of infringement,

17   regardless of their relationship with Amazon. Brand Registry delivers automated brand

18   protections that use machine learning to predict infringement and proactively protect brands’ IP.

19   Brand Registry also provides a powerful Report a Violation Tool that allows brands to search for

20   and report potentially infringing products using state‐of-the‐art image search technology. In

21   2022, through continued improvements in Amazon’s automated protections, brands found fewer

22   infringing products in Amazon’s stores, with the number of valid notices of infringement

23   submitted by brands in Brand Registry decreasing by more than 35% from 2021.

24          31.     In 2019, Amazon launched Project Zero, a program to empower brands to help

25   Amazon drive counterfeits to zero. Project Zero introduced a novel self-service counterfeit

26   removal tool that enables brands to remove counterfeit listings directly from Amazon’s stores.

27   This enables brands to take down counterfeit product offerings on their own within minutes. In

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 1   2022, there were more than 22,000 brands enrolled in Project Zero. For every listing removed by

 2   a brand, Amazon’s automated protections removed more than 1,000 listings through scaled

 3   technology and machine learning, stopping those listings from appearing in Amazon’s stores.

 4           32.     Once a seller begins selling in Amazon’s stores, Amazon continues to monitor the

 5   selling account’s activities for risks. If Amazon identifies a bad actor, it closes that actor’s selling

 6   account, withholds funds disbursement, and investigates whether other accounts are involved in

 7   unlawful activities.

 8           33.     In addition to the measures discussed above, Amazon actively cooperates with

 9   rights owners and law enforcement to identify and prosecute bad actors suspected of engaging in

10   illegal activity. Lawsuits, like this one, as well as criminal referrals, are integral components of

11   Amazon’s efforts to combat counterfeits and other inauthentic products.

12           B.      Uber’s Commitments to Brand Protection and Safety
13           34.     Uber has a well-established brand protection program and regularly polices

14   infringements of its trademarks, including the production and sale of counterfeit Uber-branded

15   products. Uber uses a third party brand protection vendor and is enrolled in Amazon Brand

16   Registry and Project Zero in order to combat counterfeiting activity, including Defendants’

17   illegal activity described in this Complaint.

18           35.     Uber values the safety and privacy of the users of its platform, implementing

19   multiple in-app safety features and background checks and screenings for drivers using the Uber

20   platform. Drivers who maintain the requirements of Uber’s rigorous screening process are

21   permitted to display in their vehicle Uber-branded signage provided by Uber, as further detailed

22   below. Uber does not sell signage bearing the Uber Trademarks to drivers, nor has it authorized

23   any party to do so. Because of Uber’s multi-layered safety and security approach, riders rely on

24   the fact that vehicles displaying signage with the Uber Trademarks are driven by individuals

25   approved by Uber.

26

27

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 1          C.      Lyft’s Commitments to Brand Protection and Safety

 2          36.     Lyft has a well-established brand protection program and regularly polices

 3   infringements of its trademarks, including the production and sale of counterfeit Lyft-branded

 4   products. Lyft uses a third party brand protection vendor and is enrolled in Amazon Brand

 5   Registry and Project Zero in order to combat counterfeiting activity, including Defendants’

 6   illegal activity described in this Complaint.

 7          37.     Lyft values the safety and privacy of the users of its platform, implementing

 8   multiple in-app safety features and background checks and screenings for drivers using the Lyft

 9   platform. Drivers who maintain the requirements of Lyft’s rigorous screening process are

10   permitted to display in their vehicle Lyft-branded signage provided by Lyft, as further detailed

11   below. Lyft does not sell signage bearing the Lyft Trademarks to drivers. Because of Lyft’s

12   multi-layered safety and security approach, riders rely on the fact that vehicles displaying

13   signage with the Lyft Trademarks are driven by individuals approved by Lyft.

14          D.      Defendants Created an Amazon Selling Account and Agreed Not to Sell
                    Counterfeit Goods
15

16          38.     Defendants established, controlled, and operated the Huttronics Selling Account

17   detailed in Section G below, through which they sought to advertise, market, offer, distribute,

18   and sell counterfeit Uber and Lyft products.

19          39.     To become a third-party seller in the Amazon Store, sellers are required to agree

20   to the BSA, which governs the applicant’s access to and use of Amazon’s services and states

21   Amazon’s rules for selling in the Amazon Store. By entering into the BSA, each seller represents

22   and warrants that it “will comply with all applicable Laws in [the] performance of its obligations

23   and exercise of its rights” under the BSA. A true and correct copy of the applicable version of

24   the BSA, namely, the version Defendants last agreed to when using Amazon’s services, is

25   attached as Exhibit C.

26          40.     Under the terms of the BSA, Amazon specifically identifies the sale of counterfeit

27   goods as “deceptive, fraudulent, or illegal activity” in violation of Amazon’s policies, reserving

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 1   the right to withhold payments and terminate the selling account of any bad actor who engages in

 2   such conduct. Ex. C, ¶¶ 2-3. The BSA requires the seller to defend, indemnify, and hold

 3   harmless Amazon against any claims or losses arising from the seller’s “actual or alleged

 4   infringement of any Intellectual Property Rights.” Id. ¶ 6.1.

 5            41.   Additionally, the BSA incorporates, and sellers therefore agree to be bound by,

 6   Amazon’s Anti-Counterfeiting Policy, the applicable version of which is attached as Exhibit D.

 7   The Anti-Counterfeiting Policy expressly prohibits the sale of counterfeit goods in the Amazon

 8   Store:

 9                     The sale of counterfeit products is strictly prohibited.
10                     You may not sell any products that are not legal for sale, such as products that
                        have been illegally replicated, reproduced, or manufactured[.]
11
                       You must provide records about the authenticity of your products if Amazon
12                      requests that documentation[.]
13                  Failure to abide by this policy may result in loss of selling privileges, funds being
                    withheld, destruction of inventory in our fulfillment centers, and other legal
14                  consequences.
15   Id.

16            42.   Amazon’s Anti-Counterfeiting Policy further describes Amazon’s commitment to

17   preventing the sale and distribution of counterfeit goods in the Amazon Store together with the

18   consequences of doing so:

19                     Sell Only Authentic and Legal Products. It is your responsibility to source,
                        sell, and fulfill only authentic products that are legal for sale. Examples of
20                      prohibited products include:
21                      o Bootlegs, fakes, or pirated copies of products or content
22                      o Products that have been illegally replicated, reproduced, or manufactured
23                      o Products that infringe another party’s intellectual property rights
24                     Maintain and Provide Inventory Records. Amazon may request that you
                        provide documentation (such as invoices) showing the authenticity of your
25                      products or your authorization to list them for sale. You may remove pricing
                        information from these documents, but providing documents that have been
26                      edited in any other way or that are misleading is a violation of this policy and
                        will lead to enforcement against your account.
27

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 1                     Consequences of Selling Inauthentic Products. If you sell inauthentic
                        products, we may immediately suspend or terminate your Amazon selling
 2                      account (and any related accounts), destroy any inauthentic products in our
                        fulfillment centers at your expense, and/or withhold payments to you.
 3
                       Amazon Takes Action to Protect Customers and Rights Owners. Amazon also
 4                      works with manufacturers, rights holders, content owners, vendors, and sellers
                        to improve the ways we detect and prevent inauthentic products from reaching
 5                      our customers. As a result of our detection and enforcement activities,
                        Amazon may:
 6
                        o Remove suspect listings.
 7
                        o Take legal action against parties who knowingly violate this policy and
 8                        harm our customers. In addition to criminal fines and imprisonment,
                          sellers and suppliers of inauthentic products may face civil penalties
 9                        including the loss of any amounts received from the sale of inauthentic
                          products, the damage or harm sustained by the rights holders, statutory
10                        and other damages, and attorney’s fees.
11                     Reporting Inauthentic Products. We stand behind the products sold on our site
                        with our A-to-z Guarantee, and we encourage rights owners who have product
12                      authenticity concerns to notify us. We will promptly investigate and take all
                        appropriate actions to protect customers, sellers, and rights holders. You may
13                      view counterfeit complaints on the Account Health page in Seller Central.
14   Id.

15          43.     When Defendants registered as a third-party seller in the Amazon Store and

16   established the Huttronics Selling Account, they agreed not to advertise, market, offer, sell, or

17   distribute counterfeit products, and agreed to provide Amazon with accurate and complete

18   information and to ensure that information remained as such.

19          E.      Uber’s Terms of Service Forbid the Sale of Unauthorized Products Bearing
                    the Uber Trademarks
20

21          44.     Drivers using the Uber platform are bound by the Uber Platform Access

22   Agreement, a true and correct copy of the current version of which is attached as Exhibit E.

23          45.     Uber grants drivers who access its platform a “limited license to use, wear, or

24   display Uber Branded Materials [such as stickers, decals, lights and other material displaying the

25   Uber Trademarks] provided directly to [drivers] by Uber” in connection with providing ride

26   services through Uber’s platform. Ex. E, ¶ 2.7. Such materials provided by Uber are defined as

27   “Authorized Uber Branded Materials.” Drivers who access Uber’s platform agree not to “(i) use,

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 1   wear, or display Uber-Branded Materials that are not Authorized Uber Branded Materials[,] (ii)

 2   purchase, accept, offer to sell, sell or otherwise transfer Uber Branded Materials that are not

 3   Authorized Uber Branded Materials or (iii) offer to sell or sell, or otherwise transfer Authorized

 4   Uber Branded Materials, without Uber’s prior written permission, or (iv) display Uber Branded

 5   Materials when [drivers] are not accessing the Platform.” Id. Drivers further agree to “destroy

 6   and discard any Uber Branded Materials” in the event their Uber account is closed. Id.

 7          46.     The Uber Platform Access Agreement further provides that Uber’s intellectual

 8   property, including the Uber Trademarks, remains the property of Uber, and that drivers

 9   accessing the Uber platform are only provided the limited license to use such intellectual

10   property as set forth in the license contained in the Uber Platform Access Agreement. Id. at ¶ 9.

11   The Uber Platform Access Agreement expressly states that drivers must not, among other things,

12   “license, sublicense, copy, modify, distribute, create, sell, resell, transfer, or lease any part of …

13   the Authorized Uber Branded Materials.” Id.

14          47.     Therefore, Uber’s Platform Access Agreement specifically forbids the

15   manufacture or sale of products bearing the Uber Trademarks.

16          48.     Uber provides new drivers who access the Uber platform with a decal bearing the

17   Uber Trademarks for use on a driver’s vehicle when using the app and provides replacement

18   decals as needed. Some jurisdictions require drivers using ride-share apps to display such decals.

19   Only approved drivers are authorized to display decals bearing the Uber Trademarks.

20          49.     Additionally, as part of a voluntary pilot program, Uber has provided some

21   drivers with illuminated signs, referred to as “Beacons,” that drivers can use to help riders find

22   them. Drivers who receive Beacons must agree to terms stating that the devices remain the

23   property of Uber, and that the driver may not “transfer, loan, or sell” the devices.

24          50.     As described below, Defendants sold products bearing Uber Trademarks that

25   were not manufactured, licensed, or authorized by Uber.

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 1            F.       Lyft’s Terms of Service Forbid the Sale of Unauthorized Products Bearing
                       the Lyft Trademarks
 2

 3            51.      Drivers on the Lyft platform are bound by Lyft’s Terms of Service, a true and

 4   correct copy of the current version is attached as Exhibit F.

 5            52.      Under Lyft’s Terms of Service, drivers accessing the Lyft platform are granted,

 6   during the term of their relationship with Lyft, and subject to the driver’s compliance with Lyft’s

 7   Terms of Service, a “limited, revocable, non-exclusive license to display and use the Lyft Marks

 8   solely on the Lyft stickers/decals, and any other Lyft-Branded items provided by Lyft directly to

 9   [drivers] in connection with providing the Rideshare Services.” Ex. F, ¶ 11. The license is non-

10   transferrable and non-assignable. Id.

11            53.      Additionally, drivers accessing the Lyft platform acknowledge that Lyft is the

12   owner of the Lyft Marks, including any goodwill associated with the marks, and agree that they

13   will not “create any materials that use the Lyft Marks or any derivatives of the Lyft Marks as a

14   trademark, service mark, trade name or trade dress, other than as expressly approved by Lyft in

15   writing.” Id. Drivers accessing the Lyft platform further agree they “will not rent, lease, lend,

16   sell, or otherwise redistribute the Lyft driver amp,1 or manufacture, produce, print, sell,

17   distribute, purchase, or display counterfeit/inauthentic Lyft driver amps or other Lyft Marks or

18   (including but not limited to signage, stickers, apparel, or decals) from any source other than

19   directly from Lyft.” Id.

20            54.      Therefore, Lyft’s Terms of Service specifically forbid the manufacture or sale of

21   products bearing the Lyft Trademarks by users of its platform.

22            55.      Lyft provides new approved drivers accessing its platform with a welcome kit that

23   includes official Lyft decals bearing the Lyft Trademarks for use on a driver’s vehicle when

24   using the app and provides replacement decals as needed. Only active and approved drivers are

25   authorized to use the Lyft decal or other Lyft trademarks. Some jurisdictions require drivers on

26   1
       The Lyft Amp is a unique dashboard mounted glowing emblem displaying the LYFT trademark that Lyft directly
     offers to eligible drivers using the Lyft platform, which allows riders to instantly recognize a car as one driving with
27   the Lyft platform.

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 1   the Lyft platform to display such decals, as they allow for easier identification for riders seeking

 2   to locate their requested rides. Lyft provides eligible drivers who meet certain criteria with a Lyft

 3   Amp to further identify the vehicle for riders.

 4          56.     As described below, Defendants sold products bearing Lyft Trademarks that were

 5   not manufactured, licensed, or authorized by Lyft.

 6          G.      Defendants’ Sale of Counterfeit Uber and Lyft Products

 7          57.     On information and belief, from February 2018 through August 2019, Defendants

 8   advertised, marketed, offered, distributed, and sold counterfeit products bearing the Uber

 9   Trademarks and/or Lyft Trademarks in the Amazon Store. Counterfeit Uber- and Lyft-branded

10   products sold by Defendants are identified and described below.

11          58.     Amazon proactively scans listings to detect counterfeit Uber and Lyft rideshare

12   signs that are listed in the Amazon Store. If Amazon determines that a listed product is likely

13   counterfeit, whether based on internal signals or on information from Uber and Lyft, Amazon

14   removes the listing from the Amazon Store. In response, bad actors have attempted to

15   intentionally evade Plaintiffs’ efforts to detect these counterfeit products, and so Amazon is

16   developing automated image recognition tools that proactively detect bad actors’ obfuscation,

17   flagging these products for removal and enforcement.

18          59.     On information and belief, at all times described herein, the Huttronics Selling

19   Account was controlled and operated by the named Defendants, and, on information and belief,

20   other unknown parties.

21          60.     On April 5, 2022, Uber reviewed images of a product from inventory that

22   Defendant listed as “Uber Lyft Sign with Bright LED Lights for Car” and shipped to Amazon

23   warehouses for sale to customers in the Amazon Store under the Huttronics Selling Account. On

24   June 3, 2022, Lyft reviewed images of the same product. Based on a review of those images,

25   Uber and Lyft were able to determine that the product displayed unauthorized depictions of the

26   Uber Trademarks and the Lyft Trademarks.

27

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 1                Figure 1. An image of the counterfeit Uber/Lyft sign sold by Defendants:

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 9          61.     On June 5, 2022, Uber reviewed images of a product from inventory that

10   Defendants listed as “Rideshare LED Sign” and shipped to Amazon warehouses for sale to

11   customers in the Amazon Store under the Huttronics Selling Account. On June 14, 2022, Lyft

12   reviewed images of the same product. Based on a review of those images, Uber and Lyft were

13   able to determine that the product displayed unauthorized depictions of the Uber Trademarks and

14   the Lyft Trademarks.

15                Figure 2. An image of the counterfeit Uber/Lyft sign sold by Defendants:

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24          62.     On April 5, 2022, Uber reviewed images of a product from inventory that

25   Defendants listed as “Uber Signs Rideshare LED Sign” and shipped to Amazon warehouses for

26   sale to customers in the Amazon Store under the Huttronics Selling Account. On June 3, 2022,

27   Lyft reviewed images of the same product. Based on a review of those images, Uber and Lyft

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 1   were able to determine that the product displayed unauthorized depictions of the Uber

 2   Trademarks and the Lyft Trademarks.

 3                Figure 3. An image of the counterfeit Uber/Lyft sign sold by Defendants:

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11          63.     On June 14, 2022, Lyft reviewed images of a product from inventory that

12   Defendants listed as “Rideshare LED Sign” and shipped to Amazon warehouses for sale to

13   customers in the Amazon Store under the Huttronics Selling Account. Based on a review of

14   those images, Lyft was able to determine that the product displayed unauthorized depictions of

15   the Lyft Trademarks.

16                  Figure 4. An image of the counterfeit Lyft sign sold by Defendants:

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26          64.     In addition to their counterfeiting activities in the Amazon Store, from at least as

27   early as 2018 to the present, Defendants also advertised, marketed, offered, and sold counterfeit

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 1   products bearing the Uber Trademarks and/or the Lyft Trademarks on their website

 2   https://huttronics.com (the “Huttronics Website”). Examples of the counterfeit products

 3   Defendants are listing for sale on the Huttronics Website are attached as Exhibit G. Uber and

 4   Lyft examined the products listed for sale on the Huttronics Website and determined that they

 5   display unauthorized depictions of the Uber Trademarks and the Lyft Trademarks.

 6          65.      On August 16, 2021, Plaintiffs’ investigator conducted a test purchase from the

 7   Huttronics Website of a product advertised as “UBER Lyft LED Sign, Bright LED Lights,

 8   Wireless, Removable, USB Rechargeable Lithium Ion Battery.” Defendants shipped to

 9   Plaintiffs’ investigator a product that bears the Uber Trademarks and the Lyft Trademarks. Uber

10   and Lyft have examined the product and determined that it displays unauthorized depictions of

11   the Uber Trademarks and the Lyft Trademarks.

12                Figure 5. An image of the counterfeit Uber/Lyft sign sold by Defendants on
                                           the Huttronics Website:
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21          66.      On August 25, 2022, Plaintiffs’ investigator conducted a test purchase from the

22   Huttronics Website of a product advertised as “UBER Lyft LED Sign.” Defendants shipped to

23   Plaintiffs’ investigator a product that bears the Uber Trademarks and the Lyft Trademarks. Uber

24   and Lyft have examined the product and determined that it displays unauthorized depictions of

25   the Uber Trademarks and the Lyft Trademarks.

26

27

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 1                 Figure 6. An image of the counterfeit Uber/Lyft sign sold by Defendants
                                         on the Huttronics Website:
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10           H.       Amazon Shut Down Defendants’ Selling Accounts

11           67.      By selling counterfeit and infringing Uber and Lyft products, Defendants falsely

12   represented to Amazon and its customers that the products Defendants sold were genuine

13   products made by Uber and Lyft. Defendants also knowingly and willfully used Uber’s and

14   Lyft’s IP in connection with the advertising, marketing, offering, distributing, and selling of

15   counterfeit and infringing Uber and Lyft products.

16           68.      At all times, Defendants knew they were prohibited from violating third-party IP

17   rights or any applicable laws while selling products in the Amazon Store. Defendants have

18   breached the terms of their agreement with Amazon, deceived Amazon’s customers and

19   Amazon, infringed and misused the IP rights of Uber and Lyft, harmed the integrity of and

20   customer trust in the Amazon Store, and tarnished Amazon’s, Uber’s, and Lyft’s brands.

21           69.      In September 2021, after receiving notice from Uber and Lyft of Defendants’

22   activities, Amazon verified Defendants’ unlawful sale of counterfeit Uber and Lyft products and

23   blocked the Huttronics Selling Account. In doing so, Amazon exercised its rights under the BSA

24   to protect its customers and the reputations of Amazon, Uber, and Lyft.2

25

26
     2
      Although Amazon blocked the Huttronics Selling Account, Defendants continued to sell their counterfeit products
27   on external websites.

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 1           70.     After Amazon blocked the Huttronics Selling Account, Defendants submitted a

 2   written appeal to Amazon in May 2022 seeking reinstatement of the Selling Account.

 3   Defendants’ written appeal admitted that the signs Defendants sold in the Amazon Store violated

 4   the IP rights of Uber and Lyft. Defendants also claimed that they had “permanently discontinued

 5   sourcing and selling these infringing products on Amazon or any other marketplace.” Despite

 6   Defendants’ acknowledgement that their products violate Uber’s and Lyft’s IP rights and their

 7   claim that they stopped selling such products, they have continued to sell these counterfeit

 8   products on the Huttronics.com website, as shown above, and even made a sale of a counterfeit

 9   product in August 2022.

10           71.     Plaintiffs also used the intelligence gathered through their investigative efforts to

11   support criminal law enforcement action against these bad actors. Based in part on information

12   Plaintiffs previously provided to the Los Angeles County Sheriff’s Department, law enforcement

13   executed a search warrant of Defendant Hutton’s residence in Torrance, California on May 24,

14   2023. Law enforcement seized counterfeit products bearing the Uber Trademarks and Lyft

15   Trademarks during the search. Defendant Hutton was present during the search and was arrested.

16                                             V.      CLAIMS

17                                         FIRST CLAIM
                 (by Uber and Lyft against Defendant Huttronics and Doe Defendants)
18            Trademark Counterfeiting and Trademark Infringement – 15 U.S.C. § 1114
19           72.     Plaintiffs Uber and Lyft incorporate by reference the allegations of the preceding

20   paragraphs as though set forth herein.

21           73.     The activities of Defendant Huttronics and the Doe Defendants constitute

22   counterfeiting and infringement of the Uber Trademarks and the Lyft Trademarks as described in

23   the paragraphs above.

24           74.     Uber owns the Uber Trademarks and advertises, markets, offers, distributes, and

25   sells its products and services using the Uber Trademarks described above and uses those

26   trademarks to distinguish its products from the products and related items of others in the same

27   or related fields.

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 1           75.     Because of Uber’s long, continuous, and exclusive use of the Uber Trademarks

 2   identified in this Complaint, the trademarks have come to mean—and are understood by Amazon

 3   customers, Uber users, and the public to signify—products and/or services associated with Uber.

 4           76.     Lyft owns the Lyft Trademarks and advertises, markets, offers, distributes, and

 5   sells its products and services using the Lyft Trademarks described above and uses those

 6   trademarks to distinguish its products from the products and related items of others in the same

 7   or related fields.

 8           77.     Because of Lyft’s long, continuous, and exclusive use of the Lyft Trademarks

 9   identified in this Complaint, the trademarks have come to mean—and are understood by Amazon

10   customers, Lyft users, and the public to signify—products and/or services associated with Lyft.

11           78.     Defendant Huttronics and the Doe Defendants unlawfully advertised, marketed,

12   offered, distributed and sold products bearing counterfeit and infringing versions of the Uber

13   Trademarks and the Lyft Trademarks with the intent and likelihood of causing customer

14   confusion, mistake, and deception as to the products’ source, origin, and authenticity.

15   Specifically, Defendant Huttronics and the Doe Defendants intended Amazon customers, Uber

16   and Lyft users, and the public to believe, incorrectly, that the products originated from, were

17   affiliated with, and/or were authorized by Uber or Lyft and likely caused such erroneous

18   customer beliefs.

19           79.     As a result of the wrongful conduct by Defendant Huttronics and the Doe

20   Defendants, Uber and Lyft are entitled to recover from Defendant Huttronics and the Doe

21   Defendants their actual damages, Defendant Huttronics’ and the Doe Defendants’ profits

22   attributable to the infringement, treble damages, and attorneys’ fees pursuant to 15 U.S.C.

23   § 1117(a) and (b). Alternatively, Uber and Lyft are entitled to statutory damages under 15 U.S.C.

24   § 1117(c) for Defendant Huttronics’ and the Doe Defendants’ use of counterfeit marks.

25           80.     Uber and Lyft are further entitled to injunctive relief, including an order

26   impounding all counterfeit and infringing products and promotional materials in the possession

27   of Defendant Huttronics and the Doe Defendants. Uber and Lyft have no adequate remedy at law

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 1   for the wrongful conduct by Defendant Huttronics and the Doe Defendants because, among other

 2   things: (a) the Uber Trademarks and the Lyft Trademarks are unique and valuable properties that

 3   have no readily determinable market value; (b) the counterfeiting and infringing activities by

 4   Defendant Huttronics and the Doe Defendants constitute harm to Uber’s and Lyft’s reputations

 5   and goodwill such that Uber and Lyft could not be made whole by any monetary award; (c) if

 6   Defendant Huttronics’ and the Doe Defendants’ wrongful conduct is allowed to continue, the

 7   public is likely to become further confused, mistaken, or deceived as to the source, origin, or

 8   authenticity of the counterfeit and infringing materials; and (d) the resulting harm to Uber and

 9   Lyft, due to Defendant Huttronics’ and the Doe Defendants’ wrongful conduct, is likely to be

10   continuing.

11                                              SECOND CLAIM
                     (by Uber and Lyft against Defendant Huttronics and the Doe Defendants)
12                   False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
13             81.       Plaintiffs Uber and Lyft incorporate by reference the allegations of the preceding

14   paragraphs as though set forth herein.

15             82.       Uber owns the Uber Trademarks and advertises, markets, offers, distributes, and

16   sells its products and services using the trademarks described above and uses the trademarks to

17   distinguish its products from the products and related items of others in the same or related

18   fields.

19             83.       Because of Uber’s long, continuous, and exclusive use of the Uber Trademarks

20   identified in this Complaint, the trademarks have come to mean—and are understood by Amazon

21   customers, Uber users, and the public to signify—products and/or services associated with Uber.

22             84.       Lyft owns the Lyft Trademarks and advertises, markets, offers, distributes, and

23   sells its products and services using the trademarks described above and uses the trademarks to

24   distinguish its products from the products and related items of others in the same or related

25   fields.

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 1          85.     Because of Lyft’s long, continuous, and exclusive use of the Lyft Trademarks

 2   identified in this Complaint, the trademarks have come to mean—and are understood by Amazon

 3   customers, Lyft users, and the public to signify—products and/or services associated with Lyft.

 4          86.     Defendant Huttronics’ and the Doe Defendants’ wrongful conduct includes the

 5   infringement of the Uber Trademarks and the Lyft Trademarks in connection with Defendant

 6   Huttronics’ and the Doe Defendants’ commercial advertising, marketing, offering, distributing,

 7   or selling of counterfeit Uber and Lyft products in interstate commerce.

 8          87.     In advertising, marketing, offering, distributing, and selling products bearing

 9   counterfeit versions of the Uber Trademarks and the Lyft Trademarks, Defendant Huttronics and

10   the Doe Defendants have used, and on information and belief continue to use, the trademarks

11   referenced above to compete unfairly with Uber and Lyft and to deceive Amazon customers,

12   Uber and Lyft users, and the public. Upon information and belief, Defendant Huttronics’ and the

13   Doe Defendants’ wrongful conduct misleads and confuses Amazon customers, Uber and Lyft

14   users, and the public as to the origin and authenticity of the goods and services advertised,

15   marketed, offered, distributed, or sold in connection with the Uber Trademarks and the Lyft

16   Trademarks and wrongfully trades upon Uber’s and Lyft’s goodwill and business reputations.

17          88.     The conduct by Defendant Huttronics and the Doe Defendants constitutes (a)

18   false designation of origin, (b) false or misleading description, and (c) false or misleading

19   representation that products originate from or are authorized by Uber and Lyft, all in violation of

20   15 U.S.C. § 1125(a)(1)(A).

21          89.     The conduct by Defendant Huttronics and the Doe Defendants also constitutes

22   willful false statements in connection with goods and/or services distributed in interstate

23   commerce in violation of 15 U.S.C. § 1125(a)(1)(B).

24          90.     Uber and Lyft are entitled to an injunction against Defendant Huttronics and the

25   Doe Defendants, their officers, agents, representatives, servants, employees, successors, and

26   assigns, and all other persons in active concert or participation with them, as set forth in the

27   Prayer for Relief below. The acts by Defendant Huttronics and the Doe Defendants have caused

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 1   irreparable injury to Uber and Lyft. On information and belief, that injury is continuing. An

 2   award of monetary damages cannot fully compensate Uber and Lyft for their injuries, and Uber

 3   and Lyft lack an adequate remedy at law.

 4          91.       Uber and Lyft are further entitled to recover Defendant Huttronics’ and the Doe

 5   Defendants’ profits, Uber’s and Lyft’s damages for its losses, and Uber’s and Lyft’s costs to

 6   investigate and remediate Defendant Huttronics’ and the Doe Defendants’ conduct and bring this

 7   action, including their attorneys’ fees, in an amount to be determined. Uber and Lyft are also

 8   entitled to the trebling of any damages award as allowed by law.

 9                                           THIRD CLAIM
                                    (by Amazon against all Defendants)
10                False Designation of Origin and False Advertising – 15 U.S.C. § 1125(a)
11          92.       Plaintiff Amazon incorporates by reference the allegations of the preceding

12   paragraphs as though set forth herein.

13          93.       Amazon’s reputation for trustworthiness is at the heart of its relationship with

14   customers. Defendants’ actions in selling counterfeits pose a threat to Amazon’s reputation

15   because they undermine and jeopardize customer trust in the Amazon Store.

16          94.       Specifically, Defendants deceived Amazon and its customers about the

17   authenticity of the products they were advertising, marketing, offering, distributing, and selling,

18   in direct and willful violation of the BSA and Amazon’s Anti-Counterfeiting Policies.

19   Defendants’ deceptive acts were material to Amazon’s decision to allow Defendants to sell their

20   products in the Amazon Store because Amazon would not have allowed Defendants to do so but

21   for their deceptive acts.

22          95.       In advertising, marketing, offering, distributing, and selling counterfeit Uber and

23   Lyft products in the Amazon Store, Defendants made false and misleading statements of fact

24   about the origin, sponsorship, or approval of those products in violation of 15 U.S.C. §

25   1125(a)(1)(A).

26          96.       Defendants’ acts also constitute willful false statements in connection with goods

27   and/or services distributed in interstate commerce in violation of 15 U.S.C. § 1125(a)(1)(B).

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 1          97.     As described above, Defendants, through their illegal acts, have willfully

 2   deceived Amazon and its customers, jeopardized the trust that customers place in the Amazon

 3   Store, tarnished Amazon’s brand and reputation, and harmed Amazon and its customers.

 4   Defendants’ misconduct has also caused Amazon to expend significant resources to investigate

 5   and combat Defendants’ wrongdoing and to bring this lawsuit to prevent Defendants from

 6   causing further harm to Amazon and its customers. Defendants’ illegal acts have caused

 7   irreparable injury to Amazon and, on information and belief, that injury is ongoing at least to the

 8   extent that Defendants continue to establish selling accounts under different or false identities.

 9   An award of monetary damages alone cannot fully compensate Amazon for its injuries, and thus

10   Amazon lacks an adequate remedy at law.

11          98.     Amazon is entitled to an injunction against Defendants, their officers, agents,

12   representatives, servants, employees, successors, and assigns, and all other persons in active

13   concert or participation with them, as set forth in the Prayer for Relief below, along with its

14   attorneys’ fees and costs in investigating and bringing this lawsuit.

15          99.     Amazon is also entitled to recover its damages arising from Defendants’ sale of

16   counterfeit products in the Amazon Store.

17                                        FOURTH CLAIM
               (by Uber and Lyft against Defendant Huttronics and the Doe Defendants)
18            Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
19          100.    Plaintiffs Uber and Lyft incorporate by reference the allegations of the preceding

20   paragraphs as though set forth herein.

21          101.    The advertising, marketing, offering, distributing, and selling of counterfeit Uber

22   and Lyft products by Defendant Huttronics and the Doe Defendants constitutes an unfair method

23   of competition and unfair and deceptive acts or practices in the conduct of trade or commerce, in

24   violation of RCW 19.86.020.

25          102.    The advertising, marketing, offering, distributing, and selling of counterfeit Uber

26   and Lyft products by Defendant Huttronics and the Doe Defendants harms the public interest by

27   deceiving Uber and Lyft users about the authenticity, origins, and sponsorship of the products.

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 1          103.    The advertising, marketing, offering, distributing, and selling of counterfeit Uber

 2   and Lyft products by Defendant Huttronics and the Doe Defendants directly and proximately

 3   causes harm to and tarnishes Uber’s and Lyft’s reputations and brands, and damages their

 4   business and property interests and rights.

 5          104.    Accordingly, Uber and Lyft seek to enjoin further violations of RCW 19.86.020

 6   and recover from Defendant Huttronics and the Doe Defendants their attorneys’ fees and costs.

 7   Uber and Lyft further seek to recover from Defendant Huttronics and the Doe Defendants their

 8   actual damages, trebled.

 9                                       FIFTH CLAIM
                                 (by Amazon against all Defendants)
10            Violation of Washington Consumer Protection Act, RCW 19.86.010, et seq.
11          105.    Plaintiff Amazon incorporates by reference the allegations of the preceding

12   paragraphs as though set forth herein.

13          106.    Defendants’ advertising, marketing, offering, distributing, and selling of

14   counterfeit Uber and Lyft products constitute an unfair method of competition and unfair and

15   deceptive acts or practices in the conduct of trade or commerce, in violation of RCW 19.86.020.

16          107.    Defendants’ advertising, marketing, offering, distributing, and selling of

17   counterfeit Uber and Lyft products harm the public interest by deceiving Amazon customers

18   about the authenticity, origins, and sponsorship of the products.

19          108.    Defendants’ advertising, marketing, offering, distributing, and selling of

20   counterfeit Uber and Lyft products directly and proximately causes harm to and tarnishes

21   Amazon’s reputation and brand, and damages its business and property interests and rights.

22          109.    Accordingly, Amazon seeks to enjoin further violations of RCW 19.86.020 and

23   recover from Defendants their attorneys’ fees and costs. Amazon further seeks to recover its

24   actual damages, trebled, with regard to Defendants’ activities involving the sale of counterfeit

25   products.

26

27

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 1                                          SIXTH CLAIM
                  (by Amazon.com Services LLC3 against Defendants Huttronics and Hutton)
 2                                         Breach of Contract
 3              110.    Plaintiff Amazon incorporates by reference the allegations of the preceding
 4   paragraphs as though set forth herein.
 5              111.    Defendants Huttronics and Hutton established an Amazon Selling Account and
 6   entered into Amazon’s BSA, a binding and enforceable contract between Defendants Huttronics
 7   and Hutton and Amazon. Defendants Huttronics and Hutton also contractually agreed to be
 8   bound by the policies incorporated by reference into the BSA, including Amazon’s Anti-
 9   Counterfeiting Policy and other policies as maintained on the Amazon seller website.
10              112.    Amazon performed all obligations required of it under the terms of the contract
11   with Defendants Huttronics and Hutton or was excused from doing so.
12              113.    Defendants Huttronics and Hutton’s sale and distribution of counterfeit Uber and
13   Lyft products materially breached the BSA and the Anti-Counterfeiting Policy in numerous
14   ways. Among other things, Defendants Huttronics and Hutton’s conduct constitutes infringement
15   and misuse of the IP rights of Uber and Lyft.
16              114.    Defendants Huttronics and Hutton’s breaches have caused significant harm to
17   Amazon, and Amazon is entitled to damages in an amount to be determined.
18                                         VI.     PRAYER FOR RELIEF
19              WHEREFORE, Plaintiffs respectfully pray for the following relief:
20              A.      That the Court enter an order permanently enjoining Defendants, their officers,
21   agents, representatives, servants, employees, successors, and assigns, and all others in active
22   concert or participation with them, from:
23                      (i)     selling products in Amazon’s stores;
24                      (ii)    selling products to Amazon or any affiliate;
25                      (iii)   opening or attempting to open any Amazon selling accounts;
26

27   3
         For the Sixth Claim only, “Amazon” shall refer to Amazon.com Services LLC only.

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 1                  (iv)    importing, manufacturing, producing, distributing, circulating, offering to

 2                          sell, or selling, advertising, promoting, or displaying any product or

 3                          service using any simulation, reproduction, counterfeit, copy, or colorable

 4                          imitation of Uber’s or Lyft’s brand or trademarks, or which otherwise

 5                          infringes Uber’s or Lyft’s IP, on any platform or in any medium;

 6                  (v)     using any false designation of origin or false description or performing

 7                          any act which is likely to lead members of the trade or public to believe

 8                          that any service or product offered, distributed, or sold by Defendants is in

 9                          any manner associated or connected with Uber or Lyft, or is sold,

10                          manufactured, licensed, sponsored, approved, or authorized by Uber or

11                          Lyft;

12                  (vi)    assisting, aiding, or abetting any other person or business entity in

13                          engaging in or performing any of the activities referred to in

14                          subparagraphs (i) through (v) above;

15          B.      That the Court enter judgment in Plaintiffs’ favor on all claims brought by them;

16          C.      That the Court enter an order pursuant to 15 U.S.C. § 1118 impounding and

17   permitting destruction of all counterfeit and infringing products bearing the Uber Trademarks

18   and/or Lyft Trademarks or that otherwise infringe Uber’s or Lyft’s IP, and any related materials,

19   including business records and materials used to reproduce any infringing products, in

20   Defendants’ possession or under their control;

21          D.      That the Court enter an order requiring Defendants to provide Plaintiffs a full and

22   complete accounting of all amounts due and owing to Plaintiffs as a result of Defendants’

23   unlawful activities;

24          E.      That the Court enter an order requiring Defendant Huttronics and the Doe

25   Defendants pay all general, special, and actual damages which Uber and Lyft have sustained, or

26   will sustain as a consequence of Defendant Huttronics’ and the Doe Defendants’ unlawful acts,

27   plus Defendant Huttronics’ and the Doe Defendants’ profits from the unlawful conduct described

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 1   herein, together with Uber’s and Lyft’s statutory damages, and that Uber’s and Lyft’s damages

 2   be enhanced, doubled, or trebled as provided for by 15 U.S.C. § 1117, RCW 19.86.020, or

 3   otherwise allowed by law, and that Amazon’s damages, plus Defendants’ profits, related to

 4   Defendants’ activities involving the sale of counterfeit products be enhanced, doubled, or trebled

 5   as provided for by 15 U.S.C. § 1117, RCW 19.86.020 or otherwise allowed by law;

 6          F.      That the Court enter an order requiring Defendants to pay the maximum amount

 7   of prejudgment interest authorized by law;

 8          G.      That the Court enter an order requiring Defendants to pay the costs of this action

 9   and Plaintiffs’ reasonable attorneys’ fees incurred in prosecuting this action, as provided for by

10   15 U.S.C. § 1117, RCW 19.86.020, or otherwise allowed by law;

11          H.      That the Court enter an order requiring that identified financial institutions

12   restrain and transfer to Plaintiffs all amounts arising from Defendants’ unlawful counterfeiting

13   activities as set forth in this lawsuit, up to a total amount necessary to satisfy monetary judgment

14   in this case; and

15          I.      That the Court grant Plaintiffs such other, further, and additional relief as the

16   Court deems just and equitable.

17          DATED this 26th day of June, 2023.

18                                                     DAVIS WRIGHT TREMAINE LLP
                                                       Attorneys for Plaintiffs
19

20                                                     s/ Scott R. Commerson
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24                                                     s/ Lauren Rainwater
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25                                                     920 Fifth Avenue, Suite 3300
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26                                                     Tel: (206) 622-3150
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EXHIBIT A
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Reg. No. 5,860,001          Uber Technologies, Inc. (DELAWARE CORPORATION)
                            1455 Market Street, 4th Floor
Registered Sep. 17, 2019    San Francisco, CALIFORNIA 94103

                            CLASS 9: Signaling device comprised of receivers and transmitters of electronic signals for
Int. Cl.: 9                 matching drivers to passengers
Trademark                   FIRST USE 12-00-2016; IN COMMERCE 12-00-2016

Principal Register          THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                            PARTICULAR FONT STYLE, SIZE OR COLOR

                            OWNER OF U.S. REG. NO. 5042023, 3977893, 4837495

                            SER. NO. 87-980,887, FILED 12-02-2016
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Reg. No. 6,584,142             Uber Technologies, Inc. (DELAWARE CORPORATION)
                               1515 3rd Street
Registered Dec. 07, 2021       San Francisco, CALIFORNIA 94158
Corrected Jan. 10, 2023        CLASS 11: lighting apparatus and installations, namely, luminous tubes for lighting,
                               searchlights, vehicle reflectors, lights for vehicles; safety lamps; [ tanning apparatus
Int. Cl.: 11                   being tanning beds; ] vehicle lights for assisting rideshare passengers to locate vehicles;
Trademark                      spot lights; lights for vehicles; directional lights for bicycles; light bulbs for directional
                               signals for vehicles; solar-powered all-weather lights; lights for use in illuminating signs
Principal Register             and displays; LED and HID light assemblies for vehicles; LED lighting assemblies for
                               illuminated signs; light reflectors; lighting apparatus and installations for vehicles; light
                               panels for vehicles, namely, cars, motorcars, automobiles, trucks, vans, SUVs, bicycles,
                               motor scooters, two wheeled motorized scooters, self-balancing scooters, hovering
                               boards, mopeds, skateboards, self-balancing boards, electric bicycles, electric assist
                               bicycles, electric pedal assist bicycles, electric motor scooters, electrically-powered
                               motor scooters, electric two wheeled motorized scooters, electric self-balancing
                               scooters, self-balancing two-wheeled electric scooters, self-balancing one-wheeled
                               electric scooters, electric hovering boards, electric mopeds, electric motorized
                               skateboards, electric motorized self-balancing boards, semi-tractor trailer trucks and
                               semi-tractor trailers, boats, watercraft, tractors and tractor trailers, helicopters, airplanes,
                               aircraft, drones, vertical takeoff and landing aircraft (VTOL); light bars for vehicles,
                               namely, cars, motorcars, automobiles, trucks, vans, SUVs, bicycles, motor scooters, two
                               wheeled motorized scooters, self-balancing scooters, hovering boards, mopeds,
                               skateboards, self-balancing boards, electric bicycles, electric assist bicycles, electric
                               pedal assist bicycles, electric motor scooters, electrically-powered motor scooters,
                               electric two wheeled motorized scooters, electric self-balancing scooters, self-balancing
                               two-wheeled electric scooters, self-balancing one-wheeled electric scooters, electric
                               hovering boards, electric mopeds, electric motorized skateboards, electric motorized
                               self-balancing boards, semi-tractor trailer trucks and semi-tractor trailers, boats,
                               watercraft, tractors and tractor trailers, helicopters, airplanes, aircraft, drones, vertical
                               takeoff and landing aircraft (VTOL)

                               FIRST USE 12-00-2016; IN COMMERCE 12-00-2016

                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                               ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                               SER. NO. 88-728,614, FILED 12-16-2019
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Reg. No. 6,175,437         Uber Technologies, Inc. (DELAWARE CORPORATION)
                           1455 Market Street, 4th Floor
Registered Oct. 13, 2020   San Francisco, CALIFORNIA 94103

                           CLASS 16: Printed matter, namely, decals, stickers
Int. Cl.: 16
                           FIRST USE 6-00-2016; IN COMMERCE 6-00-2016
Trademark
                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
Principal Register         PARTICULAR FONT STYLE, SIZE OR COLOR

                           SER. NO. 88-976,712, FILED 03-06-2019
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EXHIBIT B
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Reg. No. 6,170,586         Lyft, Inc. (DELAWARE CORPORATION)
                           185 Berry St., Suite 5000
Registered Oct. 06, 2020   San Francisco, CALIFORNIA 94107

                           CLASS 9: Luminous signs using light emitting diodes and electronic controllers to produce
Int. Cl.: 9, 11            real-time and programmable messages and information displays; luminous signs using light
                           emitting diodes and electronic controllers to project data from a mobile device; illuminating
Trademark                  equipment for vehicles, namely, LED information displays

Principal Register         FIRST USE 1-00-2017; IN COMMERCE 1-00-2017

                           CLASS 11: Electric luminaries for vehicles; lighting installations, namely, vehicle lights;
                           lights for use in illuminating signs and displays; illuminating equipment for vehicles, namely,
                           electrical lamps

                           FIRST USE 1-00-2017; IN COMMERCE 1-00-2017

                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY
                           PARTICULAR FONT STYLE, SIZE OR COLOR

                           OWNER OF U.S. REG. NO. 4686618, 5387239, 4698331

                           SER. NO. 88-503,693, FILED 07-08-2019
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Reg. No. 6,170,587         Lyft, Inc. (DELAWARE CORPORATION)
                           185 Berry St., Suite 5000
Registered Oct. 06, 2020   San Francisco, CALIFORNIA 94107

                           CLASS 9: Luminous signs using light emitting diodes and electronic controllers to produce
Int. Cl.: 9, 11            real-time and programmable messages and information displays; luminous signs using light
                           emitting diodes and electronic controllers to project data from a mobile device; illuminating
Trademark                  equipment for vehicles, namely, LED information displays

Principal Register         FIRST USE 1-00-2017; IN COMMERCE 1-00-2017

                           CLASS 11: Electric luminaries for vehicles; lighting installations, namely, vehicle lights;
                           lights for use in illuminating signs and displays; illuminating equipment for vehicles, namely,
                           electrical lamps

                           FIRST USE 1-00-2017; IN COMMERCE 1-00-2017

                           The mark consists of the term "LYFT" in stylized format.

                           OWNER OF U.S. REG. NO. 4686618, 5387239, 4698331

                           SER. NO. 88-503,721, FILED 07-08-2019
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EXHIBIT C
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                                                            English       Sign in   Sell on Amazon




   This article applies to selling in: United States


Seller Central Help  Policies, agreements, and guidelines 
Amazon Services Business Solutions Agreement



Amazon Services Business Solutions
Agreement
The version of this Agreement in English is the de nitive legal version. A

                                                       fi
translation into Chinese is available for your ease of reference.


General Terms


Welcome to Amazon Services Business Solutions, a suite of optional services for
sellers including: Selling on Amazon, Ful llment by Amazon, Amazon
                                          fi
Advertising, Transaction Processing Services, and the Selling Partner API.


THIS AMAZON SERVICES BUSINESS SOLUTIONS AGREEMENT (THE
"AGREEMENT") CONTAINS THE TERMS AND CONDITIONS THAT GOVERN YOUR
ACCESS TO AND USE OF THE SERVICES AND IS AN AGREEMENT BETWEEN YOU
OR THE BUSINESS YOU REPRESENT AND AMAZON. BY REGISTERING FOR OR
USING THE SERVICES, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU
REPRESENT) AGREE TO BE BOUND BY THE TERMS OF THIS AGREEMENT,
INCLUDING THE SERVICE TERMS AND PROGRAM POLICIES THAT APPLY FOR
EACH COUNTRY FOR WHICH YOU REGISTER OR ELECT TO USE A SERVICE (IN
EACH CASE, THE "ELECTED COUNTRY").


As used in this Agreement, "we," "us," and "Amazon" means the applicable
Amazon Contracting Party and any of its applicable A liates, and "you" means
                                                            ffi
the applicant (if registering for or using a Service as an individual), or the
business employing the applicant (if registering for or using a Service as a
business) and any of its A liates. Capitalized terms have the meanings given to
                          ffi
them in this Agreement. If there is any con ict between these General Terms and
                                               fl
the applicable Service Terms and Program Policies, the General Terms will govern
and the applicable Service Terms will prevail over the Program Policies.


                                                                                                      1/44
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   1. Enrollment.

To begin the enrollment process, you must complete the registration process for
one or more of the Services. Use of the Services is limited to parties that can
lawfully enter into and form contracts under applicable Law (for example, the
Elected Country may not allow minors to use the Services). As part of the
application, you must provide us with your (or your business') legal name,
address, phone number and e-mail address, as well as any other information we
may request. Any personal data you provide to us will be handled in accordance
with Amazon’s Privacy Notice.

   2. Service Fee Payments; Receipt of Sales Proceeds.

Fee details are described in the applicable Service Terms and Program Policies.
You are responsible for all of your expenses in connection with this Agreement.
To use a Service, you must provide us with valid credit card information from a
credit card or credit cards acceptable by Amazon ("Your Credit Card") as well as
valid bank account information for a bank account or bank accounts acceptable
by Amazon (conditions for acceptance may be modi ed or discontinued by us at
                                                    fi
any time without notice) ("Your Bank Account"). You will use only a name you
are authorized to use in connection with a Service and will update all of the
information you provide to us in connection with the Services as necessary to
ensure that it at all times remains accurate, complete, and valid. You authorize us
(and will provide us documentation evidencing your authorization upon our
request) to verify your information (including any updated information), to
obtain credit reports about you from time to time, to obtain credit authorizations
from the issuer of Your Credit Card, and to charge Your Credit Card or debit Your
Bank Account for any sums payable by you to us (in reimbursement or
otherwise). All payments to you will be remitted to Your Bank Account through a
banking network or by other means speci ed by us.
                                          fi
If we determine that your actions or performance may result in returns,
chargebacks, claims, disputes, violations of our terms or policies, or other
risks to Amazon or third parties, then we may in our sole discretion withhold
any payments to you for as long as we determine any related risks to Amazon
or third parties persist. For any amounts that we determine you owe us, we
may (a) charge Your Credit Card or any other payment instrument you provide
to us; (b) o set any amounts that are payable by you to us (in reimbursement
           ff
or otherwise) against any payments we may make to you or amounts we may
owe you; (c) invoice you for amounts due to us, in which case you will pay the
invoiced amounts upon receipt; (d) reverse any credits to Your Bank Account;
or (e) collect payment or reimbursement from you by any other lawful means.
If we determine that your account—or any other account you have operated—
has been used to engage in deceptive, fraudulent, or illegal activity (including
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the sale of counterfeit goods), or to repeatedly violate our Program Policies,
then we may in our sole discretion permanently withhold any payments to
you. Except as provided otherwise, all amounts contemplated in this Agreement
will be expressed and displayed in the Local Currency, and all payments
contemplated by this Agreement will be made in the Local Currency.


In addition, we may require that you pay other amounts to secure the
performance of your obligations under this Agreement or to mitigate the risk of
returns, chargebacks, claims, disputes, violations of our terms or policies, or other
risks to Amazon or third parties. These amounts may be refundable or
nonrefundable in the manner we determine, and failure to comply with terms of
this Agreement, including any applicable Program Policies, may result in their
forfeiture.


As a security measure, we may, but are not required to, impose transaction limits
on some or all customers and sellers relating to the value of any transaction or
disbursement, the cumulative value of all transactions or disbursements during a
period of time, or the number of transactions per day or other period of time. We
will not be liable to you: (i) if we do not proceed with a transaction or
disbursement that would exceed any limit established by us for a security reason,
or (ii) if we permit a customer to withdraw from a transaction because an
Amazon Site or Service is unavailable following the commencement of a
transaction.

   3. Term and Termination.

The term of this Agreement will start on the date of your completed registration
for use of a Service and continue until terminated by us or you as provided
below. You may at any time terminate your account or this Agreement
immediately on notice to us via Seller Central, email, the Contact Us form, or
similar means. We may terminate your account or this Agreement for
convenience with 30 days’ advance notice. We may suspend or terminate your
account or this Agreement immediately if we determine that (a) you have
materially breached the Agreement and failed to cure within 7 days of a cure
notice unless your breach exposes us to liability toward a third party, in which
case we are entitled to reduce, or waive, the aforementioned cure period at our
reasonable discretion; (b) your account has been, or our controls identify that it
may be used for deceptive or fraudulent, or illegal activity; (c) your use of the
Services has harmed, or our controls identify that it might harm, other sellers,
customers, or Amazon’s legitimate interests; or (d) your Account Health Rating
falls below our published threshold(s) for deactivation. We will promptly notify
you of any such termination or suspension via email or similar means including
Seller Central, indicating the reason and any options to appeal, except where we

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have reason to believe that providing this information will hinder the
investigation or prevention of deceptive, fraudulent, or illegal activity, or will
enable you to circumvent our safeguards. On termination of this Agreement, all
related rights and obligations under this Agreement immediately terminate,
except that (d) you will remain responsible for performing all of your obligations
in connection with transactions entered into before termination and for any
liabilities that accrued before or as a result of termination, and (e) Sections 2, 3,
4, 5, 6, 7, 8, 9, 11, 14, 15, and 18 of these General Terms survive.

   4. License.

You grant us a royalty-free, non-exclusive, worldwide right and license for the
duration of your original and derivative intellectual property rights to use any
and all of Your Materials for the Services or other Amazon product or service, and
to sublicense the foregoing rights to our A liates and operators of Amazon
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Associated Properties; provided, however, that we will not alter any of Your
Trademarks from the form provided by you (except to re-size trademarks to the
extent necessary for presentation, so long as the relative proportions of such
trademarks remain the same) and will comply with your removal requests as to
speci c uses of Your Materials (provided you are unable to do so using standard
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functionality made available to you via the applicable Amazon Site or Service);
provided further, however, that nothing in this Agreement will prevent or impair
our right to use Your Materials without your consent to the extent that such use
is allowable without a license from you or your A liates under applicable Law
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(e.g., fair use under United States copyright law, referential use under trademark
law, or valid license from a third party).

   5. Representations.

Each party represents and warrants that: (a) if it is a business, it is duly organized,
validly existing and in good standing under the Laws of the country in which the
business is registered and that you are registering for the Service(s) within such
country; (b) it has all requisite right, power, and authority to enter into this
Agreement, perform its obligations, and grant the rights, licenses, and
authorizations in this Agreement; (c) any information provided or made available
by one party to the other party or its A liates is at all times accurate and
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complete; (d) it is not subject to sanctions or otherwise designated on any list of
prohibited or restricted parties or owned or controlled by such a party, including
but not limited to the lists maintained by the United Nations Security Council,
the US Government (e.g., the US Department of Treasury’s Specially Designated
Nationals list and Foreign Sanctions Evaders list and the US Department of
Commerce’s Entity List), the European Union or its member states, or other
applicable government authority; and (e) it will comply with all applicable Laws
in performance of its obligations and exercise of its rights under this Agreement.
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   6. Indemni cation.




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6.1 Your indemni cation obligations. You will defend, indemnify, and hold




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harmless Amazon, and our o cers, directors, employees, and agents, against any




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third-party claim, loss, damage, settlement, cost, expense, or other liability
(including, without limitation, attorneys’ fees) (each, a “Claim”) arising from or
related to (a) your non-compliance with applicable Laws; (b) Your Products,
including the o er, sale, ful llment (except to the extent attributable to the FBA
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service), refund, cancellation, return, or adjustments thereof, Your Materials, any
actual or alleged infringement of any Intellectual Property Rights by any of the
foregoing, and any personal injury, death (to the extent the injury or death is not
caused by Amazon), or property damage related thereto; (c) Your Taxes and
duties or the collection, payment, or failure to collect or pay Your Taxes or duties,
or the failure to meet tax registration obligations or duties; or (d) actual or
alleged breach of any representations you have made.


6.2 Amazon’s indemni cation obligations. Amazon will defend, indemnify, and
                             fi
hold harmless you and your o cers, directors, employees, and agents against
                                                  ffi
any third-party Claim arising from or related to: (a) Amazon’s non-compliance
with applicable Laws; or (b) allegations that the operation of an Amazon Site
infringes or misappropriates that third party’s intellectual property rights.


6.3 Process. If any indemni ed Claim might adversely a ect us, we may, to the
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extent permitted by applicable Law, voluntarily intervene in the proceedings at
our expense. No party may consent to the entry of any judgment or enter into
any settlement of an indemni ed Claim without the prior written consent of the
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other party, which may not be unreasonably withheld; except that a party may
settle any claim that is exclusively directed at and exclusively a ects that party.
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   7. Disclaimer & General Release.

a. THE AMAZON SITES AND THE SERVICES, INCLUDING ALL CONTENT,
SOFTWARE, FUNCTIONS, MATERIALS, AND INFORMATION MADE AVAILABLE ON
OR PROVIDED IN CONNECTION WITH THE SERVICES, ARE PROVIDED "AS-IS." AS
A USER OF THE SERVICES, YOU USE THE AMAZON SITES, THE SERVICES, AND
SELLER CENTRAL AT YOUR OWN RISK. EXCEPT THOSE SET FORTH IN SECTION 5
ABOVE, TO THE FULLEST EXTENT PERMISSIBLE BY LAW, WE AND OUR
AFFILIATES DISCLAIM: (i) ANY REPRESENTATIONS OR WARRANTIES REGARDING
THIS AGREEMENT, THE SERVICES OR THE TRANSACTIONS CONTEMPLATED BY
THIS AGREEMENT, INCLUDING ANY IMPLIED WARRANTIES OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE, OR NON-
INFRINGEMENT; (ii) IMPLIED WARRANTIES ARISING OUT OF COURSE OF
DEALING, COURSE OF PERFORMANCE, OR USAGE OF TRADE; AND (iii) ANY
OBLIGATION, LIABILITY, RIGHT, CLAIM, OR REMEDY IN TORT, WHETHER OR NOT
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ARISING FROM OUR NEGLIGENCE. WE DO NOT WARRANT THAT THE FUNCTIONS
CONTAINED IN THE AMAZON SITES AND THE SERVICES WILL MEET YOUR
REQUIREMENTS OR BE AVAILABLE, TIMELY, SECURE, UNINTERRUPTED, OR
ERROR FREE, AND WE WILL NOT BE LIABLE FOR ANY SERVICE INTERRUPTIONS,
INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR OTHER INTERRUPTIONS
THAT MAY AFFECT THE RECEIPT, PROCESSING, ACCEPTANCE, COMPLETION, OR
SETTLEMENT OF ANY TRANSACTIONS.


b. BECAUSE AMAZON IS NOT INVOLVED IN TRANSACTIONS BETWEEN
CUSTOMERS AND SELLERS OR OTHER PARTICIPANT DEALINGS, IF A DISPUTE
ARISES BETWEEN ONE OR MORE PARTICIPANTS, EACH PARTICIPANT RELEASES
AMAZON (AND ITS AGENTS AND EMPLOYEES) FROM CLAIMS, DEMANDS, AND
DAMAGES (ACTUAL AND CONSEQUENTIAL) OF EVERY KIND AND NATURE,
KNOWN AND UNKNOWN, SUSPECTED AND UNSUSPECTED, DISCLOSED AND
UNDISCLOSED, ARISING OUT OF OR IN ANY WAY CONNECTED WITH SUCH
DISPUTES.

   8. Limitation of Liability.

WE WILL NOT BE LIABLE (WHETHER IN CONTRACT, WARRANTY, TORT
(INCLUDING NEGLIGENCE, PRODUCT LIABILITY, OR OTHER THEORY), OR
OTHERWISE) TO YOU OR ANY OTHER PERSON FOR COST OF COVER, RECOVERY,
OR RECOUPMENT OF ANY INVESTMENT MADE BY YOU OR YOUR AFFILIATES IN
CONNECTION WITH THIS AGREEMENT, OR FOR ANY LOSS OF PROFIT, REVENUE,
BUSINESS, OR DATA OR PUNITIVE OR CONSEQUENTIAL DAMAGES ARISING OUT
OF OR RELATING TO THIS AGREEMENT, EVEN IF AMAZON HAS BEEN ADVISED
OF THE POSSIBILITY OF THOSE COSTS OR DAMAGES. FURTHER, OUR
AGGREGATE LIABILITY ARISING OUT OF OR IN CONNECTION WITH THIS
AGREEMENT OR THE TRANSACTIONS CONTEMPLATED WILL NOT EXCEED AT
ANY TIME THE TOTAL AMOUNTS DURING THE PRIOR SIX MONTH PERIOD PAID
BY YOU TO AMAZON IN CONNECTION WITH THE PARTICULAR SERVICE GIVING
RISE TO THE CLAIM.

   9. Insurance.

If the gross proceeds from Your Transactions exceed the applicable Insurance
Threshold during any month if the Elected Country is the United States, or each
month over any period of three (3) consecutive months if the Elected Country is
Canada or Mexico, or otherwise if requested by us, then within thirty (30) days
thereafter, you will maintain at your expense throughout the remainder of the
Term for each applicable Elected Country commercial general, umbrella or excess
liability insurance with the Insurance Limits per occurrence and in aggregate
covering liabilities caused by or occurring in conjunction with the operation of
your business, including products, products/completed operations and bodily
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injury, with policy(ies) naming Amazon and its assignees as additional insureds.
At our request, you will provide to us certi cates of insurance, the full insurance




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policy, or other documents we may request for the coverage to the following
address: c/o Amazon, P.O. Box 81226, Seattle, WA 98108-1226, Attention: Risk
Management.

  10. Tax Matters.

As between the parties, you will be responsible for the collection, reporting, and
payment of any and all of Your Taxes, except to the extent that (i) Amazon
automatically calculates, collects, or remits taxes on your behalf according to
applicable law; or (ii) Amazon expressly agrees to receive taxes or other
transaction-based charges on your behalf in connection with tax calculation
services made available by Amazon and used by you. You agree to and will
comply with the Tax Policies. All fees and payments payable by you to Amazon
under this Agreement or the applicable Service Terms are exclusive of any
applicable taxes, deductions or withholding (including but not limited to cross-
border withholding taxes), and you will be responsible for paying Amazon any of
Your Taxes imposed on such fees and any deduction or withholding required on
any payment.

  11. Con dentiality and Personal Data.
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During the course of your use of the Services, you may receive Con dential
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Information. You agree that for the term of the Agreement and 5 years after
termination: (a) all Con dential Information will remain Amazon's exclusive
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property; (b) you will use Con dential Information only as is reasonably
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necessary for your participation in the Services; (c) you will not otherwise
disclose Con dential Information to any other Person except as required to
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comply with the Law; (d) you will take all reasonable measures to protect the
Con dential Information against any use or disclosure that is not expressly
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permitted in this Agreement; and (e) you will retain Con dential Information
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only for so long as its use is necessary for participation in the Services or to ful ll
                                                                                    fi
your statutory obligations (e.g. tax) and in all cases will delete such information
upon termination or as soon as no longer required for the ful llment of statutory
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obligations. The foregoing sentence does not restrict your right to share
Con dential Information with a governmental entity that has jurisdiction over
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you, provided that you limit the disclosure to the minimum necessary and
explicitly indicate the con dential nature of the shared information to the
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governmental entity. You may not issue any press release or make any public
statement related to the Services, or use our name, trademarks, or logo, in any
way (including in promotional material) without our advance written permission,
or misrepresent or embellish the relationship between us in any way. You may
only use the "Available at Amazon" badge as de ned in and according to the
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Trademark Usage Guidelines available in Seller Central; you may not use our
name, trademarks, or logos in any way (including in promotional material) not
covered by the Trademark Usage Guidelines without our advance written
permission.


Generally, you may not use customer personal data in any way inconsistent with
applicable Law. You must keep customer personal data con dential at all times




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(the above 5 years’ term limit does not apply to customer personal data).

  12. Force Majeure.

We will not be liable for any delay or failure to perform any of our obligations
under this Agreement by reasons, events or other matters beyond our reasonable
control.

  13. Relationship of Parties.

Subject to the Transaction Processing Service Terms (if the Elected Country for a
Service is the United States), you and we are independent contractors, and
nothing in this Agreement will create any partnership, joint venture, agency,
franchise, sales representative, or employment relationship between us. You will
have no authority to make or accept any o ers or representations on our behalf.
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This Agreement will not create an exclusive relationship between you and us.
Nothing expressed or mentioned in or implied from this Agreement is intended
or will be construed to give to any person other than the parties to this
Agreement any legal or equitable right, remedy, or claim under or in respect to
this Agreement. This Agreement and all of the representations, warranties,
covenants, conditions, and provisions in this Agreement are intended to be and
are for the sole and exclusive bene t of Amazon, you, and customers. As
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between you and us, you will be solely responsible for all obligations associated
with the use of any third party service or feature that you permit us to use on
your behalf, including compliance with any applicable terms of use. You will not
make any statement, whether on your site or otherwise, that would contradict
anything in this section.

  14. Suggestions and Other Information.

If you or any of your A liates elect to provide or make available suggestions,
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comments, ideas, improvements, or other feedback or materials to us in
connection with or related to any Amazon Site or Service (including any related
Technology), we will be free to use, disclose, reproduce, modify, license, transfer
and otherwise distribute, and exploit any of the foregoing information or
materials in any manner. In order to cooperate with governmental requests, to
protect our systems and customers, or to ensure the integrity and operation of

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our business and systems, we may access and disclose any information we
consider necessary or appropriate, including but not limited to user contact
details, IP addresses and tra c information, usage history, and posted content. If




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we make suggestions on using the Services, you are responsible for any actions
you take based on our suggestions.

  15. Modi cation.
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15.1. We will provide at least 15 days’ advance notice in accordance with Section
18 for changes to the Agreement.


15.2 However, we may change or modify the Agreement at any time with
immediate e ect (a) for legal, regulatory, fraud and abuse prevention, or security
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reasons; (b) to change existing features or add additional features to the Services
(where this does not materially adversely a ect your use of the Services); or (c) to
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restrict products or activities that we deem unsafe, inappropriate, or o ensive.




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We will notify you about any change or modi cation in accordance with Section
                                                  fi
18.


15.3 Your continued use of the Services after the e ective date of any change to
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this Agreement in accordance with this Section 15 will constitute your acceptance
of that change. If any change is unacceptable to you, you agree not to use the
Services and to end the Agreement as described in Section 3.

  16. Password Security.

Any password we provide to you may be used only during the Term to access
Seller Central (or other tools we provide, as applicable) to use the Services,
electronically accept Your Transactions, and review your completed transactions.
You are solely responsible for maintaining the security of your password. You
may not disclose your password to any third party (other than third parties
authorized by you to use your account in accordance with this Agreement) and
are solely responsible for any use of or action taken under your password. If your
password is compromised, you must immediately change your password.

  17. Export.

You will not directly or indirectly export, re-export, transmit, or cause to be
exported, re-exported or transmitted, any commodities, software or technology
to any country, individual, corporation, organization, or entity to which such
export, re-export, or transmission is restricted or prohibited, including any
country, individual, corporation, organization, or entity under sanctions or
embargoes administered by the United Nations, US Departments of State,


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Treasury or Commerce, the European Union, or any other applicable government
authority.

       18. Miscellaneous.

The Governing Laws will govern this Agreement, without reference to rules
governing choice of laws or the Convention on Contracts for the International
Sale of Goods. If the Elected Country is the United States, Canada, or Mexico,
Amazon and you both consent that any dispute with Amazon or its A liates




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or claim relating in any way to this Agreement or your use of the Services will
be resolved by binding arbitration as described in this paragraph, rather than
in court, except that (i) either party may elect to proceed in a small claims court
that is a Governing Court if your claims qualify; (ii) you or we may bring suit in
the Governing Courts, submitting to the jurisdiction of the Governing Courts and
waiving our respective rights to any other jurisdiction, to enjoin infringement or
other misuse of intellectual property rights; and (iii) we may bring any claims
related to your sale of counterfeit products on the Amazon Site in the Governing
Courts and seek any remedy available under law related to those claims. There is
no judge or jury in arbitration, and court review of an arbitration award is
limited. However, an arbitrator can award the same damages and relief as a
court (including injunctive and declaratory relief or statutory damages), and
must follow the terms of this Agreement as a court would. Before you may
begin an arbitration proceeding, you must send a letter notifying us of your
intent to pursue arbitration and describing your claim to our registered agent,
CSC 300 Deschutes Way SW, Suite 208 MC-CSC1, Tumwater, WA 98501. The
arbitration will be conducted by the American Arbitration Association (AAA)
under its commercial rules. The expedited procedures of the AAA’s rules will
apply only in cases seeking exclusively monetary relief under $50,000, and in
such cases the hearing will be scheduled to take place within 90 days of the
arbitrator’s appointment. For all cases, the AAA commercial fee schedule governs
the payment of all ling, administration and arbitrator fees. The underlying
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award in the arbitration may be appealed pursuant to the AAA’s Optional
Appellate Arbitration Rules. Amazon and you each agree that any dispute
resolution proceedings will be conducted only on an individual basis and not
in a class, consolidated or representative action. If for any reason a claim
proceeds in court rather than in arbitration Amazon and you each waive any
right to a jury trial.


You may not assign this Agreement, by operation of law or otherwise, without
our prior written consent. Any attempt to assign or otherwise transfer in
violation of this section is void; provided, however, that upon notice to Amazon,
you may assign or transfer this Agreement, in whole or in part, to any of your
A liates as long as you remain liable for your obligations that arose prior to the
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e ective date of the assignment or transfer under this Agreement. You agree


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that we may assign or transfer our rights and obligations under this Agreement:
(a) in connection with a merger, consolidation, acquisition or sale of all or
substantially all of our assets or similar transaction; or (b) to any A liate or as




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part of a corporate reorganization; and e ective upon such assignment, the




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assignee is deemed substituted for Amazon as the party to this Agreement.
Subject to that restriction, this Agreement will be binding on, inure to, and be
enforceable against the parties and their respective successors and assigns. We
may perform any of our obligations or exercise any of our rights under this
Agreement through one or more of our A liates. Amazon retains the right to




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immediately halt any of Your Transactions, prevent or restrict access to the
Services or take any other action to restrict access to or availability of any
inaccurate listing, any inappropriately categorized items, any unlawful items, or
any items otherwise prohibited by applicable Program Policies. Because Amazon
is not your agent (except for the limited purpose set out in the Transaction
Processing Service Terms (if the Elected Country for a Service is the United
States)), or the customer’s agent for any purpose, Amazon will not act as either
party's agent in connection with resolving any disputes between participants
related to or arising out of any transaction.


Amazon will provide notice to you under this Agreement by posting changes to
Seller Central or to the applicable Amazon Services site to which the changes
relate (such as the Developer Site accessible through your account), by sending
you an email noti cation, or by similar means. You must send all notices and
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other communications relating to Amazon to our Selling Partner Support team
via Seller Central, email, the Contact Us form, or similar means. We may also
communicate with you electronically and in other media, and you consent to
such communications. You may change your e-mail addresses and certain other
information in Seller Central, as applicable. You will ensure that all of your
information is up to date and accurate at all times.


If any provision of this Agreement is deemed unlawful, void, or for any reason
unenforceable, then that provision will be deemed severable from these terms
and conditions and will not a ect the validity and enforceability of any
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remaining provisions. If the Elected Country is Canada, then it is the express wish
of the parties that this Agreement and the applicable Service Terms and Program
Policies have been drafted in English. (The following is a French translation of
the preceding sentence: Si le pays de service est le Canada, les parties
conviennent que la présente autorisation et tous les termes et conditions
applicables s'y rattachant soient rédigés en anglais.) We may make available
translations to this Agreement and the applicable Service Terms and Program
Policies, but the English version will control. This Agreement represents the
entire agreement between the parties with respect to the Services and related
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subject matter and supersedes any previous or contemporaneous oral or written
agreements and understandings.


De nitions
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As used in this Agreement, the following terms have the following meanings:


"A liate" means, with respect to any entity, any other entity that directly or
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indirectly controls, is controlled by, or is under common control with that entity.


"Amazon Associated Properties" means any website or other online point of
presence, mobile application, service or feature, other than an Amazon Site,
through which any Amazon Site, or products or services available on any of them,
are syndicated, o ered, merchandised, advertised, or described.
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"Amazon Contracting Party" means the party outlined below.

                  If the Elected Country is Canada:


                         Service                  Amazon Contracting Party

 Selling on Amazon                              Amazon.com.ca, Inc.

 Selling on Amazon (if your
 account is enabled to list                     Amazon.com.ca, Inc.
 Optional Coverage Plans)

 Ful llment by Amazon                           Amazon.com.ca, Inc.
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                                                Amazon Advertising Canada,
 Amazon Advertising
                                                Inc.



                  If the Elected Country is Mexico:


                         Service                  Amazon Contracting Party

                                                Servicios Comerciales
 Selling on Amazon                              Amazon México S. de R.L. de
                                                C.V.

                                                Servicios Comerciales
 Ful llment by Amazon                           Amazon México S. de R.L. de
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                                                C.V.

                                                Servicios Comerciales
 Amazon Advertising                             Amazon México S. de R.L. de
                                                C.V.

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                    If the Elected Country is the United States:


                           Service                  Amazon Contracting Party

 Selling on Amazon                                Amazon.com Services LLC

 Selling on Amazon (if your
 account is enabled to list                       Amazon.com Services LLC
 Optional Coverage Plans)

 Ful llment by Amazon                             Amazon.com Services LLC
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 Amazon Advertising                               Amazon.com Services LLC

                                                  Amazon Payments, Inc.,
                                                  Amazon Capital Services, Inc.,
 Transaction Processing
                                                  or Amazon.com Services LLC,
 Services
                                                  according to the Transaction
                                                  Processing Services Terms
If you register for or use the Selling Partner API, the Amazon Contracting Party is
the Contracting Party that provides the applicable Service you use in connection
with the Selling Partner API.


"Amazon Site" means, as applicable, the CA Amazon Site, the MX Amazon Site,
or the US Amazon Site.


"CA Amazon Site" means the website, the primary home page of which is
identi ed by the url www.amazon.ca, and any successor or replacement of such
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website.


"Con dential Information" means information relating to us, to the Services, or
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Amazon customers that is not known to the general public including, but not
limited to, any information identifying or unique to speci c customers; reports,
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insights, and other information about the Services; data derived from the
Services except for data (other than customer personal data) arising from the
sale of your products comprising of products sold, prices, sales, volumes and time
of the transaction; and technical or operational speci cations relating to the
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Services. For the purposes of this Agreement, customer personal data constitutes
Con dential Information at all times.
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"Content" means copyrightable works under applicable Law and content
protected by database rights under applicable Law.


"Excluded Products" means the items described on the applicable Restricted
Products pages in Seller Central, any other applicable Program Policy, or any
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other information made available to you by Amazon.


"Governing Courts" means the applicable one of the following:

       the state or Federal court in King County, Washington (if the Elected Country is
       Canada, Mexico, or the United States),

"Governing Laws" means the applicable one of the following:

       the laws of the State of Washington, United States together with the Federal
       Arbitration Act and other applicable federal law (if the Elected Country is
       Canada, Mexico, or the United States),

"Insurance Limits" means the applicable one of the following:

       One Million Canadian Dollars ($1,000,000) (if the Elected Country is Canada),
       Ten Million Mexican Pesos ($10,000,000) (if the Elected Country is Mexico),
       One Million U.S. Dollars ($1,000,000) (if the Elected Country is the United
       States).

"Insurance Threshold" means the applicable one of the following:

       Ten Thousand Canadian Dollars ($10,000) (if the Elected Country is Canada),
       One Hundred Thousand Mexican Pesos ($100,000) (if the Elected Country is
       Mexico),
       Ten Thousand U.S. Dollars ($10,000) (if the Elected Country is the United States).

"Intellectual Property Right" means any patent, copyright, Trademark, domain
name, moral right, trade secret right, or any other intellectual property right
arising under any Laws and all ancillary and related rights, including all rights of
registration and renewal and causes of action for violation, misappropriation or
infringement of any of the foregoing.


"Law" means any law, ordinance, rule, regulation, order, license, permit,
judgment, decision, or other requirement, now or in the future in e ect, of any
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governmental authority (e.g., on a federal, state, or provincial level, as
applicable) of competent jurisdiction.


"Local Currency" means the applicable one of the following:

       U.S. Dollars (if the Elected Country is the United States),
       Canadian Dollars (if the Elected Country is Canada),
       Mexican Pesos (if the Elected Country is Mexico),

"MX Amazon Site" means the website, the primary home page of which is
identi ed by the url www.amazon.com.mx, and any successor or replacement of
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such website.

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"Optional Coverage Plans" means warranties, extended service plans and
related o erings, in each case as determined by us, that you o er.




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"Order Information" means, with respect to any of Your Products ordered
through an Amazon Site, the order information and shipping information that we
provide or make available to you.


"Person" means any individual, corporation, partnership, limited liability
company, governmental authority, association, joint venture, division, or other
cognizable entity, whether or not having distinct legal existence.


"Program Policies" means all policies and program terms provided on the
Program Policies page.


"Sales Proceeds" means the gross proceeds from any of Your Transactions,
including (a) all shipping and handling, gift wrap and other charges; (b) taxes and
customs duties to the extent speci ed in the applicable Tax Policies; and (c) in the
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case of invoiced orders, any amounts that customers fail to pay to us or our
A liates on or before the applicable invoice due date.
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"Seller Central" means the online portal and tools made available by Amazon to
you, for your use in managing your orders, inventory, and presence on a
particular Amazon Site or any other online point of presence.


"Service" means each of the following services: Selling on Amazon, Ful llment
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by Amazon, Amazon Advertising (including Amazon Sponsored Products), the
Selling Partner APIs, and, if the Elected Country for a Service is the United States,
the Transaction Processing Services, together in each case with any related
services and materials we make available.


"Service Terms" means the service terms applicable to each Service, which are
made part of this Agreement upon the date you elect to register for or use the
applicable Service, and any subsequent modi cations we make to those terms.
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"Technology" means any: (a) ideas, procedures, processes, systems, methods of
operation, concepts, principles, and discoveries protected or protectable under
the Laws of any jurisdiction; (b) interfaces, protocols, glossaries, libraries,
structured XML formats, speci cations, grammars, data formats, or other similar
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materials; and (c) software, hardware, code, technology, or other functional item.


"Trademark" means any trademark, service mark, trade dress (including any
proprietary "look and feel"), trade name, other proprietary logo or insignia, or

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any other source or business identi er, protected or protectable under any Laws.




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"US Amazon Site" means that website, the primary home page of which is
identi ed by the URL www.amazon.com, and any successor or replacement of
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such website.


"Your Materials" means all Technology, Your Trademarks, Content, Your Product
information, data, materials, and other items or information provided or made
available by you or your A liates to Amazon or its A liates.

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"Your Personnel" means any third party warranting, administering or otherwise
involved in the o er, sale, performance, or ful llment of Your Products, including
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any of your employees, representatives, agents, contractors, or subcontractors.


"Your Product" means any product or service (including Optional Coverage
Plans) that you: (a) have o ered through the Selling on Amazon Service; (b) have
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made available for advertising through the Amazon Advertising Service; or
(c) have ful lled or otherwise processed through the Ful llment by Amazon
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Service.


"Your Sales Channels" means all sales channels and other means through which
you or any of your A liates o ers products or services, other than physical
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stores.


"Your Taxes" means any and all sales, goods and services, use, excise, premium,
import, export, value added, consumption, and other taxes, regulatory fees,
levies (speci cally including environmental levies), or charges and duties
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assessed, incurred, or required to be collected or paid for any reason (a) in
connection with any advertisement, o er or sale of products or services by you
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on or through or in connection with the Services; (b) in connection with any
products or services provided for which Your Products are, directly or indirectly,
involved as a form of payment or exchange; or (c) otherwise in connection with
any action, inaction, or omission of you or your A liates, or any Persons
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providing products or services, or your or their respective employees, agents,
contractors, or representatives, for which Your Products are, directly or indirectly,
involved as a form of payment or exchange. Also, if the Elected Country is the
United States, Mexico, or Canada as it is used in the Ful llment by Amazon
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Service Terms, this de ned term also means any of the types of taxes, duties,
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levies, or fees mentioned above that are imposed on or collectible by Amazon or
any of its A liates in connection with or as a result of ful llment services
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including the storage of inventory or packaging of Your Products and other
materials owned by you and stored by Amazon, shipping, gift wrapping, or other


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actions by Amazon in relation to Your Products pursuant to the Ful llment by




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Amazon Service Terms.


"Your Trademarks" means Trademarks of yours that you provide to us: (a) in
non-text form for branding purposes; and (b) separate from (and not embedded
or otherwise incorporated in) any product speci c information or materials.




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"Your Transaction" means any sale of Your Product(s) through an Amazon Site.


Selling on Amazon Service Terms


The Selling on Amazon Service ("Selling on Amazon") is a Service that allows
you to o er certain products and services directly on the Amazon Sites.
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These Selling on Amazon Service Terms are part of the Agreement, but, unless
speci cally provided otherwise, concern and apply only to your participation in
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Selling on Amazon. BY REGISTERING FOR OR USING THE SELLING ON AMAZON
SERVICE, YOU (ON BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT)
AGREE TO BE BOUND BY THE AGREEMENT, INCLUDING THESE SELLING ON
AMAZON SERVICE TERMS. NOTWITHSTANDING THE PREVIOUS SENTENCE, IF
YOU HAVE ENTERED INTO A SEPARATE AGREEMENT THAT PERMITS YOU TO
OFFER YOUR PRODUCTS THROUGH A PARTICULAR AMAZON SITE (E.G., A
MERCHANTS@ AMAZON.COM PROGRAM AGREEMENT, MERCHANTS
@AMAZON.CO.JP PROGRAM AGREEMENT OR ANY PREDECESSOR OF THOSE
AGREEMENTS), THEN TO THE EXTENT THAT YOU CONTINUE TO LIST AND
SELL YOUR PRODUCTS ON THAT AMAZON SITE PURSUANT TO SUCH
SEPARATE AGREEMENT, TRANSACTIONS OF YOUR PRODUCTS ON THAT
AMAZON SITE AND ANY TAX SERVICES WE MAKE AVAILABLE UNDER THAT
AGREEMENT ARE GOVERNED BY THE TERMS OF THAT AGREEMENT AND NOT
BY THESE SELLING ON AMAZON SERVICE TERMS.


S-1 Your Product Listings and Orders.


S-1.1 Products and Product Information. You will provide accurate and
complete Required Product Information for each product or service that you
o er through any Amazon Site and promptly update that information as
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necessary to ensure it at all times remains accurate and complete. You will also
ensure that Your Materials, Your Products (including packaging) and your o er
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and subsequent sale of any of the same on any Amazon Site comply with all
applicable Laws (including all minimum age, marking and labeling requirements)
and do not contain any sexually explicit (except to the extent expressly permitted
under our applicable Program Policies), defamatory or obscene materials. You
may not provide any information for, or otherwise seek to o er any Excluded
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Products on any Amazon Sites; or provide any URL Marks for use, or request that
any URL Marks be used, on any Amazon Site. If you o er a product for sale on an




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Amazon Site that requires a warning under California Health & Safety Code
Section 25249.6 (a “Proposition 65 Warning”) you (a) will provide us with such
warning in the manner speci ed in our Program Policies, (b) agree that our




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display of a Proposition 65 Warning on a product detail page is con rmation of




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our receipt of that warning, and (c) will only revise or remove a Proposition 65
Warning for a product when the prior warning is no longer legally required.


S-1.2 Product Listing; Merchandising; Order Processing. We will enable you to
list Your Products on a particular Amazon Site, and conduct merchandising and
promote Your Products in accordance with the Agreement (including via the
Amazon Associated Properties or any other functions, features, advertising, or
programs on or in connection with the applicable Amazon Site). We may use
mechanisms that rate, or allow shoppers to rate, Your Products and your
performance as a seller and Amazon may make these ratings and feedback
publicly available. We will provide Order Information to you for each order of
Your Products through the applicable Amazon Site. We will also receive all Sales
Proceeds on your behalf for each of these transactions and will have exclusive
rights to do so, and will remit them to you in accordance with these Selling on
Amazon Service Terms. We may permit certain customers to place invoiced
orders for Your Products, in which case remittance of Sales Proceeds may be
delayed according to each customer’s invoicing terms. You will accept and ful ll



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invoiced orders in the same manner as you accept and ful ll non-invoiced orders,
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except as otherwise provided in this Agreement.


S-1.3 Shipping and Handling Charges. For Your Products ordered by customers
on or through an Amazon Site that are not ful lled using Ful llment by Amazon,
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you will determine the shipping and handling charges subject to our Program
Policies and standard functionality (including any category-based shipping and
handling charges we determine, such as for products o ered by sellers on the
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Individual selling plan and BMVD Products generally). When we determine the
shipping and handling charges, you will accept them as payment in full for your
shipping and handling. Please refer to the Ful llment by Amazon Service Terms
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for Your Products that are ful lled using Ful llment by Amazon.
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S-1.4 Credit Card Fraud and Unpaid Invoices. We will bear the risk of (a) credit
card fraud (i.e., a fraudulent purchase arising from the theft and unauthorized
use of a third party's credit card information) occurring in connection with Your
Transactions, and (b) late payments or defaults by customers in connection with
invoiced orders for Your Products, except, in each case, in connection with Seller-
Ful lled Products that are not ful lled strictly in accordance with the Order
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Information and Shipment Information. You will bear all other risk of fraud or
loss.


S-2 Sale and Ful llment; Refunds and Returns.




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S-2.1 Sale and Ful llment. Other than as described in the Ful llment by


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Amazon Service Terms for each Amazon Site for which you decide to register or
use the Selling on Amazon Service, you will: (a) source, o er, sell, and ful ll your




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Seller-Ful lled Products, and source, o er, and sell your Amazon-Ful lled
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Products, in each case in accordance with the terms of the applicable Order
Information, this Agreement, and all terms provided by you or us and displayed
on the applicable Amazon Site at the time of the order and be solely responsible
for and bear all risk for those activities; (b) package each of Your Products in a
commercially reasonable manner complying with all applicable packaging and
labeling requirements, including any warnings or instructions necessary to safely
use Your Products, and ship each of Your Products on or before its Expected Ship
Date; (c) retrieve Order Information at least once each business day; (d) only
cancel Your Transactions as permitted pursuant to your terms and conditions
appearing on the applicable Amazon Site at the time of the applicable order or
as may be required under this Agreement; (e) ful ll Your Products throughout the
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Elected Country (except to the extent prohibited by Law or this Agreement); (f)
provide to Amazon information regarding ful llment and order status and
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tracking (to the extent available), in each case as requested by us using the
processes designated by us, and we may make any of this information publicly
available; (g) comply with all Street Date instructions; (h) ensure that you are the
seller of each of Your Products; (i) include an order-speci c packing slip, and, if
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applicable, any tax invoices, within each shipment of Your Products; (j) identify
yourself as the seller of each of Your Products on all packing slips or other
information included or provided in connection with Your Products and as the
Person to which a customer may return the applicable product; and (k) not send
customers emails con rming orders or ful llment of Your Products. If any of Your
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Products are ful lled using Ful llment by Amazon, the Ful llment by Amazon
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Service Terms for the applicable Amazon Site will apply to the storage,
ful llment, and delivery of such Amazon-Ful lled Products.
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S-2.2 Cancellations, Returns, and Refunds. The Amazon Refund Policies for the
applicable Amazon Site will apply to Your Products. Subject to Section F-6, for
any of Your Products ful lled using Ful llment by Amazon, you will promptly
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accept, calculate, and process cancellations, returns, refunds, and adjustments in
accordance with this Agreement and the Amazon Refund Policies for the
applicable Amazon Site, using functionality we enable for your account. Without
limiting your obligations, we may in our sole discretion accept, calculate, and
process cancellations, returns, refunds, and adjustments for the bene t of
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customers. You will route any payments to customers in connection with Your
Transactions through Amazon. We will make any payments to customers in the
manner we determine, and you will reimburse us for all amounts we pay.


S-3 Problems with Your Products.


S-3.1 Delivery Errors and Nonconformities; Recalls. You are responsible for any
non-performance, non-delivery, misdelivery, theft, or other mistake or act in
connection with the ful llment of Your Products, except to the extent caused by:
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(a) credit card fraud for which we are responsible under Section S-1.4; or (b) our
failure to make available to you Order Information as it was received by us or
resulting from address veri cation. Notwithstanding the previous sentence, for
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those of Your Products that are ful lled using Ful llment by Amazon, if any, the
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Ful llment by Amazon Service Terms for the applicable Amazon Site will apply to
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non-delivery, misdelivery, theft, or other mistake or act in connection with the
ful llment of those of Your Products. You are also responsible for any non-
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conformity or defect in, any public or private recall of, or safety alert of any of
Your Products or other products provided in connection with Your Products. You
will notify us promptly as soon as you have knowledge of any public or private
recalls, or safety alerts of Your Products or other products provided in connection
with Your Products.


S-3.2 A-to-z Guarantee and Chargebacks if the Elected Country is Canada or
Mexico. If we inform you that we have received or initiated a claim under the "A-
to-z Guarantee" o ered on a particular Amazon Site or other dispute relating to
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the o er, sale or ful llment of Your Products (other than a chargeback),
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concerning one of Your Transactions, you will have 30 days to appeal our decision
of the claim. If we nd that a claim, chargeback, or dispute is your responsibility,
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you (a) will not take recourse against the customer, and (b) are responsible for
reimbursing us in accordance with the Service Fee Payments section of this
Agreement for the amount paid by the customer (including taxes and shipping
and handling charges, but excluding any Referral Fees that we retained as
de ned in Section S-4), and all other fees and expenses associated with the
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original transaction (such as credit card, bank, payment processing, re-
presentment, or penalty fees) and any related chargebacks or refunds, to the
extent payable by us.


S-3.3 A-to-z Guarantee, A-to-z Claims Process, and Chargebacks if the Elected
Country is the United States. Claims that we receive or initiate under the "A-to-z
Guarantee" or the “A-to-z Claims Process for Property Damage and Personal
Injury” will be governed by the Program Policy for such claims.



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If we nd that any claim, chargeback, or dispute is your responsibility, (i) you will




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not take recourse against the customer, and (ii) if Amazon resolves the claim
directly with the customer and does not waive its right of indemni cation, you




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will reimburse us in accordance with Section 2 of this Agreement to the extent of
your responsibility (not to exceed the amount paid by Amazon to resolve the
claim), including taxes and shipping and handling charges (but excluding any
Referral Fees that we retained as de ned in Section S-4), and all other fees and




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expenses associated with the original transaction (such as credit card, bank,
payment processing, re-presentment, or penalty fees) and any related
chargebacks or refunds.


S-4 Compensation.


You will pay us: (a) the applicable Referral Fees; (b) any applicable Variable
Closing Fee; (c) the non-refundable Selling on Amazon Subscription Fee in
advance each month; and (d) any other applicable fees described in this
Agreement (including any applicable Program Policies). "Selling on Amazon
Subscription Fee" means the fee speci ed as such on the Selling on Amazon Fee
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Schedule for the applicable Amazon Site at the time such fee is payable. With
respect to each of Your Transactions: (i) "Sales Proceeds" has the meaning set
out in this Agreement; (ii) "Variable Closing Fee" means the applicable fee, if
any, as speci ed on the Variable Closing Fee Schedule for the applicable Amazon
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Site; and (iii) "Referral Fee" means the applicable fee based on the Sales
Proceeds from Your Transaction through the applicable Amazon Site speci ed on
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the Selling on Amazon Fee Schedule for that Amazon Site at the time of Your
Transaction, based on the categorization by Amazon of the type of product that
is the subject of Your Transaction; provided, however, that Sales Proceeds will not
include any shipping charges set by us in the case of Your Transactions that
consist solely of products ful lled using Ful llment by Amazon.
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S-5 Remittance of Sales Proceeds & Refunds.


Except as otherwise stated in this Agreement, we will remit to you your available
balance on a bi-weekly (14 day) (or at our option, more frequent) basis, which
may vary for each Elected Country. For each remittance, your available balance is
equal to any Sales Proceeds not previously remitted to you as of the applicable
Remittance Calculation Date (which you will accept as payment in full for Your
Transactions), less: (a) the Referral Fees; (b) the applicable Variable Closing Fee;
(c) any Selling on Amazon Subscription Fees; (d) any other applicable fees
described in this Agreement (including any applicable Program Policies); (e) any
amounts we require you to maintain in your account balance pursuant to this
Agreement (including payments withheld pursuant to Section 2 of the General
Terms, Section S-1.4, Section S-3.2, Section S-3.3, and applicable Program
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Policies); and (f) any taxes that Amazon automatically calculates, collects and
remits to a tax authority according to applicable law, as speci ed in the Tax




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Policies.


We may establish a reserve on your account based on our assessment of risks to
Amazon or third parties posed by your actions or performance, and we may
modify the amount of the reserve from time to time at our sole discretion.


When you either initially provide or later change Your Bank Account information,
the Remittance Calculation Date may be deferred by up to 14 days. For sellers
that registered after October 30, 2011 and are on the Individual selling plan, the
remittance amount will not include Sales Proceeds from the 14-day period
before the date of remittance. If you refund money to a customer in connection
with one of Your Transactions, and the refund is routed through us (or our
A liate), on the next available Remittance Calculation Date we will refund to you
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the amount of the Referral Fee paid by you to us attributable to the amount of
the customer refund (including refunded taxes and customs duties only to the
extent speci ed in the applicable Tax Policies), less the Refund Administration
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Fee for each of Your Products refunded that is not a BMVD Product, which
amount we may retain as an administrative fee; provided, however, that in the
case of a complete refund of Sales Proceeds for a Media Product, we will refund
to you the full amount of any Variable Closing Fee paid by you to us (and in the
case of a partial refund of Sales Proceeds for a Media Product, we will not refund
to you any portion of any Variable Closing Fee paid by you to us). We will remit
any amounts to be refunded by us pursuant to this subsection from time to time
together with the next remittance to be made by us to you. “Refund
Administration Fee” means the applicable fee described on the Refund
Administration Fee Schedule for the applicable Amazon Site.


Net Sales Proceeds from non-invoiced orders will be credited to your available
balance when they are received by us or our A liates. Sales Proceeds from
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invoiced orders will be credited to your available balance: (a) if you have elected
in advance to pay a fee to accelerate remittance of Sales Proceeds from invoiced
orders, on the day all of Your Products included in an invoiced orders are shipped;
or (b) otherwise, no later than the seventh day following the date that an
invoiced order becomes due.


S-6 Amazon’s Websites and Services.


Amazon has the right to determine, the design, content, functionality, availability
and appropriateness of its websites, selection, and any product or listing in the
Amazon Stores, and all aspects of each Service, including your use of the same.
Amazon may assign any of these rights or delegate any of its responsibilities.
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S-7 Continuing Guarantees


Guarantees. We require the following continuing guarantees from you.


S-7.1 Pesticides. If any of Your Products is a “pesticide” being o ered or sold in




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the United States or other product regulated under the US Federal Insecticide,
Fungicide, and Rodenticide Act (“FIFRA”) or its implementing regulations, then
you provide to us the following continuing guaranty that: (a) you are a resident
of the United States; and (b) with respect to each such product, the pesticides
and other FIFRA regulated products comprising each sale, shipment, or other
delivery made previously or hereafter are: (i) lawfully registered with the US
Environmental Protection Agency at the time of sale, shipment, or delivery, or
fully quali ed for a speci c exemption from the FIFRA registration requirements
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at the time of sale, shipment, or delivery, (ii) compliant with all requirements of
FIFRA and its implementing regulations at the time of sale, shipment, or delivery,
and (iii) provided by you in the original, unbroken packaging.


S-7.2 Foods, Drugs, Medical Devices, and Cosmetics. If any of Your Products is a
“food”, “drug”, “medical device”, or “cosmetic” being o ered or sold in the United
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States or other product regulated under the U.S. Federal Food, Drug, and
Cosmetic Act (“FFDCA”) or its implementing regulations, then you provide us with
the following continuing guaranty that with respect to all such products
comprising each sale, shipment, or other delivery made previously or hereafter
are: (i) not adulterated or misbranded within the meaning of the FFDCA, (ii)
compliant with all requirements of FFDCA and its implementing regulations at
the time of sale, shipment, or delivery, and (iii) provided by you in the original,
unbroken packaging.


Selling on Amazon De nitions
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"Amazon-Ful lled Products" means any of Your Products that are ful lled using
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the Ful llment by Amazon Service.
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"Amazon Refund Policies" means the return and refund policies published on
the applicable Amazon Site and applicable to products and services o ered via
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that Amazon Site.


"BMVD Product" means any book, magazine or other publication, sound
recording, video recording, and/or other media product in any format, including
any subscription, in each case excluding any software product, computer game,
and/or video game.



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"Excluded O er" means any discount, rebate, promotional o er, or other term




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of o er and/or sale that you: (a) have attempted to make available through a


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particular Amazon Site but that we do not honor or support (but only until such
time as we honor or support the same on such Amazon Site); or (b) make
available solely to third parties that either (i) purchase products solely for resale
and who are not end users of such products (i.e., wholesale purchasers), or (ii) if
the Elected Country is Canada, Mexico, or the United States, have a rmatively




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elected and opted-in to participate in your or one of your A liates' membership-




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based customer loyalty or customer incentive programs.


"Expected Ship Date" means, with respect to any of Your Products, either: (a) the
end of the shipping availability period (which begins as of the date on which the
relevant order is placed by the customer), or the shipping availability date, as
applicable, speci ed by you in the relevant inventory/product data feed for Your
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Product; or (b) if you do not specify shipping availability information in such
inventory/product data feed or that Your Product is in a product category that
Amazon designates as requiring shipment within two (2) business days, two (2)
business days after the date on which the relevant order is placed by the
customer.


"Media Product" means any book, magazine or other publication, sound
recording, video recording, software product, computer game, videogame, or
other media product in any format, including any related subscription, o ered

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through an Amazon Site.


"Purchase Price" means the total amount payable or paid for Your Product
(including taxes and shipping and handling charges only to the extent speci ed
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in the applicable Tax Policies).


"Remittance Calculation Date" is the date that is two (2) business days prior to
the date of remittance (the "Remittance Calculation Date").


"Required Product Information" means, with respect to each of Your Products in
connection with a particular Amazon Site, the following (except to the extent
expressly not required under the applicable Program Policies): (a) description,
including as applicable, location-speci c availability and options, scheduling
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guidelines and service cancellation policies; (b) SKU and UPC/EAN/JAN numbers,
and other identifying information as Amazon may reasonably request; (c)
information regarding in-stock status and availability, shipping limitations or
requirements, and Shipment Information (in each case, in accordance with any
categorizations prescribed by Amazon from time to time); (d) categorization
within each Amazon product category and browse structure as prescribed by
Amazon from time to time; (e) digitized image that accurately depicts only Your
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Product, complies with all Amazon image guidelines, and does not include any
additional logos, text or other markings; (f) Purchase Price; (g) shipping and
handling charge (in accordance with our standard functionality); (h) any text,
disclaimers, warnings, notices, labels, warranties, or other content required by
applicable Law to be displayed, or that are necessary for the safe use of Your
Product, in connection with the o er, merchandising, advertising, or sale of Your




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Product; (i) any vendor requirements, restocking fees or other terms and
conditions applicable to such product that a customer should be aware of prior
to purchasing the product; (j) brand; (k) model; (l) product dimensions; (m)
weight; (n) a delimited list of technical speci cations; (o) SKU and UPC/EAN/JAN




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numbers (and other identifying information as we may reasonably request) for
accessories related to Your Product that is available in our catalog; (p) the state
or country Your Product ships from; and (q) any other information reasonably
requested by us (e.g., the condition of used or refurbished products; and invoices
and other documentation demonstrating the safety and authenticity of Your
Products).


"Seller-Ful lled Products" means any of Your Products that are not ful lled
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using the Ful llment by Amazon Service.
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"Shipment Information" means, with respect to any of Your Products, the
estimated or promised shipment and delivery date.


"Street Date" means the date(s), if any, speci ed by the manufacturer,
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distributor, and/or licensor of a product as the date before which speci ed
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information regarding such product (e.g., title of a book) should not be disclosed
publicly, or such product should not be delivered or otherwise made available to
customers.


"URL Marks" means any Trademark, or any other logo, name, phrase, identi er,
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or character string, that contains or incorporates any top level domain (e.g., .com,
.edu, .ca, .fr, .jp) or any variation of a top level domain (e.g., dot com, dotcom,
net, or com).


"Your Transaction" is de ned in the General Terms of this Agreement; however,
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as used in these Selling on Amazon Service Terms, it means any and all such
transactions through Selling on Amazon only.


Ful llment by Amazon Service Terms
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Ful llment by Amazon ("FBA") provides ful llment and associated services for
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Your Products.

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These FBA Service Terms are part of the Agreement, and, unless speci cally




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provided otherwise, concern and apply only to your participation in FBA. BY
REGISTERING FOR OR USING FBA, YOU (ON BEHALF OF YOURSELF OR THE
BUSINESS YOU REPRESENT) AGREE TO BE BOUND BY THE AGREEMENT,
INCLUDING THESE FBA SERVICE TERMS. You expressly agree that Amazon may
engage its A liate(s) or a third party in order to complete one or more of the
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ful llment and associated services outlined below.
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Ful llment Services
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F-1 Your Products


Once you are accepted into FBA, you must apply to register each product you
o er that you wish to include in the FBA program. We may refuse registration in
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FBA of any product, including on the basis that it is an FBA Excluded Product or
that it violates applicable Program Policies. You may at any time withdraw
registration of any of Your Products from FBA.


F-2 Product and Shipping Information


You will, in accordance with applicable Program Policies, provide accurate and
complete information about Your Products registered in FBA, and will provide
Ful llment Requests for any Units ful lled using FBA that are not sold through
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an Amazon Site ("Multi-Channel Ful llment Units"). You will promptly update
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any information about Your Products in accordance with our requirements and as
necessary so that the information is at all times accurate and complete.


F-3 Shipping to Amazon


F-3.1 Except as otherwise provided in Section F-3.4 and Section F-5, FBA is
limited to Units that are shipped to and from ful llment centers located within
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the applicable Elected Country, to be delivered to customers in the same Elected
Country only. You will ship Units to us in accordance with applicable Program
Policies. You will be responsible for all costs incurred to ship the Units to the
shipping destination (including costs of freight and transit insurance) and
Amazon will not pay any shipping costs. You are responsible for payment of all
customs, duties, taxes, and other charges. In the case of any improperly packaged
or labeled Unit, we may return the Unit to you at your expense (pursuant to
Section F-7) or re-package or re-label the Unit and charge you an administrative
fee.


F-3.2 You will not deliver to us any Unsuitable Unit; we may reject any shipment
of Your Products.
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F-3.3 We may, at our option, allow you to ship Units at your expense (as
described in Section F-9.2) to ful llment centers using discounted shipping rates




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that we may make available to you for certain carriers. In such event, you will use
the processes and supply the information that we require for you to obtain such
discounted rates. You also must comply with standard operating procedures,
weight and size restrictions, and other shipping requirements of the applicable
carriers. If we provide you with the estimated shipping costs prior to shipment,
you acknowledge and agree that actual shipping costs may vary from such
estimates. In addition, if the weight of the Unit, as determined by the applicable
carrier, di ers from that submitted by you to us for purposes of determining the
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estimated shipping costs, then: (a) you may be charged more than the estimated
shipping costs if the carrier determines that such Unit weighs more than as
submitted by you; or (b) you may be charged the full amount of the estimated
shipping costs even if the carrier determines the weight to be less than that
submitted by you. You will not use carrier account information (e.g., carrier
account number, amount of shipping rates, etc.) for any purpose, nor disclose
such information to any third party, and you will protect such information as
Amazon's con dential information in accordance with Section 11 of the General
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Terms of this Agreement. As between you, us, and the applicable carrier, you will
be the shipper of record, and we will make payment to the carrier with respect to
the shipment of all Units using such discounted rates. Title and risk of loss for
any Unit shipped using discounted rates provided by us under this Section will
remain with you, and our provision of such shipping rates will not create any
liability or responsibility for us with respect to any delay, damage, or loss
incurred during shipment. You authorize the applicable carrier to provide us with
all shipment tracking information.


F-3.4 If you ship Units from outside the applicable Elected Country to ful llment
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centers, you will list yourself as the importer/consignee and nominate a customs
broker. If Amazon is listed on any import documentation, Amazon reserves the
right to refuse to accept the Units covered by the import documents and any
costs assessed against or incurred by Amazon will be collected from Your Bank
Account, deducted from amounts payable to you, or by other method at our
election.


F-4 Storage


We will provide storage services as described in these FBA Service Terms once we
con rm receipt of delivery. We will keep electronic records that track inventory of
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Units by identifying the number of Units stored in any ful llment center. We will
                                                                 fi
not be required to physically mark or segregate Units from other inventory units
(e.g., products with the same Amazon standard identi cation number) owned by
                                                            fi
us, our A liates or third parties in the applicable ful llment center(s). If we elect
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to commingle Units with such other inventory units, both parties agree that our
records will be su cient to identify which products are Units. We may move




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Units among facilities. If there is a loss of or damage to any Units while they are
being stored, we will, compensate you in accordance with the FBA Guidelines,
and you will, at our request, provide us a valid tax invoice for the compensation
paid to you. If we compensate you for a Unit, we will be entitled to dispose of the
Unit pursuant to Section F-7. At all other times, you will be solely responsible for
any loss of, or damage to, any Units. Our con rmed receipt of delivery does not:




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(a) indicate or imply that any Unit has been delivered free of loss or damage, or
that any loss or damage to any Unit later discovered occurred after con rmed




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receipt of delivery; (b) indicate or imply that we actually received the number of
Units of Your Product(s) speci ed by you for such shipment; or (c) waive, limit, or
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reduce any of our rights under this Agreement. We reserve the right to change
scheduling restrictions and volume limitations on the delivery and storage of
your inventory in ful llment centers in accordance with Section 15 of the General
                               fi
Terms, and you will comply with any of these restrictions or limitations.


F-5 Ful llment
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As part of our ful llment services, we will ship Units from our inventory of Your
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Products to the shipping addresses in the Elected Country included in valid
customer orders, or submitted by you as part of a Ful llment Request. We may
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ship Units together with products purchased from other merchants, including
any of our A liates. We also may ship Units separately that are included in a
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single Ful llment Request. If you participate in our export ful llment services, we
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                                                                          fi
will also ship Your Products that we determine to be eligible (each, a "Foreign-
Eligible Product") to Foreign Addresses within countries we determine to be
eligible for foreign shipments, subject to the additional terms on foreign
shipments in the applicable FBA Guidelines.


F-6 Customer Returns


F-6.1 You will be responsible for and will accept and process returns of, and
provide refunds and adjustments for, any Multi-Channel Ful llment Units in
                                                                fi
accordance with the Agreement (including the applicable Program Policies).


F-6.2 We will receive and process returns of any Amazon Ful llment Units that
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were shipped to addresses within the Elected Country in accordance with the
terms of your Seller Agreement, these FBA Service Terms, and the Program
Policies. Any Sellable Units that are also Amazon Ful llment Units and that are
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properly returned will be placed back into the inventory of Your Products in the
FBA Program. We may ful ll customer orders for Your Products with any
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returned Amazon Ful llment Units. Except as provided in Section F-7, you will




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retake title of all Units that are returned by customers.


F-6.3 Subject to Section F-7, we will, at your direction, either return or dispose of
any Unit that is returned to us by a customer and that we determine is an
Unsuitable Unit.


F-6.4 If Amazon receives a customer return of a Multi-Channel Ful llment Unit,




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you will direct us to return or dispose of the Unit at your own cost failing which
we may dispose of the Unit as provided in Section F-7.


F-7 Returns to You and Disposal


F-7.1 You may, at any time, request that Units be returned to you or that we
dispose of Units.


F-7.2 We may with notice return Units to you, including upon termination of
these FBA Service Terms. Returned Units will be sent to your designated shipping
address. However, if (a) the designated shipping address we have for you is
outdated or incorrect, (b) you have not provided or, upon our request, con rmed




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a designated shipping address in the Elected Country, or (c) we cannot make
arrangements for you to pay for the return shipment, then the Unit(s) will be
deemed abandoned and we may elect to dispose of them as appropriate based
on the inventory (e.g., by selling, recycling, donating, or destroying it) and retain
any proceeds we may receive from the disposal.


We may dispose of any Unsuitable Unit (and you will be deemed to have
consented to our action): (d) immediately if we determine that (i) the Unit creates
a safety, health, or liability risk to Amazon, our personnel, or any third party; (ii)
you have engaged in fraudulent or illegal activity; or (iii) we have cause to
terminate your use of Services with immediate e ect pursuant to Section 3 and
                                                   ff
are exposed to liability towards a third party; (e) if you fail to direct us to return
or dispose of any Unsuitable Unit within thirty (30) days after we notify you that
the Unit has been recalled; or (f) if you fail to direct us to return or dispose of any
Unsuitable Unit within thirty (30) days (or as otherwise speci ed in the applicable
                                                                fi
Program Policies) after we notify you that its removal is required, for instance
because your use of FBA is suspended or terminated or your seller account is
suspended, terminated or closed. In addition, you will reimburse us for expenses
we incur in connection with any Unsuitable Units.


We may dispose of any Unit we are entitled to dispose of (including any
Unsuitable Units) in the manner we deem appropriate (e.g., by selling, recycling,

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donating, or destroying it) and retain any proceeds we may receive from the
disposal.


F-7.3 You may, at any time, request that we dispose of Units. In this case, we may
dispose of these Units as appropriate based on the inventory (e.g., by selling,
recycling, donating, or destroying it) and retain any proceeds we may receive
from the disposal. Title to each disposed Unit will transfer to us (or a third party
we select such as a charity) at no cost, free and clear of any liens, claims, security
interests or other encumbrances to the extent required to dispose of the Unit,
and we may retain any proceeds, we may receive from the disposal.


F-7.4 You will promptly notify us of any recalls or potential recalls, or safety
alerts of any of Your Products and cooperate and assist us in connection with any
recalls or safety alerts, including by initiating the procedures for returning items
to you under our standard processes. You will be responsible for all costs and
expenses you, we or any of our or your A liates incur in connection with any
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recall or potential recall or safety alerts of any of Your Products (including the
costs to return, store, repair, liquidate, or deliver to you or any vendor any of
these products).


F-8 Customer Service


F-8.1 For Multi-Channel Ful llment Units we will have no customer service
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obligations other than to pass any inquiries to your attention at the contact you
provide, and to make available a reasonable amount of information regarding
the status of the ful llment of Your Products if you request it and if and to the
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extent we possess the requested information. You will ensure that all of your
policies and messaging to your customers regarding shipping of Your Products
and other ful llment-related matters, re ect our policies and requirements,
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including with regard to shipping methods, returns, and customer service; and,
you will conspicuously display on your website(s), in emails or in other media or
communications any speci c disclosures, messaging, notices, and policies we
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require.


F-8.2 We will be responsible for all customer service issues relating to packaging,
handling and shipment, and customer returns, refunds, and adjustments related
to Amazon Ful llment Units. We will determine whether a customer will receive a
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refund, adjustment or replacement for any Amazon Ful llment Unit and we will
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require you to reimburse us where we determine you have responsibility in
accordance with the Agreement (including these FBA Service Terms and the
Program Policies). We will promptly notify you when you are responsible for a
customer refund. You may appeal if you disagree with our nding within thirty
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(30) days after our noti cation, in addition to your right to request that Units be
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returned to you under Section F-7.1. Except as provided in this Section F-8
regarding any Amazon Ful llment Units, customer service will be handled in




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accordance with your Seller Agreement.


F-8.3 In situations relating to Amazon Ful llment Units where the wrong item




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was delivered or the item was damaged or lost or is missing, unless we determine
that the basis for such request is caused by you or any of your employees, agents,
or contractors, we will, at our option: (a) for any Amazon Ful llment Unit, (i) ship




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a replacement Unit to the customer and reimburse you in accordance with the
FBA Guidelines for the replacement Unit, or (ii) process a refund to the customer
and reimburse you in accordance with the FBA Guidelines for the Unit; or (b) for
any Multi-Channel Ful llment Unit, reimburse you in accordance with the FBA
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Guidelines for the Unit (and you will, at our request, provide us a valid tax invoice
for the compensation paid to you). Any customer refund will be processed in
accordance with the Selling on Amazon and the Transaction Processing Service
Terms (if the Elected Country for a Service is the United States). Notwithstanding
the Selling on Amazon Service Terms, we will be entitled to retain the applicable
fees payable to us under the Selling on Amazon Service Terms and these FBA
Service Terms, respectively. Except as expressly provided in this Section F-8.3,
you will be responsible for all costs associated with any replacement or return.


F-8.4 If we provide a replacement Unit or refund as described in Section F-8.3 to
a customer and that customer returns the original Unit to us, we will be entitled
to dispose of the Unit pursuant to Section F-7, or, if it is a Sellable Unit, we may,
at our option, place such Unit back into your inventory in accordance with
Section F-6. If we do put a Unit back into your inventory, you will reimburse us
for the applicable Replacement Value (as described in the FBA Guidelines) of the
returned Unit. Any replacement Unit shipped by us under these FBA Service
Terms will be deemed to be, and will be treated in the same manner as, an order
and sale of such Unit from you to the customer via the applicable Amazon Site or
Service in accordance with, and subject to, the terms and conditions of this
Agreement and your Seller Agreement.


F-9 Compensation for Ful llment Services
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F-9.1 Handling and Storage Fees. You will pay us the applicable fees described
in the applicable Ful llment by Amazon Fee Schedule. You will be charged the
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Storage Fees beginning on the day (up to midnight) that the Unit arrives at a
ful llment center and is available for ful llment by Amazon (or in the case of any
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Unsuitable Unit, the arrival day (up to midnight)), until the earlier of: (a) the day
(up to midnight) we receive a valid customer order for such product or a request
from you to return or dispose of the Unit; or (b) the day (up to midnight) we
actually ship the Unit to your designated return location or dispose of the Unit.
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F-9.2 Shipping and Gift Wrap. For any Amazon Ful llment Units we will




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determine the amounts charged to the customer for shipping and gift wrap
services for the Units that we ful ll through the FBA Program. As between you




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and us, these charges will be your charges to the customer, and we will report
them to you. We will charge you (and you will pay us) a fee equal to the amount
of such charges to the customer. In the case of shipments of Units sold through
the Amazon Site that qualify for the "Free Shipping" promotion, the amounts
charged to the customer for shipping the Selling on Amazon Units that Amazon
ful lls will rst be charged to the customer and will next be deducted from the
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total charges to the customer as your promotion and Amazon will not charge you
the fee described above. If you ship Units to us using the shipping rates that we
may make available pursuant to Section F-3.3, you will reimburse us for the
actual amounts charged to us by the applicable carrier for such shipments.


F-9.3 Proceeds. We may as appropriate keep part of or all proceeds of any Units
that we are entitled to dispose of pursuant to F-7 above, or to which title
transfers, including returned, damaged, or abandoned Units. You will have no
security interest, lien, or other claim to the proceeds that we receive in
connection with the sale, ful llment, and/or shipment of these Units.
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F-10 Indemnity


In addition to your obligations under Section 6 of the General Terms of this
Agreement, you also agree to indemnify, defend, and hold harmless us, our
A liates, and our and their respective o cers, directors, employees,
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representatives, and agents against any Claim that arises from or relates to: (a)
the Units (whether or not title has transferred to us, and including any Unit that
we identify as yours pursuant to Section F-4), including any personal injury,
death, or property damage; (b) any of Your Taxes or the collection, payment, or
failure to collect or pay Your Taxes; and, if applicable (c) any sales, use, value
added, personal property, gross receipts, excise, franchise, business, or other
taxes or fees, or any customs, duties, or similar assessments (including penalties,
 nes, or interest on any of the foregoing) imposed by any government or other
fi
taxing authority in connection with the shipment of Foreign-Eligible Products to
Foreign Addresses (collectively, "Foreign Shipment Taxes").


F-11 Release


You, on behalf of yourself and any successors, subsidiaries, A liates, o cers,
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directors, shareholders, employees, assigns, and any other person or entity
claiming by, through, under, or in concert with them (collectively, the "Releasing
Parties"), irrevocably acknowledge full and complete satisfaction of and
unconditionally and irrevocably release and forever fully discharge Amazon and
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each of our A liates, and any and all of our and their predecessors, successors,




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and A liates, past and present, as well as each of our and their partners, o cers,


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directors, shareholders, agents, employees, representatives, attorneys, and
assigns, past and present, and each of them and all Persons acting by, through,
under, or in concert with any of them (collectively, the "Released Parties"), from
any and all claims, obligations, demands, causes of action, suits, damages, losses,
debts, or rights of any kind or nature, whether known or unknown, suspected or
unsuspected, absolute or contingent, accrued or unaccrued, determined or
speculative (collectively, "Losses") which the Releasing Parties now own or hold
or at any time have owned or held or in the future may hold or own against the
Released Parties, or any of them, arising out of, resulting from, or in any way
related to the shipment, export, or delivery of Your Products to Foreign
Addresses, including any tax registration or collection obligations. You, on behalf
of yourself and all other Releasing Parties, recognize that you, and each of them,
may have some Losses, whether in tort, product liability, contract, warranty, or
otherwise, against the Released Parties of which you, or any of them, are totally
unaware and unsuspecting, or which may arise or accrue after the date you
register for or use FBA, which the Releasing Parties are giving up by agreeing to
these FBA Service Terms. It is your intention in agreeing to these FBA Service
Terms that these FBA Service Terms will deprive the Releasing Parties of each
and all such Losses and prevent the Releasing Party from asserting any such
Losses against the Released Parties, or any of them. In addition to the foregoing,
you acknowledge, on behalf of yourself and all other Releasing Parties that you
are familiar with Section 1542 of the Civil Code of the State of California, as
follows:


"A general release does not extend to claims that the creditor or releasing
party does not know or suspect to exist in his or her favor at the time of
executing the release and that, if known by him or her, would have materially
a ected his or her settlement with the debtor or released party."
 ff
You, on behalf of yourself and all other Releasing Parties, expressly waive and
relinquish any rights that you had or may have under Section 1542 of the Civil
Code of the State of California or any similar provision of the law of any other
jurisdiction, to the full extent that you may lawfully waive all such rights
pertaining to the subject matter of these FBA Service Terms.


F-12 Disclaimer


IN ADDITION TO THE DISCLAIMER IN SECTION 7 OF THE GENERAL TERMS OF
THIS AGREEMENT, WE DISCLAIM ANY DUTIES OF A BAILEE OR
WAREHOUSEMAN, AND YOU WAIVE ALL RIGHTS AND REMEDIES OF A BAILOR
(WHETHER ARISING UNDER COMMON LAW OR STATUTE OR OTHERWISE),
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RELATED TO OR ARISING OUT OF ANY POSSESSION, STORAGE, OR SHIPMENT
OF YOUR PRODUCTS BY US OR OUR AFFILIATES OR ANY OF OUR OR THEIR
CONTRACTORS OR AGENTS.


F-13 E ect of Termination
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Your termination rights are set forth in Section 3 of this Agreement. Following
any termination of the Agreement or these FBA Service Terms in connection with
a particular Elected Country, we will, as directed by you, return to you or dispose
of the Units held in that Elected Country as provided in Section F-7. If you fail to
direct us to return or dispose of the Units within thirty (30) days (or as otherwise
speci ed in the applicable Program Policies) after termination, then we may elect
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to return and/or dispose of the Units in whole or in part, as provided in Section
F-7, and you agree to such actions. Upon any termination of these FBA Service
Terms in connection with a particular Elected Country, all rights and obligations
of the parties under these FBA Service Terms in connection with such Elected
Country will be extinguished, except that the rights and obligations of the parties
under Sections F-1, F-2, F-3, F-4, F-5, F-6, F-7, F-8, F-9, F-11, F-12, and F-13 with
respect to Units received or stored by Amazon as of the date of termination will
survive the termination.


F-14 Tax Matters


You understand and acknowledge that storing Units at ful llment centers may
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create tax nexus for you in any country, state, province, or other localities in
which your Units are stored, and you will be solely responsible for any taxes owed
as a result of such storage. If any Foreign Shipment Taxes or Your Taxes are
assessed against us as a result of performing services for you in connection with
the FBA Program or otherwise pursuant to these FBA Service Terms, you will be
responsible for such Foreign Shipment Taxes and Your Taxes and you will
indemnify and hold Amazon harmless from such Foreign Shipment Taxes and
Your Taxes as provided in Section F-10 of these FBA Service Terms.


F-15 Additional Representation


In addition to your representations and warranties in Section 5 of the General
Terms of this Agreement, you represent and warrant to us that: (a) you have valid
legal title to all Units and all necessary rights to distribute the Units and to
perform under these FBA Service Terms; (b) you will deliver all Units to us in new
condition (or in such condition otherwise described by you in the applicable Your
Product listing) and in a merchantable condition; (c) all Units and their packaging
will comply with all applicable marking, labeling, and other requirements
required by Law; (d) no Unit is or will be produced or manufactured, in whole or
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in part, by child labor or by convict or forced labor; (e) you and all of your
subcontractors, agents, and suppliers involved in producing or delivering Units
will strictly adhere to all applicable Laws of the Elected Country, its territories,
and all other countries where Units are produced or delivered, regarding the
operation of their facilities and their business and labor practices, including
working conditions, wages, hours, and minimum ages of workers; and (f) that all
Foreign-Eligible Products (i) can be lawfully exported from Canada, Mexico, or
the United States, as applicable, without any license or other authorization; and
(ii) can be lawfully imported into, and comply with all applicable Laws of, any
eligible country.


FBA De nitions
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"Amazon Ful llment Units" means Units ful lled using FBA that are sold
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through an Amazon Site. For avoidance of doubt, if you have successfully
registered for or used both the FBA and Selling on Amazon Services, then the
term "Amazon Ful llment Units" and the de ned term "Amazon Ful lled
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Products" in the Selling on Amazon Service Terms both refer to the same items.


"FBA Excluded Product" means any Unit that is an Excluded Product or is
otherwise prohibited by the applicable Program Policies.


"Foreign Address" means (a) if the Elected Country is the United States, any
mailing address that is not (i) within the fty states of the United States or
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Puerto Rico, or (ii) an APO/FPO address; and (b) if the Elected Country is not the
United States, any mailing address that is not within the Elected Country.


"Ful llment Request" means a request that you submit to us (in accordance with
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the standard methods for submission prescribed by us) to ful ll one or more
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Multi-Channel Ful llment Units.
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"Multi-Channel Ful llment Units" has the meaning in Section F-2.
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"Sellable Unit" means a Unit that is not an Unsuitable Unit.


"Seller Agreement" means the Selling on Amazon Service Terms, the
Merchants@ Program Agreement, the Marketplace Participation Agreement, any
successor to any of these agreements, or any other similar agreement (as
determined by Amazon) between you and us that permits you to o er products
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and services via a particular Amazon Site.




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"Shipping Information" means with respect to any purchased Unit(s), the
following information: the name of the recipient, the shipping address, the
quantity of Units to be shipped, and any other shipping-related information we
may reasonably request.


"Unit" means a unit of Your Product that you deliver to Amazon in connection
with the FBA Program.


"Unsuitable Unit" means a Unit: (a) that is defective, damaged, un t for a




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particular purpose, or lacking required label(s); (b) the labels for which were not
properly registered with Amazon before shipment or do not match the product
that was registered; (c) that is an FBA Excluded Product or does not comply with
the Agreement (including applicable Service Terms and Program Policies); (d)
that Amazon determines is unsellable or unful llable; or (e) that Amazon



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determines is otherwise unsuitable.


Amazon Advertising Service Terms


The Amazon Advertising Service Terms govern your use of Amazon Advertising, a
Service that allows you to advertise your products. The Amazon Advertising
Service Terms apply to your use of the Ad Services.


Your use of the Ad Services (as de ned in the Amazon Advertising Agreement) is
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governed by the Amazon Advertising Agreement. You accept the Amazon
Advertising Agreement, which may be updated from time to time by Amazon in
accordance with its terms. The Amazon Advertising Agreement is available at
https://advertising.amazon.com/terms. In the event of any con ict between the
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General Terms or Program Policies and the Amazon Advertising Agreement with
respect to the Ad Services, the Amazon Advertising Agreement will prevail to the
extent of the con ict. If the Amazon Advertising Agreement is deemed unlawful,
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void, or for any reason unenforceable, then the General Terms will govern your
access to and use of the Ad Services.


Transaction Processing Service Terms


BY REGISTERING FOR OR USING ANY SERVICE OTHER THAN AMAZON
ADVERTISING FOR WHICH THE ELECTED COUNTRY IS THE UNITED STATES, YOU
(ON BEHALF OF YOURSELF OR THE BUSINESS YOU REPRESENT) AGREE TO BE
BOUND BY THESE TRANSACTION PROCESSING SERVICE TERMS FOR THAT
SERVICE. NOTWITHSTANDING THE FOREGOING, IF A SEPARATE AGREEMENT
GOVERNS THE OFFER, SALE OR FULFILLMENT OF YOUR PRODUCTS ON THE
US AMAZON SITE, THE TERMS OF THAT AGREEMENT WILL CONTINUE TO

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GOVERN THE PROCESSING OF YOUR TRANSACTIONS TO THE EXTENT
DESCRIBED IN THAT AGREEMENT.


P-1 Payments Processing Agency Appointment


For non-invoiced orders, you authorize Amazon Payments, Inc. to act as your
agent for purposes of processing payments, refunds and adjustments for Your
Transactions, receiving and holding Sales Proceeds on your behalf, remitting
Sales Proceeds to Your Bank Account, charging your Credit Card, and paying
Amazon and its A liates amounts you owe in accordance with this Agreement or
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other agreements you may have with Amazon A liates. For invoiced orders, you




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authorize: (a) Amazon Capital Services, Inc. to act as your agent for purposes of
processing payments, refunds and adjustments for Your Transactions, and
receiving and holding Sales Proceeds on your behalf; and (b) Amazon.com
Services LLC to act as your agent for purposes of remitting Sales Proceeds to
Your Bank Account, charging your Credit Card, and paying Amazon and its
A liates amounts you owe in accordance with this Agreement or other
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agreements you may have with Amazon A liates. Amazon Payments, Inc.,
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Amazon Capital Services, Inc., and Amazon.com Services LLC are each an
“Amazon Payments Agent”. The applicable Amazon Payments Agents provide
the services described in these Transaction Processing Service Terms and the
related services described in Sections S-1.4, S-2.2, S-5, and F-8.3 of the
Agreement (collectively, the "Transaction Processing Services").


When a buyer instructs us to pay you, you agree that the buyer authorizes and
orders us to commit the buyer's payment (less any applicable fees or other
amounts we may collect under this Agreement) to you. You agree that buyers
satisfy their obligations to you for Your Transactions when we receive the Sales
Proceeds. We will remit funds to you in accordance with this Agreement.


P-2 Remittance


Subject to Section 2 of the General Terms of this Agreement, the applicable
Amazon Payments Agents will remit funds to you in accordance with Section S-5
of the Agreement and these Transaction Processing Service Terms. Each
applicable Amazon Payments Agent's obligation to remit funds collected or
received by it or otherwise credited to your available balance in connection with
Your Transactions is limited to funds in your available balance that have become
available in accordance with this Agreement less amounts owed to Amazon and
any taxes that Amazon automatically calculates, collects and remits to a tax
authority according to applicable law, as speci ed in the Tax Policies, subject to
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chargeback or reversal or withheld for anticipated claims in accordance with this
Agreement. Without limiting Amazon's rights to collect any amounts you owe,
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the applicable Amazon Payments Agent's receipt of Sales Proceeds or crediting of
Sales Proceeds to your available balance discharges your obligation to pay
applicable fees and other amounts under this Agreement to the extent the Sales
Proceeds received or credited equal or exceed the fees and other amounts you
owe and the Sales Proceeds are applied to the payment of those fees and
amounts.


P-3 Your Funds


Your Sales Proceeds will be held in an account with the applicable Amazon
Payments Agent (a "Seller Account") and will represent an unsecured claim
against that Amazon Payments Agent. Your Sales Proceeds are not insured by the
Federal Deposit Insurance Corporation, nor do you have any right or entitlement
to collect Sales Proceeds directly from any customer. Prior to disbursing funds to
you, an Amazon Payments Agent may combine Sales Proceeds held with the
funds of other users of the Services, invest them, or use them for other purposes
permitted by applicable Laws. You will not receive interest or any other earnings
on any Sale Proceeds. To the extent required by applicable Laws, an Amazon
Payments Agent will not use any funds held on your behalf for its corporate
purposes, will not voluntarily make such funds available to its creditors in the
event of bankruptcy or for any other purpose, and will not knowingly permit its
creditors to attach such funds.


P-4 Veri cation
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We may at any time require you to provide any nancial, business or personal
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information we request to verify your identity. You authorize us to obtain from
time to time consumer credit reports to establish or update your Seller Account
or in the event of a dispute relating to this Agreement or the activity under your
Seller Account. You agree to update all Seller Account information promptly
upon any change. The Amazon Payments Privacy Notice applies to transactions
processed by Amazon Payments, Inc.


P-5 Dormant Accounts


If there is no activity (as determined by us) in connection with your Seller
Account for the period of time set forth in applicable unclaimed property laws
and we hold Sales Proceeds on your behalf, we will notify you by means
designated by us and provide you the option of keeping your Seller Account open
and maintaining the Sales Proceeds in your Seller Account. If you do not respond
to our notice(s) within the time period we specify, we will send the Sales
Proceeds in your Seller Account to your state of residency, as determined by us
based on the information in your Seller Account. If we are unable to determine
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your state of residency or your Seller Account is associated with a foreign
country, your funds may be sent to the State of Delaware.


Selling Partner API Terms


API-1 Description of the Selling Partner APIs


The "Selling Partner APIs" enable your systems to interface with certain features
or functionality we make available to you. These Selling Partner API Terms
concern and apply only to your use of the Selling Partner APIs unless speci cally




                                                                              fi
provided otherwise. Under the Selling Partner API Terms, you may authorize
parties who (a) develop Applications to support you using the Selling Partner
APIs or the API Materials, (b) have registered with us as Developers, and (c) who
have agreed to the Marketplace Developer Agreement ("Developers") to access
Con dential Information and Your Materials via the Selling Partner APIs
    fi
provided, in each case, that where Con dential Information is disclosed to
                                       fi
Developers, you shall remain liable for the acts or omissions of such Developers
as if such acts or omissions were your own. If you wish to use the Selling Partner
APIs directly or develop software or a website that interfaces with the Selling
Partner APIs or the API Materials (an "Application"), you must register as a
Developer.


We may make available Selling Partner APIs (including the Marketplace Web
Services APIs) and software, data, text, audio, video, images, or other content we
make available in connection with the Selling Partner APIs, including related
documentation, software libraries, and other supporting materials, regardless of
format (collectively the "API Materials") that permit your systems to interface
with certain features or functionality available to you. You may authorize
Developers to access Con dential Information and Your Materials via the Selling
                         fi
Partner APIs solely for the purpose of supporting your business on Amazon and
provided, in each case, that where Con dential Information is disclosed to
                                       fi
Developers, you shall remain liable for the acts or omissions of such Developers
as if such act or omissions were your own. All terms and conditions applicable to
the Selling Partner APIs and the API Materials in this Agreement are solely
between you and us. API Materials that are public or open source software
("Public Software") may be provided to you under a separate license, in which
case, notwithstanding any other provision of this Agreement, that license will
govern your use of those API Materials. For the avoidance of doubt, except to the
extent expressly prohibited by the license governing any API Materials that are
Public Software, all of the non-license provisions of this Agreement will apply.


API-2 License and Related Requirements


                                                                                     39/44
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API-2.1 Generally.


We grant you a limited, revocable, non-exclusive, non-sublicenseable,
nontransferable license during the term of the Agreement to allow Developers to
access and use Con dential Information and Your Materials through the Selling




                     fi
Partner APIs and the API Materials solely in support of your use of the Services
covered by this Agreement. As between you and us, we or our licensors own all
right, title, and interest in and to the Con dential Information, the Selling




                                            fi
Partner APIs, the API Materials, any technical and operational speci cations,




                                                                        fi
security protocols and other documentation or policies provided or made
available by us with respect to the Selling Partner APIs or the API Materials (the
"Selling Partner API Speci cations"), and our internal data center facilities,
                               fi
servers, networking equipment, and host software systems that are within our or
their reasonable control and are used to provide the Selling Partner APIs or the
API Materials (the "Amazon Network").


API-2.2 License Restrictions.


You may authorize Developers to access Con dential Information and Your
                                                 fi
Materials through the Selling Partner APIs and the API Materials only through
APIs documented and communicated by us in accordance with any applicable
Selling Partner API Speci cations. You may not authorize any other party to do
                          fi
any of the following with the Con dential Information, the Selling Partner APIs
                                    fi
and the API Materials: (a) reverse engineer, decompile, or disassemble them; (b)
modify or create derivative works based upon them in whole or in part; (c)
distribute copies of them; (d) remove any proprietary notices or labels on them;
(e) use any Public Software in any manner that requires, pursuant to the license
applicable to such Public Software, that the Con dential Information, the Selling
                                                      fi
Partner APIs and the API Materials be disclosed, licensed, distributed, or
otherwise made available to anyone; (f) resell, lease, rent, transfer, sublicense, or
otherwise transfer rights to them; (g) access or use them in a way intended to
avoid incurring any applicable fees or exceeding usage limits or quotas; (h) access
or use them for any purpose unrelated to your use of Services; or (i) access or use
them for fraudulent or illegal activities or activities that violate our policies or are
otherwise harmful to us or any third parties. The limitations regarding Data Use
in Section 11 above apply to any information you disclose or receive by the direct
or indirect use of the Selling Partner APIs.


API-2.3 No License for Direct Access.


For the avoidance of doubt, these Selling Partner API Terms do not provide you a
license to directly access or use the Selling Partner APIs, or install, copy, use, or


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distribute API Materials. Direct use of the Selling Partner APIs may only be
licensed to Developers.


API-2.4 Account Identi ers and Credentials.




                          fi
You must use the account IDs and any unique public key/private key pair issued
by us to provide access to your data via the Selling Partner APIs ("Account
Identi ers and Credentials") in accordance with these Selling Partner API Terms
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to authorize Developers to access the Selling Partner APIs on your behalf. You
may only authorize access to Con dential Information and Your Materials via the



                                              fi
Selling Partner APIs in the way that we prescribe. Your Account Identi ers and




                                                                         fi
Credentials are for your personal use only and you must maintain their secrecy
and security. You are solely responsible for all activities that occur using your
Account Identi ers and Credentials, regardless of whether the activities are
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undertaken by you or a third party (including your employees, contractors, or
agents). You will provide us with notice immediately if you believe an
unauthorized third party may be using your Account Identi ers and Credentials




                                                                  fi
or if your Account Identi ers and Credentials are lost or stolen. We are not
                               fi
responsible for unauthorized use of your Account Identi ers and Credentials.
                                                             fi
API-2.5 Security of Your Materials and Con dential Information.
                                                        fi
You are solely responsible for authorizing others to access the Selling Partner
APIs on your behalf and taking your own steps to maintain appropriate security,
protection, and backup of the Con dential Information and Your Materials
                                                   fi
processed pursuant to your access to the Selling Partner APIs and the API
Materials, including any Con dential Information you have disclosed to
                                    fi
Developers in accordance with this Agreement. We are not responsible for any
unauthorized access to, alteration of, or deletion, destruction, damage, loss, or
failure to store any of the Con dential Information or Your Materials in
                                         fi
connection with the Selling Partner APIs (including as a result of your or any
third party’s errors, acts, or omissions). If you believe (acting reasonably) that a
personal data breach has occurred in relation to any customer personal data in
your possession or otherwise under your control (including in the possession of a
Developer), you shall immediately notify Amazon of such personal data breach
(in su cient detail) for information purposes, and promptly take any actions (or
     ffi
require a Developer take such actions, if relevant) as applicable to you under data
privacy Laws.


API-3 Termination


API-3.1 Termination of Your Access to the Selling Partner APIs and the API
Materials.
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Without limiting the parties’ rights and obligations under this Agreement, the
Amazon Marketplace Developer Agreement, or the Amazon Marketplace API
License Agreement, we may limit, suspend, or terminate your access to the
Selling Partner APIs and the API Materials for convenience with 30 days’ notice.
We may terminate immediately if (a) we determine that you have materially
breached this Agreement and failed to cure within 7 days of a cure notice; (b) you
or your account have been engaged in deceptive, fraudulent, or illegal activity; or
(c) your use of the Selling Partner APIs and the API Materials may harm our
customers.


Upon any suspension or termination of your access to the Selling Partner APIs
and the API Materials, you will immediately cease authorizing others to use the
Selling Partner APIs and the API Materials. Upon any termination of your access
to the Selling Partner APIs and the API Materials, you will also immediately
destroy all API Materials. Upon any suspension or termination of your access to
the Selling Partner APIs and the API Materials, we may cause your Account
Identi ers and Credentials to cease to be recognized by the Amazon Network for
     fi
the purposes of the Selling Partner APIs and the API Materials.


API-4 Modi cations to the Selling Partner APIs and the API Materials
           fi
We may change or discontinue the Selling Partner APIs or the API Materials
(including by changing or removing features or functionality of the Selling
Partner APIs or the API Materials) from time to time. For any material changes
that will negatively a ect your business, we will provide notice under Section 18.
                     ff
API-5 Disclaimers


THE SELLING PARTNER APIS AND THE API MATERIALS ARE PROVIDED "AS IS".
WE AND OUR AFFILIATE COMPANIES AND LICENSORS MAKE NO
REPRESENTATIONS OR WARRANTIES OF ANY KIND, WHETHER EXPRESS,
IMPLIED, STATUTORY OR OTHERWISE REGARDING THE SELLING PARTNER APIS
OR THE API MATERIALS, INCLUDING ANY WARRANTY THAT THE SELLING
PARTNER APIS OR THE API MATERIALS WILL BE UNINTERRUPTED, ERROR FREE,
OR FREE OF HARMFUL COMPONENTS, OR THAT ANY MATERIALS OR DATA YOU
ACCESS, USE, STORE, RETRIEVE, OR TRANSMIT IN CONNECTION WITH THE
SELLING PARTNER APIS, INCLUDING YOUR MATERIALS, WILL BE SECURE OR NOT
OTHERWISE LOST OR DAMAGED. EXCEPT TO THE EXTENT PROHIBITED BY LAW,
WE AND OUR AFFILIATE COMPANIES AND LICENSORS DISCLAIM ALL
WARRANTIES, INCLUDING ANY IMPLIED WARRANTIES OF MERCHANTABILITY,
SATISFACTORY QUALITY, FITNESS FOR A PARTICULAR PURPOSE, NON-
INFRINGEMENT, OR QUIET ENJOYMENT, AND ANY WARRANTIES ARISING OUT
OF ANY COURSE OF DEALING OR USAGE OF TRADE. FURTHER, NEITHER WE
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NOR ANY OF OUR AFFILIATE COMPANIES OR LICENSORS WILL BE RESPONSIBLE
FOR ANY COMPENSATION, REIMBURSEMENT, OR DAMAGES ARISING IN
CONNECTION WITH: (A) THE INABILITY TO USE THE SELLING PARTNER APIS OR
THE API MATERIALS FOR ANY REASON; (B) THE COST OF PROCUREMENT OF
SUBSTITUTE GOODS OR SERVICES; OR (C) ANY INVESTMENTS, EXPENDITURES,
OR COMMITMENTS BY YOU IN CONNECTION WITH THIS AGREEMENT OR YOUR
USE OF OR ACCESS TO THE SELLING PARTNER APIS OR THE API MATERIALS.



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  Program Policies

  Changes to program policies

  Intellectual Property for Rights Owners

  International selling agreements

  Additional Guidelines

  About seller facial data




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                                      Start Selling On Amazon



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Amazon Anti-Counterfeiting Policy
Published 6/16/20
Products offered for sale on Amazon must be authentic. The sale of counterfeit products is
strictly prohibited. Failure to abide by this policy may result in loss of selling privileges,
funds being withheld, and disposal of inventory in our possession.
It is each seller’s and supplier’s responsibility to source, sell, and fulfill only authentic products.
Prohibited products include bootlegs, fakes, or pirated copies of products or content; products that
have been illegally replicated, reproduced, or manufactured; and products that infringe another
party’s intellectual property rights. If you sell or supply inauthentic products, we may immediately
suspend or terminate your Amazon selling account (and any related accounts) and dispose of any
inauthentic products in our fulfillment centers at your expense. In addition, we do not pay sellers until
we are confident our customers have received the authentic products they ordered. We may
withhold payments if we determine that an Amazon account has been used to sell inauthentic goods,
commit fraud, or engage in other illegal activity.
We work with manufacturers, rights holders, content owners, vendors, and sellers to improve the
ways we detect and prevent inauthentic products from reaching our customers. As a result, we
remove suspect listings based on our own review of products. We also work with rights holders and
law enforcement worldwide to take and support legal action against sellers and suppliers that
knowingly violate this policy and harm our customers. In addition to criminal fines and imprisonment,
sellers and suppliers of inauthentic products may face civil penalties including the loss of any
amounts received from the sale of inauthentic products, the damage or harm sustained by the rights
holders, statutory and other damages, and attorney’s fees.
Amazon strives to ensure a trustworthy shopping experience for our customers. By selling on
Amazon, you agree that:

       The sale of counterfeit products is strictly prohibited.
       You may not sell any products that are not legal for sale, such as products that have been
        illegally replicated, reproduced, or manufactured
       You must provide records about the authenticity of your products if Amazon requests that
        documentation

Failure to abide by this policy may result in loss of selling privileges, funds being withheld,
destruction of inventory in our fulfilment centers, and other legal consequences.


More information
       Sell Only Authentic and Legal Products. It is your responsibility to source, sell, and fulfill only
        authentic products that are legal for sale. Examples of prohibited products include:
            o Bootlegs, fakes, or pirated copies of products or content
            o Products that have been illegally replicated, reproduced, or manufactured
            o Products that infringe another party’s intellectual property rights
       Maintain and Provide Inventory Records. Amazon may request that you provide
        documentation (such as invoices) showing the authenticity of your products or your
        authorization to list them for sale. You may remove pricing information from these
        documents, but providing documents that have been edited in any other way or that are
        misleading is a violation of this policy and will lead to enforcement against your account.
       Consequences of Selling Inauthentic Products. If you sell inauthentic products, we may
        immediately suspend or terminate your Amazon selling account (and any related accounts),
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    destroy any inauthentic products in our fulfillment centers at your expense, and/or withhold
    payments to you.
   Amazon Takes Action to Protect Customers and Rights Owners. Amazon also works with
    manufacturers, rights holders, content owners, vendors, and sellers to improve the ways we
    detect and prevent inauthentic products from reaching our customers. As a result of our
    detection and enforcement activities, Amazon may:
        o Remove suspect listings.
        o Take legal action against parties who knowingly violate this policy and harm our
             customers. In addition to criminal fines and imprisonment, sellers and suppliers of
             inauthentic products may face civil penalties including the loss of any amounts
             received from the sale of inauthentic products, the damage or harm sustained by the
             rights holders, statutory and other damages, and attorney’s fees.
   Reporting Inauthentic Products. We stand behind the products sold on our site with our A-to-
    z Guarantee, and we encourage rights owners who have product authenticity concerns
    to notify us. We will promptly investigate and take all appropriate actions to protect
    customers, sellers, and rights holders. You may view counterfeit complaints on the Account
    Health page in Seller Central.
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                                 Platform Access Agreement

                                                                 Updated as of January 1, 2022

This Platform Access Agreement (this “PAA”) is by and among you and your
company/business (“you”) and the following entity as applicable, based on the region
specified: Uber Technologies, Inc. in California; Rasier-PA, LLC in Pennsylvania; Rasier-DC, LLC
in Florida; Rasier- MT, LLC in Montana; Rasier-NY, LLC in New York; and Rasier, LLC in all other
U.S. states, territories and possessions (collectively, “Uber”). This PAA governs your access to
our Platform (defined below) which facilitates your provision of rideshare or peer-to-peer
transportation service (collectively, “P2P Service”) to account holders seeking to access
certain types of P2P Service (“Riders”) for themselves and/or their guests. For the sake of
clarity and depending on the context, references to “Uber,” “we,” “our” and “us” may also
refer to the appropriate Uber- affiliated contracting entity accordingly or Uber collectively.

Access to our technology platform includes access to our technology application (the “Driver
App”) that, amongst other things, facilitates P2P Service between you and Riders; as well as
websites and all other associated services, including payment and support services, provided
by Uber, its affiliates or third parties (collectively, our “Platform”).

Your access to our Platform is also governed by the applicable terms found on our website,
including without limitation, the Community Guidelines, Referral Policies, other applicable
Uber standards and policies (including, without limitation, Uber’s safety standards, the
accessibility policies and U.S. Service Animal Policy) and, except as provided in Section 12.9
below, any other agreements you have with us (including those related to how you choose to
interact with our Platform, the services you choose to provide and where you chose to
provide them) (collectively with this PAA, this “Agreement”), which are incorporated by
reference into this Agreement. By accepting this Agreement, you confirm that you have read,
understand and accept the provisions of this Agreement and intend to be bound by this
Agreement. This Agreement is effective as of the date and time you accept it.

     1.    Relationship with Uber
           1.1. Contracting Parties. The relationship between the parties is solely as
independent business enterprises, each of whom operates a separate and distinct business
enterprise that provides a service outside the usual course of business of the other. This is
not an employment agreement and you are not an employee. You confirm the existence and
nature of that contractual relationship each time you access our Platform. We are not hiring
or engaging you to provide any service; you are engaging us to provide you access to our
Platform. Nothing in this Agreement creates, will create, or is intended to create, any
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employment, partnership, joint venture, franchise or sales representative relationship
between you and us. The parties do not share in any profits or losses. You have no authority
to make or accept any offers or representations on our behalf. You are not our agent and you
have no authority to act on behalf of Uber.

             1.2. Your Choice to Provide P2P Service to Riders. We do not, and have no
right to, direct or control you. Subject to Platform availability, you decide when, where and
whether (a) you want to offer P2P Service facilitated by our Platform and (b) you want to
accept, decline, ignore or cancel a Ride (defined below) request; provided, in each case, that
you agree not to discriminate against any potential Rider in violation of the Requirements
(defined below). Subject to your compliance with this Agreement, you are not required to
accept any minimum number of Rides in order to access our Platform and it is entirely your
choice whether to provide P2P Service to Riders directly, using our Platform, or using any
other method to connect with Riders, including, but not limited to other platforms and
applications in addition to, or instead of, ours. You understand, however, that your Riders’
experiences with your Rides, as determined by Rider input, may affect your ability to access
our Platform or provide Rides.

     2.    Our Platform
           2.1. General. While using our Driver App, you may receive lead generation and
other technology-based services that enable those operating independent business
enterprises like you to provide P2P Service requested by Riders (“Rides”). Subject to the
terms and conditions of this Agreement, Uber hereby grants you a non-exclusive,
non-transferable, non-sublicensable, non-assignable license, during the term of this
Agreement, to use our Platform (including the Driver App) solely for the purpose of
providing Rides and accessing services associated with providing Rides.

           2.2.     Compliance.
                        (a) You are responsible for identifying, understanding, and
complying with (i) all laws (including, but not limited to, the Americans with Disabilities Act
and applicable laws governing your collection, use, disclosure, security, processing and
transfer of data), rules and regulations that apply to your provision of Rides (including
whether you are permitted to provide P2P Service at all) in the jurisdiction(s) in which you
operate (your “Region”) and (ii) this Agreement (collectively, the “Requirements”). Subject to
applicable law, you are responsible for identifying and obtaining any required license
(including driver’s license), permit, or registration required to provide any P2P Service that
you provide using our Platform. Notwithstanding anything to the contrary in this Agreement,
for the avoidance of doubt, your ability to access and use our Platform is at all times subject
to your compliance with the Requirements. You agree not to access or attempt to access our
Platform if you are not in compliance with the Requirements.
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                        (b) The Americans with Disabilities Act imposes obligations including
the obligation to transport Riders with service animals and does not contain exceptions for
allergies or religious objections. We have the right to and you consent to the permanent
deactivation of your Driver App account and the permanent termination of your contractual
relationship with us if, based on the evidence, we conclude that you knowingly refused a Ride
request from a Rider with a service animal, or if we receive plausible reports from Riders of
more than one cancellation or refusal by you alleged to be on the basis of the presence of a
Rider’s service animal.

             2.3. Your Provision of Transportation Services to Riders. You represent,
warrant and covenant that (a) you have all the necessary expertise and experience to
provide Rides in compliance with the Requirements and standards applicable to the P2P
Service, (b) your access and use of our Platform, and provision of P2P Service, in your
Region is permitted by the Requirements (including any age requirements), and (c) all such
access and use of our Platform will be in compliance with the Requirements. You are
responsible for, and bear all costs of, providing all equipment, tools and other materials
that you deem necessary or advisable and are solely responsible for any obligations or
liabilities arising from the Rides you provide.

           2.4.        Accessing our Platform.
                       (a) To provide Rides you must create and register an account. All
information you provide to us must be accurate, current and complete and you will maintain
the accuracy and completeness of such information during the term of this Agreement.
Unless otherwise permitted by us in writing, you agree to only possess one account for
providing Rides. You are responsible for all activity conducted on your account. For account
security and Rider safety purposes, you agree not to share or allow anyone to use your login
credentials or other personal information used in connection with your account, including but
not limited to photos of yourself, to access our Platform. If you think anyone has obtained
improper access to your account, login credentials or personal information, you are required
to notify us and to change your password immediately so that we may take appropriate steps
to secure your account. You agree that Uber is not responsible for any losses arising from
your sharing of account credentials with a third party, including without limitation phishing.
You can visit help.uber.com for more information about securing your account.

                       (b) You represent, warrant, and covenant that you have all
required authority to accept and be bound by this Agreement. If you are accepting this
Agreement on behalf of your company, entity, or organization, you represent and warrant
that you are an authorized representative of that company, entity, or organization with the
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authority to bind such party to this Agreement.

           2.5.        Background Checks and Licensing, Vehicle Standards.
                       (a) During your account creation and registration, we will collect,
and may verify, certain information about you and the vehicle(s) you use to provide Rides (
“your vehicle”).

                       (b) You will also be required to pass various background, driving
record and other checks both prior to the first time you access our Platform and from time
to time thereafter during the term of this Agreement; these checks may be facilitated by
third parties. You hereby authorize and instruct us to provide copies of such checks to
insurance companies, relevant regulators and/or other governmental authorities as needed
for safety or other reasons, as described in our Privacy Notice.

                       (c)    You agree that your vehicle will be properly registered, licensed
and suitable to provide Rides in your Region. You represent that at all times during the
provision of any Rides your vehicle will be in your lawful possession with valid authority to
use your vehicle to provide Rides in your Region. You agree that your vehicle will be in safe
operating condition, consistent with safety and maintenance standards for a vehicle of its
type in the P2P Service industry. You agree to monitor for and repair any parts that are
recalled by your vehicle’s manufacturer (as well as anything else the Requirements
applicable to your particular Region may require).

           2.6.        Accepting Ride Requests.
                       (a) Ride requests may appear in the Driver App and you may
attempt to accept, decline or ignore them. Accepting a Ride request creates a direct business
relationship between you and your Rider in accordance with the terms of the transportation
service the Rider has requested through our Platform. The mechanism for accepting or
declining Rides may vary depending on your location and the type of Ride-request you
accept. You acknowledge upon acceptance of a Ride request, you may incur Uber fees as
described in an applicable fare addendum to this PAA.

                       (b) You will choose the most effective, efficient, and safe manner to
reach the destinations associated with a Ride. Any navigational directions offered in the
Driver App are offered for your convenience only; you have no obligation to follow such
navigational directions. You agree to transport Riders, or their guests, directly to their
specified destination, as directed by the applicable person, without unauthorized
interruption or unauthorized stops.
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                       (c)    You may receive Rider information, including approximate
pickup location, and you agree that your Rider may also be given identifying information
about you, including your first name, photo, location, vehicle information, and certain other
information you have voluntarily provided through the Driver App (collectively, “User
Information”). Without a Rider’s consent, you agree to not contact any Rider or otherwise
use any of the Rider’s User Information except solely in connection with the provision of
Rides to that Rider. You agree to treat all Rider User Information as Confidential Information
(defined below) received by you under this Agreement. You acknowledge that your violation
of your confidentiality obligations may also violate certain laws and could result in civil or
criminal penalties.

           2.7.         Use of Uber Branded Materials.
                        (a) Except to the extent necessary to comply with applicable law,
you are not required to use, wear or display Uber’s name or logo on your vehicle or clothing,
or to use signaling lights, stickers, decals, or other such materials displaying Uber’s name or
logo (collectively “Uber Branded Materials”).

                        (b) Your authorized display of Uber Branded Materials may signify to
Riders that your P2P Service is facilitated by our Platform. Uber grants you a limited license to
use, wear, or display Uber Branded Materials provided directly to you by Uber (“Authorized
Uber Branded Materials”) when providing Rides solely for the purpose of identifying yourself
and your vehicle to Riders as someone selling P2P Service facilitated by our Platform. You
agree not to (i) use, wear, or display Uber-Branded Materials that are not Authorized Uber
Branded Materials (ii) purchase, accept, offer to sell, sell or otherwise transfer Uber Branded
Materials that are not Authorized Uber Branded Materials or (iii) offer to sell or sell, or
otherwise transfer Authorized Uber Branded Materials, without Uber’s prior written
permission, or (iv) display Uber Branded Materials when you are not accessing the Platform.

                       (c)  The parties expressly agree that your access to, or use of, Uber
Branded Materials, whether or not authorized, does not indicate an employment or other
similar relationship between you and us. You further agree not to represent yourself as our
employee, representative or agent for any purpose or otherwise misrepresent your
relationship with us.

                      (d) You agree to destroy and discard any Uber Branded Materials if
your account is deactivated and/or if you lose access to the Platform.

          2.8. Crashes, Criminal Offenses, and Other Compliance Obligations. For the
purpose of assisting us with our compliance and insurance obligations, you agree to notify
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us within 24 hours and provide us with all reasonable information relating to any incident
(including any crash involving your vehicle) that occurs during your provision of a Ride and
you agree to cooperate with any investigation and attempted resolution of such incident.
Additionally, you agree to notify us within 24 hours if you are arrested for, charged with, or
convicted of a criminal offense, for Platform eligibility consideration.

           2.9. Ratings. Your Rider may be asked to comment on your services, and you
may be asked to comment on your Rider. These comments can include star or other ratings
and other feedback (collectively, “Ratings”), which we ask all parties to provide in good faith.
Ratings are not confidential and you hereby authorize our use, distribution and display of
your Ratings (and Ratings about you) as provided in our Privacy Notice, without attribution
or further approval. We have no obligation to verify Ratings or their accuracy, and may
remove them from our Platform in accordance with the standards in our Community
Guidelines. You can find out more about Ratings and how they may affect your ability to
access our Platform by visiting our website.

           2.10. Location Based Technology Services; Communication Consents.
                       (a)   Your device geo-location information is required for the proper
functioning of our Platform, and you agree to not take any action to manipulate or falsify your
device geo-location. You grant us the irrevocable right to obtain your geo-location
information and to share your location with third parties, including your Riders, who will see
the approximate location of your vehicle in the Rider app before and during their Ride. We
may not and will not use this information to attempt to supervise, direct, or control you or
your provision of Rides.

                       (b) You agree that we may contact you by email, telephone or text
message (including by an automatic telephone dialing system) at any of the phone numbers
provided by you, or on your behalf, in connection with your account. You also understand
that you may opt out of receiving text messages from us at any time, either by replying
“STOP” or texting the word “STOP” to 89203 using the mobile device that is receiving the
messages, or by contacting us at help.uber.com. Notwithstanding the foregoing, we may also
contact you by any of the above means, including by SMS, in case of suspected fraud or
unlawful activity by your or on your account.

     3.       Insurance
             3.1. Your Auto Liability Insurance for P2P Service. You will maintain automobile
liability insurance on your vehicle that provides protection against bodily injury and property
damage to third parties at coverage levels that satisfy the minimum requirements to operate
a vehicle on public roads wherever you use your vehicle. You must be listed as an insured or a
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driver on your automobile liability insurance. You will provide us with a copy of the insurance
policy, policy declarations, proof of insurance identification card and proof of premium
payment for your policy, as well as copies of the same upon renewal. You will notify us in
writing immediately if the policy you have is cancelled.

           3.2. Limitations on Your Personal Insurance. You understand that while you
are providing P2P Service your personal automobile insurance policy may not afford liability,
comprehensive, collision, medical payments, personal injury protection, uninsured motorist,
underinsured motorist, or other coverage for you. If you have any questions or concerns
about the scope or applicability of your own insurance coverage, it is your responsibility to
resolve them with your insurer.

            3.3. Your Other Insurance for P2P Service. You will maintain workers’
compensation insurance if it is required by applicable law. If allowed by applicable law, you
can insure yourself against industrial injuries by maintaining occupational accident insurance
in place of workers’ compensation insurance (and it is at your own risk if you decide not to).

            3.4. Your Other Insurance for P2P Service. You will maintain workers’
compensation insurance if it is required by applicable law. If allowed by applicable law, you
can insure yourself against industrial injuries by maintaining occupational accident insurance
in place of workers’ compensation insurance (and it is at your own risk if you decide not to).

             3.5. Uber Maintained Insurance. We may, in our sole discretion, choose to
maintain auto insurance related to your Rides, but we are not required to provide you with
any specific coverage for loss to you or your vehicle, unless we specifically describe it in an
addendum to this PAA. We can change, reduce or cancel insurance that is maintained by us,
if any, at any time without notice to you or authorization from you.

     4.     Payments
            4.1.       Instant Pay.
                       (a) Eligibility for Instant Pay. You must have a valid and active debit
card issued in your name to use Instant Pay. Your ability to use Instant Pay is dependent
upon your debit card’s acceptance of fast funds; not all debit cards are eligible to accept fast
funds, and the card’s issuing bank may choose at any time to disable the acceptance of fast
funds or enable restrictions. Certain users may not be eligible for Instant Pay, including users
that access our vehicle solutions programs, users who are members of a fleet, and those
who are subject to garnishments. Your use of Instant Pay may be subject to additional
restrictions and fees; more information may be found on our Instant Pay website.
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                       (b) Availability of Instant Pay. We are not able to ensure that all
payments are deposited instantly. The speed at which you receive payments will depend on
your bank and other factors. If your bank rejects a payment, or it fails in our system, the
entire amount available for cashout in your account will be routed to your regular bank
account at vault.uber.com, and you will receive the payment typically 1-3 business days later.
Any Instant Pay funds not cashed out by 4AM (Local time) on Mondays, or the time we
identify, which may be subject to change, will be routed to your regular bank account at
vault.uber.com. If you do not have access to Instant Pay, you will continue to receive
payments as described in this addendum via direct deposit, provided we have your correct
banking information. We are not responsible for any fees from your bank in association with
your use of Instant Pay. We reserve the right to block access to Instant Pay at any time for any
reason, including for improper use of our Platform, account investigation, deactivation, or
further review of Rides completed.

                        (c)    Third-Party Provider. The Instant Pay functionality is
facilitated by a third-party provider of payments services. By using Instant Pay, you are
subject to any additional terms and conditions for payment imposed by the third-party
provider, which we recommend you review.

           4.2. Payment terms, fare calculations and payment methods are described in a
separate fare addendum, which shall form part of this Agreement.

     5.    Term and Termination; Effect; Survival
           5.1. Term. This Agreement is effective as of the date and time you accept it
and will continue until terminated by you or us.

           5.2. Termination by You. You may terminate this Agreement (a) without cause at
any time upon seven (7) days’ prior written notice to Uber; and (b) immediately, without
notice for Uber’s violation or alleged violation of a material provision of this Agreement. You
can find out more about how to delete your account by navigating to help.uber.com.

           5.3. Deactivation. You consent to and we may temporarily deactivate your
account without notice to investigate whether you have engaged in, or your account has
been used in, activity that is deceptive, fraudulent, unsafe, illegal, harmful to our brand,
business or reputation, or that violates this Agreement (including the policies incorporated
herein by reference) (any of the foregoing, a “Material Breach or Violation”). You also
consent to and we may terminate this Agreement or permanently deactivate your account
without notice if we determine in our discretion that a Material Breach or Violation has
occurred.
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            5.4. Effect of Termination and Survival. Upon termination, each party will
remain responsible for its respective liabilities or obligations that accrued before or as a
result of such termination. Once the Agreement is terminated you will no longer access our
Platform to provide Rides. You agree to use commercially reasonable efforts to return any
Uber Branded Materials, but excluding promotional materials, to an Uber Greenlight Hub or
destroy them. Sections 1, 2.7, 2.10(b), 4, 5.4, 6-9, 12 and 13 shall survive any termination or
expiration of this Agreement.

     6.    DISCLAIMERS
          6.1. WE PROVIDE OUR PLATFORM AND ANY ADDITIONAL PRODUCTS OR
SERVICES “AS IS” AND “AS AVAILABLE,” WITHOUT GUARANTEE OR WARRANTY OF ANY KIND,
AND YOUR ACCESS TO OUR PLATFORM IS NOT GUARANTEED TO RESULT IN ANY RIDE
REQUESTS. WE DO NOT WARRANT THAT OUR PLATFORM WILL BE ACCURATE, COMPLETE,
RELIABLE, CURRENT, SECURE, UNINTERRUPTED, ALWAYS AVAILABLE, OR ERROR- FREE, OR
WILL MEET YOUR REQUIREMENTS, THAT ANY DEFECTS WILL BE CORRECTED, THAT OUR
TECHNOLOGY IS FREE OF VIRUSES OR OTHER HARMFUL COMPONENTS. WE WILL NOT BE
LIABLE FOR ANY SERVICE INTERRUPTIONS OR LOSSES RESULTING FROM SERVICE
INTERRUPTIONS, INCLUDING BUT NOT LIMITED TO SYSTEM FAILURES OR OTHER
INTERRUPTIONS THAT MAY AFFECT YOUR ACCESS TO OUR PLATFORM.

          6.2. WE PROVIDE LEAD GENERATION AND RELATED SERVICES ONLY, AND MAKE
NO REPRESENTATIONS, WARRANTIES OR GUARANTEES AS TO THE ACTIONS OR INACTIONS
OF THE RIDERS WHO MAY REQUEST OR ACTUALLY RECEIVE RIDES FROM YOU. WE DO NOT
SCREEN OR EVALUATE THESE RIDERS. SOME JURISDICTIONS PROVIDE FOR CERTAIN
WARRANTIES, SUCH AS THE IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, ACCURACY, AVAILABILITY, SAFETY, SECURITY, AND NON-
INFRINGEMENT. WE EXCLUDE ALL WARRANTIES TO THE EXTENT THOSE REGULATIONS
ALLOW.

          6.3. IF A DISPUTE ARISES BETWEEN YOU AND YOUR RIDERS OR ANY OTHER
THIRD PARTY, YOU RELEASE US FROM LOSSES OF EVERY KIND AND NATURE, KNOWN AND
UNKNOWN, SUSPECTED AND UNSUSPECTED, DISCLOSED AND UNDISCLOSED, ARISING OUT
OF OR IN ANY WAY CONNECTED WITH SUCH DISPUTES.

         6.4. WE MAY USE ALGORITHMS IN AN ATTEMPT TO FACILITATE RIDES AND
IMPROVE THE: EXPERIENCE OF USERS AND THE SECURITY AND SAFETY OF OUR PLATFORM;
ANY SUCH USE DOES NOT CONSTITUTE A GUARANTEE OR WARRANTY OF ANY KIND,
EXPRESSED OR IMPLIED.
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      7.    Information
We may collect and disclose information from or about you when you create an account,
interact with our Platform or provide Rides and as otherwise described in our Privacy Notice.
Notwithstanding anything herein to the contrary (a) the collection, use, and disclosure of
such information will be made in accordance with our Privacy Notice and (b) if you elect to
provide or make available suggestions, comments, ideas, improvements, or other feedback or
materials to us in connection with, or related to, us or our Platform, we will be free to use,
disclose, reproduce, modify, license, transfer and otherwise distribute, and exploit any of the
foregoing information or materials in any manner.

     8.      Confidentiality
             8.1. Confidential Information. Each party acknowledges and agrees that in
the performance of this Agreement it may have access to or may be exposed to, directly or
indirectly, confidential information of the other party or third parties (“Confidential
Information”). Confidential Information includes Rider User Information and the
transportation volume, marketing and business plans, business, financial, technical,
operational and such other, non-public information of each party (whether disclosed in
writing or verbally) that such party designates as being proprietary or confidential or of which
the other party should reasonably know that it should be treated as confidential. Confidential
Information does not include any information that: (a) was in the receiving party’s lawful
possession prior to the disclosure, as clearly and convincingly corroborated by written
records, and had not been obtained by the receiving party either directly or indirectly from
the disclosing party; (b) is lawfully disclosed to the receiving party by a third party without
actual, implied or intended restriction on disclosure through the chain of possession, or (c) is
independently developed by the receiving party without the use of or access to the
Confidential Information, as clearly and convincingly corroborated by written records.

            8.2. Obligations. Each party acknowledges and agrees that: (a) all Confidential
Information shall remain the exclusive property of the disclosing party; (b) it shall not use
Confidential Information of the other party for any purpose except in furtherance of this
Agreement; (c) it shall not disclose Confidential Information of the other party to any third-
party, except to its employees, officers, contractors, agents and service providers ("Permitted
Persons") as necessary to perform their obligations under this Agreement, provided
Permitted Persons are bound in writing to obligations of confidentiality and non-use of
Confidential Information no less protective than the terms hereof; and (d) it shall return or
destroy all Confidential Information of the disclosing party, upon the termination of this
Agreement or at the request of the other party; subject to applicable law and our internal
record-keeping requirements.
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           8.3. Remedies. The unauthorized use or disclosure of any Confidential
Information would cause irreparable harm and significant damages, the degree of which
may be difficult to ascertain. Accordingly, the parties have the right to obtain immediate
equitable relief to enjoin any unauthorized use or disclosure of Confidential Information
disclosed by the other party, in addition to any other rights or remedies described in Section
13, applicable law or otherwise.

      9.    Intellectual Property
We reserve all rights not expressly granted in this Agreement. The Driver App, our Platform,
and all data gathered through our Platform, including all intellectual property rights therein
(the “Platform IP”), are and remain our property and/or that of our licensors, as applicable.
Neither this Agreement nor your use of Uber’s or our licensors’ company names, logos,
products or service names, trademarks, service marks, trade dress, other indicia of
ownership, or copyrights (“Uber Names, Marks, or Works”) or the Platform IP conveys or
grants to you any rights in or related to the Platform IP, or related intellectual property rights,
including Uber’s Names, Marks, or Works, except for the limited license granted above. You
shall not, and shall not allow any other party to: (a) license, sublicense, copy, modify,
distribute, create, sell, resell, transfer, or lease any part of the Platform IP or Authorized
Uber-Branded Materials; (b) reverse engineer or attempt to extract the source code of our
software, except as allowed under law; (c) use, display, or manipulate any of Uber Names,
Marks, or Works for any purpose other than to provide Rides; (d) create or register any (i)
businesses, (ii) URLs, (iii) domain names, (iv) software application names or titles, or (v) social
media handles or profiles that include Uber Names, Marks, or Works or any confusingly or
substantially similar mark, name, title, or work; (e) use Uber Names, Marks, or Works as your
social media profile picture or wallpaper; (f) purchase keywords (including, but not limited to
Google AdWords) that contain any Uber Names, Marks, or Works; (g) apply to register,
reference, use, copy, and/or claim ownership in Uber’s Names, Marks, or Works, or in any
confusingly or substantially similar name, mark, title, or work, in any manner for any
purposes, alone or in combination with other letters, punctuation, words, symbols, designs,
and/or any creative works, except as may be permitted in the limited license granted above;
(h) cause or launch any programs or scripts for the purpose of scraping, indexing, surveying,
or otherwise data mining any part of our Platform or data; or (i) aggregate Uber’s data with
competitors’.

     10. Third-Party Services
From time to time we may permit third parties to offer their services to users of our Platform.
Third-party services may be subject to additional terms (including pricing) that apply between
you and the party(ies) providing such services. If you choose to access the third-party services
you understand that the providers of the third-party services are solely responsible for
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liabilities arising in connection with the access and use of such third-party services. While we
may allow users to access such services through our Platform and we may collect information
about our users’ use of such services, we may not investigate, monitor or check such
third-party services for accuracy or completeness.

     11.  Termination of Prior Agreements
          11.1. Prior TSA. This Section 11 only applies if you were a party to an effective
technology services agreement (a “Prior Agreement”) with Uber immediately prior to your
acceptance of this Agreement. Except as provided in Sections 11.2 and 13 below, you and
Uber hereby terminate your Prior Agreement (except as provided in the survival provision of
such agreement) and the Deprecated Documents (defined below)(collectively, “Prior
Documents”), effective as of your acceptance of this Agreement. The parties, respectively,
hereby waive any applicable notice requirements with respect to their termination of the
Prior Documents.

           11.2. Other Agreements. Notwithstanding the termination of your Prior
Documents, you hereby (a) ratify, assume and confirm your obligations under any
supplements or addenda, except those that are no longer required by the Requirements or
applicable to your provision of P2P Service (“Deprecated Documents”), accepted in
connection with your Prior Agreement that are not expressly superseded by this PAA or
documents accepted in connection with the acceptance of this PAA, with such changes as
may be required to effectuate the foregoing (“Continuing Documents”) and (b) acknowledge
and agree that as of your acceptance of this Agreement such Continuing Documents are
incorporated by reference and form a part of this Agreement. We hereby ratify, assume and
confirm our obligations under such Continuing Documents.

     12.    Miscellaneous
           12.1. Modification. You will only be bound by modifications or supplements to
this PAA on your acceptance, but if you do not agree to them, you may not be allowed to
access our Platform. Such modifications or supplements may be provided to you only via
electronic means. From time to time we may modify information hyperlinked in this PAA (or
the addresses where such information may be found) and such modifications shall be
effective when posted.

            12.2. Severability. Invalidity of any provision of this Agreement does not affect
the rest of this Agreement. The parties shall replace the invalid or non-binding provision with
provision(s) that are valid and binding and that have, to the greatest extent possible, a similar
effect as the invalid or non-binding provision, given the contents and purpose of this
Agreement.
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            12.3. Assignment. We may freely assign or transfer this Agreement or any of our
rights or obligations in them, in whole or in part, without your prior consent. You agree not
to assign this Agreement, in whole or in part, without our prior written consent, and any
attempted assignment without such consent is void.

            12.4. Conflicts. Except with respect to the Arbitration Provision, if there is a
conflict between this PAA and any supplemental terms between you and us, those
supplemental terms will prevail with respect to the specific conflict if explicitly provided
therein, and is in addition to, and a part of, this Agreement.

           12.5. Interpretation. In this Agreement, “including” and “include” mean
“including, but not limited to.”

           12.6. Notice. Except as explicitly stated otherwise, any notices to us shall be
given by certified mail, postage prepaid and return receipt requested to Uber
Technologies, Inc., 1515 3rd Street, San Francisco, CA 94158, Attn: Legal Department. All
notices to you may be provided electronically including through our Platform or by other
means.

           12.7. Governing Law. Except as specifically provided in this PAA, this PAA is
governed by the applicable law of the state where you reside (or where your entity is
domiciled) when you accepted this PAA (the “Governing Law”). The Governing Law shall
apply without reference to the choice-of-law principles that would result in the
application of the laws of a different jurisdiction.

           12.8. Entire Agreement. Except as specifically set forth in Section 12.4 or the
Arbitration Provision, this Agreement, constitutes the entire agreement and understanding
with respect to the subject matter expressly contemplated herein and therein, and
supersedes all prior or contemporaneous agreements or undertakings on this subject matter.

          12.9. No Incorporation. Notwithstanding anything herein to the contrary, no
agreement, term or other provision relating to your indemnification obligations to us will
be considered incorporated by reference, or otherwise a part of, this Agreement.

           12.10. Existing Documents. Defined terms in documents accepted in connection
with your acceptance of this Agreement that reference a technology services agreement
shall be deemed amended to reference analogous terms defined in this Agreement,
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including by replacing the term “Technology Services Agreement” with “Platform Access
Agreement”.

           12.11. Questions. If you have questions about our Platform, you may contact us
by logging on to drivers.uber.com and navigating to the “Contact Us” section.

    13. Arbitration Provision
IMPORTANT: PLEASE REVIEW THIS ARBITRATION PROVISION CAREFULLY, AS IT WILL
REQUIRE YOU TO RESOLVE DISPUTES WITH US ON AN INDIVIDUAL BASIS THROUGH FINAL
AND BINDING ARBITRATION, EXCEPT AS PROVIDED BELOW. YOU MAY OPT OUT OF THIS
ARBITRATION PROVISION BY FOLLOWING THE INSTRUCTIONS BELOW. THERE ARE AND/OR
MAY BE LAWSUITS ALLEGING CLASS, COLLECTIVE, COORDINATED, CONSOLIDATED, AND/OR
REPRESENTATIVE CLAIMS ON YOUR BEHALF AGAINST US. IF YOU DO NOT OPT OUT OF THIS
ARBITRATION PROVISION AND THEREFORE AGREE TO ARBITRATION WITH US, YOU ARE
AGREEING IN ADVANCE, EXCEPT AS OTHERWISE PROVIDED BELOW, THAT YOU WILL NOT
PARTICIPATE IN AND, THEREFORE, WILL NOT SEEK OR BE ELIGIBLE TO RECOVER MONETARY
OR OTHER RELIEF IN CONNECTION WITH, ANY SUCH CLASS, COLLECTIVE, COORDINATED,
CONSOLIDATED, AND/OR REPRESENTATIVE LAWSUIT. THIS ARBITRATION PROVISION,
HOWEVER, WILL ALLOW YOU TO BRING INDIVIDUAL CLAIMS IN ARBITRATION ON YOUR
OWN BEHALF.

           13.1.        How This Arbitration Provision Applies.
                        (a) This Arbitration Provision is a contract governed by the Federal
Arbitration Act, 9 U.S.C. § 1 et seq., and evidences a transaction involving commerce, and you
agree that this is not a contract of employment involving any class of workers engaged in
foreign or interstate commerce within the meaning of Section 1 of the Federal Arbitration
Act. If notwithstanding the foregoing, the Federal Arbitration Act does not apply to this
Arbitration Provision, the law pertaining to arbitration agreements of the state where you
reside when you entered into this Agreement shall apply. Except as it otherwise provides,
this Arbitration Provision applies to any legal dispute, past, present or future, arising out of or
related to your relationship with us or relationship with any of our agents, employees,
executives, officers, investors, shareholders, affiliates, successors, assigns, subsidiaries, or
parent companies (each of which may enforce this Arbitration Provision as third party
beneficiaries), and termination of that relationship, and survives after the relationship
terminates.

                       (b) This Arbitration Provision applies to all claims whether brought
by you or us, except as provided below. This Arbitration Provision requires all such claims to
be resolved only by an arbitrator through final and binding individual arbitration and not by
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way of court or jury trial. Except as provided below regarding the Class Action Waiver and
Representative Action Waiver, such disputes include without limitation disputes arising out of
or relating to the interpretation, application, formation, scope, enforceability, waiver,
applicability, revocability or validity of this Arbitration Provision or any portion of this
Arbitration Provision.

                        (c)    Except as it otherwise provides, this Arbitration Provision also
applies, without limitation, to disputes between you and us, or between you and any other
entity or individual, arising out of or related to your application for and use of an account to
use our Platform and Driver App as a driver, the P2P Service that you provide, background
checks, your privacy, your contractual relationship with us or the termination of that
relationship (including post-relationship defamation or retaliation claims), the nature of your
relationship with us (including, but not limited to, any claim that you are our employee),
trade secrets, workplace safety and health, unfair competition, compensation, minimum
wage, expense reimbursement, overtime, breaks and rest periods, retaliation, discrimination,
or harassment, and claims arising under the Telephone Consumer Protection Act, Fair Credit
Reporting Act, Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 1981, 8 U.S.C. § 1324b
(unfair immigration related practices), Americans With Disabilities Act, Age Discrimination in
Employment Act, Fair Labor Standards Act, Worker Adjustment and Retraining Notification
Act, Older Workers Benefits Protection Act of 1990, Occupational Safety and Health Act,
Consolidated Omnibus Budget Reconciliation Act of 1985, federal, state or local statutes or
regulations addressing the same or similar subject matters, and all other federal, state or
local statutory, common law and legal claims (including without limitation, torts) arising out
of or relating to your relationship with us or the termination of that relationship. This
Arbitration Provision also applies to all incidents or accidents resulting in personal injury to
you or anyone else that you allege occurred in connection with your use of our Platform and
Driver App, regardless whether the dispute, claim, or controversy occurred or accrued before
or after the date you agreed to this Agreement, and regardless whether you allege that the
personal injury was experienced by you or anyone.

           13.2.         Limitations On How This Arbitration Provision Applies.
                         (a) To the extent required by applicable law not preempted by the
Federal Arbitration Act, nothing in this Arbitration Provision prevents you from making a
report to or filing a claim or charge with the Equal Employment Opportunity Commission,
U.S. Department of Labor, U.S. Securities and Exchange Commission, National Labor
Relations Board, or Office of Federal Contract Compliance Programs. Likewise, to the extent
required by applicable law not preempted by the Federal Arbitration Act, nothing in this
Arbitration Provision prevents the investigation by a government agency of any report, claim
or charge otherwise covered by this Arbitration Provision. To the extent required by
applicable law not preempted by the Federal Arbitration Act, this Arbitration Provision also
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does not prevent federal administrative agencies from adjudicating claims and awarding
remedies based on those claims, even if the claims would otherwise be covered by this
Arbitration Provision.

                        (b) Where you allege claims of sexual assault or sexual harassment,
you may elect to bring those claims on an individual basis in a court of competent
jurisdiction instead of arbitration. We agree to honor your election of forum with respect to
your individual sexual harassment or sexual assault claim but in so doing do not waive the
enforceability of this Arbitration Provision as to any other provision (including but not
limited to Section 13.4—Class Action Waiver—which will continue to apply in court and
arbitration), controversy, claim or dispute.

                        (c)   To the extent an Act of Congress or applicable federal law not
preempted by the Federal Arbitration Act provides that a particular claim or dispute may not
be subject to arbitration, such claim or dispute is excluded from the coverage of this
Arbitration Provision. Likewise, if the Federal Arbitration Act does not apply to a claim or
dispute, any claims or disputes that may not be subject to arbitration under applicable state
arbitration law will be excluded from the coverage of this Arbitration Provision.

                       (d) Impact on Pending Litigation: This Arbitration Provision shall
not affect your standing with respect to any litigation against us brought by you or on your
behalf that is pending in a state or federal court or arbitration as of the date of your receipt
of this Arbitration Provision (“pending litigation”). Therefore:
                          ●     If you are or previously were a driver authorized to use our
                                Platform and Driver App, and at the time of your receipt of
                                this Agreement you were not bound by an existing arbitration
                                agreement with us, you shall remain eligible to participate in
                                any pending litigation to which you were a party or putative
                                class, collective or representative action member regardless of
                                whether you opt out of this Arbitration Provision.

                         ●    If, at the time of your receipt of this Agreement, you were
                              bound by an existing arbitration agreement with us, that
                              arbitration agreement will continue to apply to any pending
                              litigation, even if you opt out of this Arbitration Provision.

                         ●    If, at the time of your receipt of this Agreement, you were not
                              previously a driver authorized to use our Platform and Driver
                              App, then this Arbitration Provision will apply to covered
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                              claims and any pending litigation unless you opt out of this
                              Arbitration Provision as provided below.

                       (e)    Either party may apply to a court of competent jurisdiction for
temporary or preliminary injunctive relief on the ground that without such relief the
arbitration provided in this Arbitration Provision may be rendered ineffectual.

           13.3.        Governing Rules, Starting The Arbitration, And Selecting The Arbitrator.
                        (a) For claims involving use of the Platform and Driver App in
California: The ADR Services, Inc. Arbitration Rules (“ADR Rules”) will apply to arbitration
under this Arbitration Provision; however, if there is a conflict between the ADR Rules and
this Arbitration Provision, including but not limited to whether any arbitration may proceed
on an individual basis, this Arbitration Provision shall govern. The ADR Rules are available by,
for example, searching Google.com to locate “ADR Services, Inc. Rules,” or by clicking here:
https://www.adrservices.com/services/arbitration-rules/. If, for any reason, ADR Services,
Inc. will not administer the arbitration and the parties cannot mutually agree on a neutral
arbitration provider, either party may invoke 9 U.S.C. § 5 to request that a court of
competent jurisdiction appoint an arbitration provider with operations in California. Any
arbitration provider appointed by a court under 9 U.S.C. § 5 shall conduct arbitration solely
on an individualized basis. Once an arbitration provider is appointed under 9 U.S.C. § 5, or
the parties mutually agree upon a neutral arbitration provider, the ensuing arbitration shall
commence pursuant to the rules of the designated arbitration provider; however, if there is
a conflict between the rules of the designated arbitration provider and this Arbitration
Provision, including but not limited to whether any arbitration may proceed on an individual
basis, this Arbitration Provision shall govern.

                         (b) For claims involving use of the Platform and Driver App outside
California: The parties shall be required to meet and confer to select a neutral arbitration
provider. Such an arbitration provider shall have operations in the state in which the dispute
arises. If the parties are unable to mutually agree upon an arbitration provider, then either
party may invoke 9 U.S.C. § 5 to request that a court of competent jurisdiction appoint an
arbitration provider with operations in the state in which the dispute arises. Any arbitration
provider appointed by a court under 9 U.S.C. § 5 shall conduct arbitration solely on an
individualized basis. Once the parties mutually agree upon a neutral arbitration provider, or
an arbitration provider is appointed under 9 U.S.C. § 5, the ensuing arbitration shall
commence pursuant to the rules of the designated arbitration provider; however, if there is
a conflict between the rules of the designated arbitration provider and this Arbitration
Provision, including but not limited to whether any arbitration may proceed on an individual
basis, this Arbitration Provision shall govern.
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                       (c)     Prior to commencing arbitration with the applicable arbitration
provider, the party bringing the claim in arbitration must first demand arbitration in writing
within the applicable statute of limitations period. The demand for arbitration shall include
identification of the parties (including, if you are bringing the claim, the phone number and
email address associated with your driver account, and the city in which you reside), a
statement of the legal and factual basis of the claim(s), and a specification of the remedy
sought and the amount in controversy. Any demand for arbitration made to us shall be sent
to Uber Technologies, Inc., Attn: Legal Department, 1515 3rd Street, San Francisco, CA 94158,
or served upon Uber’s registered agent for service of process, c/o Uber Technologies, Inc. (the
name and current contact information for the registered agent in each state are available
online here). Any demand for arbitration made to you shall be sent via electronic email to
the email address associated with your driver account.

                        (d) The parties agree that good-faith informal efforts to resolve
disputes often can result in a prompt, low-cost, and mutually beneficial outcome. The
parties therefore agree that, before the arbitration demand is submitted to the applicable
arbitration provider, the party bringing the claim shall first attempt to informally negotiate
with the other party, in good faith, a resolution of the dispute, claim or controversy between
the parties for a period of 60 days (“negotiation period”), unless extended by mutual
agreement of the parties. During the negotiation period, any otherwise applicable statute of
limitations shall be tolled. In connection with informal negotiations during the negotiation
period, the parties shall participate telephonically or in person in at least one informal
dispute resolution conference. All informal dispute resolution conferences shall be
individualized such that a separate conference must be held each time either party intends
to commence individual arbitration; multiple individuals initiating claims cannot participate
in the same informal dispute resolution conference. If either party is represented by
counsel, that party’s counsel may participate in the informal dispute resolution conference,
but the party also must appear at and participate in the conference. Engaging in an informal
dispute resolution conference is a condition precedent that must be fulfilled before
commencing individual arbitration. If the parties cannot reach an agreement to resolve the
dispute, claim or controversy within the negotiation period, the party bringing the claim shall
submit the arbitration demand to the applicable arbitration provider.

                        (e) To commence arbitration following the conclusion of the
informal dispute resolution process required by Section 13.3(d), the party bringing the
claim must file the written demand for arbitration with the applicable arbitration provider
and serve a copy of the demand for arbitration on Uber as set forth in Section 13.3(c) and
by email to any counsel who represented Uber in the informal dispute resolution process.
By filing the arbitration demand with the applicable arbitration provider, the party bringing
the claim in arbitration certifies that the demand complies with Rule 11 of the Federal
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Rules of Civil Procedure and any applicable state law equivalent.

                        (f)    If the parties reach agreement on an arbitrator not affiliated with
the applicable arbitration provider or to use procedures either not specified in or in lieu of
the applicable arbitration provider’s rules (as modified by this Arbitration Provision), any such
agreement shall be memorialized in writing before arbitration is commenced. If the parties
are unable to agree upon an arbitrator after a good faith meet and confer effort, then the
applicable arbitration provider will appoint the arbitrator in accordance with its rules. The
arbitrator will be selected from the applicable arbitration provider’s roster of arbitrators. Any
arbitrator selected must be either (1) a retired judge or (2) an attorney licensed to practice
law in the state where the arbitration is conducted with experience in the law underlying the
dispute.

                       (g) Delivering a written arbitration demand to the other party will
not relieve the party bringing the claim of the obligation to commence arbitration as
described above. It shall always be the obligation of the party bringing the claim to
commence arbitration.

                       (h) Mass arbitration dispute procedure: If 20 or more arbitration
demands of a substantially similar nature are initiated against you or us within a 180-day
period by the same law firm or collection of law firms that represents the other party
(“mass arbitration demands”), the following procedure shall apply. At the request of either
party, an arbitrator shall be selected pursuant to the applicable arbitration provider’s rules
for selection of an arbitrator to act as a special master (“Special Master”) to resolve
threshold disputes regarding the propriety of some or all the mass arbitration demands.
These threshold disputes may include, but are not limited to:
                          (1) any dispute regarding filing fees owed with respect to the
                                mass arbitration demands, including whether claimants have
                                submitted valid fee waivers;
                          (2) any dispute regarding whether the applicable arbitration
                                provider has complied with the Arbitration Provision with
                                respect to processing and administering the mass arbitration
                                demands;
                          (3) any dispute regarding whether the mass arbitration demands
                                meet the requirements set forth in Section 13.3(c) or (e)
                                above;
                          (4) any dispute regarding whether the demands have complied
                                with all conditions precedent to commencing arbitration,
                                including compliance with the informal dispute resolution
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                              process described in Section 13.3(d) above;
                         (5) any dispute regarding whether claimants have ever had a
                              driver account;
                         (6) any dispute regarding whether claimants are barred from
                              proceeding with their claims based on a prior settlement
                              agreement or expiration of the statute of limitations;
                         (7) any dispute relating to representation of the same claimant
                              by multiple law firms;
                         (8) any dispute regarding whether the mass arbitration demands
                              were filed with the correct arbitration provider;
                         (9) any dispute regarding whether the mass arbitration demands
                              violate Rule 11 of the Federal Rules of Civil Procedure and/or
                              any applicable state law equivalent; and
                         (10) any other dispute or issue regarding the equitable and
                              efficient initial case management of the mass arbitration
                              demands, including, but not limited to, the timing and/or
                              sequence of payment of any remaining filing or administrative
                              fees or costs related to the mass arbitration demands.

                          Any request to appoint a Special Master pursuant to this procedure
must be submitted in writing to the applicable arbitration provider, with a copy to the other
party, within fifteen (15) days after filing and service (as described in Section 13.3(e)) of any
arbitration demand that qualifies as part of the same group of mass arbitration demands
within the meaning of this Section 13.3(h) (i.e., 20 or more arbitration demands of a
substantially similar nature initiated within a 180 day period by the same law firm or
collection of law firms. Mass arbitration demands initiated by a different law firm or
collection of law firms shall be considered a separate group of mass arbitration demands
and shall be administered separately). For the sake of clarity, the request to appoint a
Special Master need not be submitted in response to the first arbitration demand that
triggers the mass arbitration dispute procedure (i.e., the 20th demand), and the request is
subject only to the limitations set forth in this Section 13.3(h).

                          Except as provided below, during the fifteen (15) day period
following the filing and service of any arbitration demand that qualifies as part of the same
group of mass arbitration demands, the arbitration provider shall refrain from further
processing of any demands that are part of the same group of mass arbitration demands,
and no further payment (i.e., other than amounts required to be paid by the party initiating
arbitration at the time the arbitration demand is filed) for filing fees, administrative fees or
costs, or Arbitrator fees shall be deemed due with respect to those demands. A party’s
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decision not to invoke this procedure in response to a particular arbitration demand shall
not constitute a waiver of any defense to any arbitration demand. Likewise, a party’s
decision not to invoke this procedure in response to a particular demand will not preclude
the same party from later invoking this procedure in response to any other arbitration
demand, including one that qualifies as part of the same group of mass arbitration
demands as an earlier-filed demand.

                      The written request to appoint a Special Master must specify the
arbitration demands and threshold disputes that will be submitted to the Special Master.

                          Upon the request of either party to appoint a Special Master to
resolve the foregoing issues, the applicable arbitration provider shall refrain from further
processing any of the mass arbitration demands as to which a dispute has been raised.
Except for the filing fees, administrative fees or costs, or arbitrator fees that have already
been assessed by the arbitration provider at the time the request to appoint a Special
Master is made, no payment for filing fees, administrative fees or costs, or arbitrator fees
shall be deemed due with respect to any of the mass arbitration demands as to which a
dispute has been raised until after the dispute(s) has/have been resolved by the Special
Master. Notwithstanding the foregoing, Uber shall be responsible for and agrees to pay the
applicable arbitration provider’s and Special Master’s fees and costs related to the
proceedings before the Special Master.

                         If timely requested by either party, any arbitration demand that is
part of the same group of mass arbitration demands and to which a dispute has been raised
shall be included as part of the same Special Master matter, even if a Special Master matter
is already pending at the time that arbitration demand is filed, except that (i) a demand
cannot be included if an arbitrator has already been selected for that individual demand as
provided in Section 13.3(f); and (ii) a demand that might otherwise be considered part of
the same group of mass arbitration demands that is filed after proceedings before a Special
Master have concluded shall be considered part of a different group of mass arbitration
demands.

                         A Special Master appointed pursuant to this procedure may award
any party any appropriate remedy to which that party is entitled under applicable law
(including, but not limited to, as set forth in Section 13.7) with respect to the issues
presented to and decided by the Special Master, but shall have no authority to consolidate
cases or decide issues related to the merits of the dispute or any other issue except as
specified above. After proceedings before the Special Master have concluded, to the extent
any of the mass arbitration demands are permitted to proceed, all such demands shall
proceed on an individual basis only, and the applicable arbitration provider must administer
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them individually in accordance with the applicable arbitration provider’s rules and this
Arbitration Provision.

                        (i)   All claims in arbitration are subject to the same statutes of
limitation that would apply in court. The arbitrator (which includes the Special Master,
as applicable) shall resolve all disputes regarding the timeliness or propriety of the
demand for arbitration, except that the statute of limitations and any filing fee
deadlines shall be tolled while the parties engage in the informal dispute resolution
process required by Section 13.3(d).

                        (j)     Only an arbitrator, and not any federal, state, or local court
or agency, shall have exclusive authority to resolve any dispute arising out of or relating
to the interpretation, applicability, enforceability, or formation of this Arbitration
Provision, including without limitation any claim that all or part of this Arbitration
Provision is void or voidable. An arbitrator shall also have exclusive authority to resolve
all threshold arbitrability issues. However, only a court of competent jurisdiction, and
not an arbitrator, shall have exclusive authority to resolve any and all disputes arising
out of or relating to the Class Action Waiver and/or Representative Action
Waiver—including, but not limited to, any claim that all or part of the Class Action
Waiver and/or Representative Action Waiver is unenforceable, unconscionable, illegal,
void, or voidable, or that a breach of either such Waiver has occurred.

             13.4. Class Action Waiver.
                        (a)    This Arbitration Provision affects your ability to participate in
class, collective, coordinated, or consolidated actions. Both Uber and you agree that any
and all disputes or claims between the parties shall be resolved only in individual arbitration,
and not on a class, collective, coordinated, or consolidated basis on behalf of others. There
will be no right or authority for any dispute (whether brought by you or us, or on your or our
behalf) to be brought, heard, administered, resolved, or arbitrated as a class, collective,
coordinated, or consolidated action, or for you or us to participate as a member in any such
class, collective, coordinated, or consolidated proceeding. Neither an arbitrator nor an
arbitration provider shall have authority to hear, arbitrate, or administer any class, collective,
coordinated, or consolidated action, or to award relief to anyone but the individual in
arbitration.

                       (b) Notwithstanding any other provision of this Arbitration
Provision or the applicable arbitration provider’s rules, this Class Action Waiver does not
prevent you or us from participating in a classwide, collective, coordinated, or consolidated
settlement of claims.
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                     (c)    This Class Action Waiver does not and shall not be construed to
preclude the mass arbitration dispute procedure set forth in Section 13.3(h).

                        (d) The parties further agree that if for any reason a claim does not
proceed in arbitration, this Class Action Waiver shall remain in effect, and a court may not
preside over any action joining or consolidating the claims of multiple individuals against
Uber in a single proceeding. If there is a final judicial determination that any portion of this
Class Action Waiver is unenforceable or unlawful for any reason, (1) any class, collective,
coordinated, or consolidated action subject to the enforceable or unlawful portion(s) shall
proceed in a court of competent jurisdiction; (2) the portion of the Class Action Waiver that
is enforceable shall be enforced in arbitration; (3) the unenforceable or unlawful portion(s)
shall be severed from this Arbitration Provision; and (4) the severance of the unenforceable
or unlawful portion(s) shall have no impact whatsoever on the enforceability, applicability, or
validity of the Arbitration Provision or the arbitrability of any remaining claims asserted by
you or us.

           13.5.        Representative Action Waiver.
                        (a) This Arbitration Provision affects your ability to participate in
representative actions. To the maximum extent provided by law, both Uber and you agree
that any and all disputes or claims between the parties shall be resolved only in individual
arbitration, and not on a representative basis. The parties expressly waive their right to have
any dispute or claim brought, heard, administered, resolved, or arbitrated as a representative
action, or to participate in any representative action, including but not limited to claims
brought under any state’s Private Attorneys General Act. The parties also expressly waive
their right to seek, recover, or obtain any non-individual relief. There will be no right or
authority for any dispute (whether brought by you or us, or on your or our behalf) to be
brought, heard, administered, or arbitrated as a representative action, or for you or us to
participate as a member in any such representative proceeding.

                       (b) Notwithstanding any other provision of this Arbitration Provision
or the applicable arbitration provider’s rules, this Representative Action Waiver does not
prevent you or us from participating in a representative settlement of claims.

                     (c)   This Representative Action Waiver does not and shall not be
construed to preclude the mass arbitration dispute procedure set forth in Section 13.3(h).

                     (d) If there is a final judicial determination that any portion of this
Representative Action Waiver is unenforceable or unlawful for any reason, (1) any
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representative claim subject to the enforceable or unlawful portion(s) shall proceed in a court
of competent jurisdiction; (2) the portion of the Representative Action Waiver that is
enforceable shall be enforced in arbitration; (3) the unenforceable or unlawful portion(s) shall
be severed from this Arbitration Provision; and (4) the severance of the unenforceable or
unlawful portion(s) shall have no impact whatsoever on the enforceability, applicability, or
validity of the Arbitration Provision or the arbitrability of any remaining claims asserted by
you or us.

                        (e) Disputes regarding the nature of your relationship with us
(including, but not limited to, any claim that you are an employee of us), as well as any claim
you bring on your own behalf as an aggrieved worker for recovery of underpaid wages or
other individualized relief (as opposed to a representative claim for civil penalties) are
arbitrable and must be brought in arbitration on an individual basis only, as required by this
Arbitration Provision. You agree that any representative claim that is permitted to proceed
in a civil court of competent jurisdiction must be stayed pending the arbitration of your
dispute regarding the nature of your relationship with us and any claim you bring on your
own behalf for individualized relief.

           13.6.       Paying For The Arbitration.
                       (a) Except in the case of offers of judgment (such as under Federal
Rule of Civil Procedure 68 or any applicable state law equivalents, which apply to
arbitrations under this Arbitration Provision as set forth in Section 13.6(d) below), each
party will pay the fees for its, his or her own attorneys and any costs that are common to
both court and arbitration proceedings (such as court reporter costs and transcript fees),
subject to any remedies to which that party may later be entitled under applicable law.

                         (b) Each party shall follow the applicable arbitration provider’s
rules applicable to initial arbitration filing fees, except that your portion of any initial
arbitration filing fee shall not exceed the amount you would be required to pay to initiate a
lawsuit in federal court in the jurisdiction where the arbitration will be conducted. To the
extent a fee waiver is sought, it must include all information and be submitted in the
appropriate form required by applicable law. Except as specified in the mass arbitration
dispute procedure set forth in Section 13.3(h), after (and only after) you have paid your
portion of any initial arbitration filing fee, we will make up the difference, if any, between
the fee you have paid and the amount required by the applicable arbitration provider’s
rules.

                      (c)    In all cases where required by applicable law not preempted
by the FAA, we will pay the arbitrator's fees, as well as all fees and costs uniquely
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associated with arbitration (such as room rental). Otherwise, such fee(s) will be
apportioned between the parties in accordance with said applicable law and this
Arbitration Provision, and any disputes in that regard will be resolved by the arbitrator
(which includes the Special Master, as applicable). You agree to not oppose any
negotiations between the applicable arbitration provider and Uber relating only to our
fees.

                          (d) At least 10 days before the date set for the arbitration
hearing, any party may serve an offer in writing upon the other party to allow judgment
on specified terms. If the offer is accepted, the offer with proof of acceptance shall be
submitted to the arbitrator, who shall enter judgment accordingly. If the offer is not
accepted prior to the arbitration hearing or within 30 days after it is made, whichever
occurs first, it shall be deemed withdrawn, and cannot be given in evidence upon the
arbitration. If an offer made by Uber is not accepted by you, and you fail to obtain a more
favorable award, you shall not recover your post-offer costs and shall pay Uber’s costs
from the time of the offer.

            13.7. The Arbitration Hearing And Award.
                        (a)   Within 30 days of the close of the arbitration hearing, any party
will have the right to prepare, serve on the other party and file with the arbitrator a brief.
The arbitrator may award any party any remedy to which that party is entitled under
applicable law, but such remedies shall be limited to those that would be available to a party
in his or her individual capacity in a court of law for the claims presented to and decided by
the arbitrator.

                      (b) The arbitrator shall apply applicable controlling law and will
issue a decision or award in writing, stating the essential findings of fact and conclusions of
law.

                       (c)    Under no circumstances is the arbitrator bound by decisions
reached in separate arbitrations. The arbitrator’s decision, including any decision by a Special
Master (as applicable), shall be binding only upon the parties to the arbitration that are the
subject of the decision.

                       (d) The arbitrator shall award reasonable costs incurred in the
arbitration to the prevailing party in accordance with the law(s) that applies to the case.

                      (e)   The arbitrator shall be authorized to afford any relief or impose
any sanctions available under Federal Rule of Civil Procedure 11 or any applicable state law
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equivalent.

                        (f)   A court of competent jurisdiction shall have the authority to
enter a judgment upon the award made pursuant to the arbitration. The arbitrator’s findings
of fact and conclusions of law shall not be binding or have any preclusive effect on any other
arbitration, except as specified in and limited by Section 13.3(h).

           13.8.         Your Right To Opt Out Of This Arbitration Provision
                         (a) Agreeing to this Arbitration Provision is not a mandatory
condition of your contractual relationship with us. If you do not want to be subject to this
Arbitration Provision, you may opt out of this Arbitration Provision (subject to the pending
litigation provision in Section 13.2, and the limitations set forth in this Section 13.8). To do
so, within 30 days of the date that this Agreement is electronically accepted by you, you
must send an electronic email from the email address associated with your driver account
to optout@uber.com, stating your intent to opt out of this Arbitration Provision, as well as
your name, the phone number associated with your driver account, and the city in which
you reside.

                       (b) An email sent by your agent or representative (including your
counsel) shall not be effective. Your email may opt out yourself only, and any email that
purports to opt out anyone other than yourself shall be void as to any others. Should you
not opt out of this Arbitration Provision within the 30-day period, you and Uber shall be
bound by the terms of this Arbitration Provision. You will not be subject to retaliation if
you exercise your right to opt out of this Arbitration Provision.

                        (c)   Any opt out of this Arbitration Provision does not affect
the validity of any other arbitration agreement between you and us. If you opt out of
this Arbitration Provision and at the time of your receipt of this Agreement you were
bound by an existing agreement to arbitrate disputes arising out of or related to your
use of our Platform and Driver App, that existing arbitration agreement will remain in
full force and effect.

                         (d) Neither your acceptance of this Agreement nor your decision
to opt out of this Arbitration Provision will affect any obligation you have to arbitrate
disputes not specified in this Arbitration Provision pursuant to any other agreement you
have with us or any of our subsidiaries or affiliate entities. Likewise, your acceptance of or
decision to opt out of any other arbitration agreement you have with us or any of our
subsidiaries or affiliate entities shall not affect any obligation you have to arbitrate claims
pursuant to this Arbitration Provision.
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            13.9. Enforcement Of This Arbitration Provision. You have the right to consult
with counsel of your choice concerning this Arbitration Provision and to be represented by
counsel at any stage during the arbitration process. Except as provided in Sections 13.2 and
13.8 of this Arbitration Provision, and/or unless this Arbitration Provision is deemed invalid,
unenforceable, or inapplicable, this Arbitration Provision replaces prior agreements regarding
the arbitration of disputes and is the full and complete agreement relating to the formal
resolution of disputes covered by this Arbitration Provision. In the event any portion of this
Arbitration Provision is deemed unenforceable, the remainder of this Arbitration Provision
will be enforceable. This Arbitration Provision will survive the termination of your
relationship with us, and it will continue to apply if your relationship with us is ended but
later renewed.




   By clicking “Yes, I agree,” I expressly acknowledge that I have read, understood, and
 considered the consequences of this Agreement, that I agree to be bound by the terms of
 this Agreement, and that I am legally competent to enter into this Agreement with Uber.
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EXHIBIT F
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     Lyft Terms of
     Service
     Last Updated: December 12, 2022

     These Terms of Service constitute a legally binding agreement (the “Agreement”
     between you and Lyft, Inc., its parents, subsidiaries, representatives, affiliates,
     officers and directors (collectively, “Lyft,” “we,” “us” or “our”) governing your use
     of the Lyft applications, websites, technology, facilities, and platform (collectively,
     the “Lyft Platform”).

     PLEASE BE ADVISED: THIS AGREEMENT CONTAINS PROVISIONS THAT
     GOVERN HOW CLAIMS BETWEEN YOU AND LYFT CAN BE BROUGHT (SEE
     SECTION 17 BELOW). THESE PROVISIONS WILL, WITH LIMITED
     EXCEPTION, REQUIRE YOU TO: (1) WAIVE YOUR RIGHT TO A JURY TRIAL
     AND (2) SUBMIT CLAIMS YOU HAVE AGAINST LYFT TO BINDING AND
     FINAL ARBITRATION ON AN INDIVIDUAL BASIS, NOT AS A PLAINTIFF OR
     CLASS MEMBER IN ANY CLASS, GROUP OR REPRESENTATIVE ACTION
     OR PROCEEDING. AS A DRIVER OR DRIVER APPLICANT, YOU HAVE AN
     OPPORTUNITY TO OPT OUT OF ARBITRATION WITH RESPECT TO
     CERTAIN CLAIMS AS PROVIDED IN SECTION 17.

     By entering into this Agreement, and/or by using or accessing the Lyft Platform,
     you expressly acknowledge that you understand this Agreement (including the
     dispute resolution and arbitration provisions in Section 17) and accept all of its
     terms. IF YOU DO NOT AGREE TO BE BOUND BY THE TERMS AND
     CONDITIONS OF THIS AGREEMENT, YOU MAY NOT USE OR ACCESS THE
     LYFT PLATFORM OR ANY OF THE SERVICES PROVIDED THROUGH THE

https://www.lyft.com/terms                                                                         1/39
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     LYFT PLATFORM. If you use the Lyft Platform in another country, you agree to
     be subject to Lyft’s terms of service for that country. If you are accessing or using
     the Lyft Platform to access or use Lyft Business services on behalf of an
     organization contracted with Lyft, and you are not accessing or using the Lyft
     Platform as a Rider or Driver, your access and use is governed by the contract
     between Lyft and your organization.

     When using the Lyft Platform, you also agree to conduct yourself in accordance
     with our Community Guidelines, which shall form part of this Agreement between
     you and Lyft.




     The Lyft Platform
     The Lyft Platform provides a marketplace where, among other things, persons who seek
     transportation to certain destinations (“Riders”) can be matched with transportation options to
     such destinations. One option for Riders is to request a ride from rideshare drivers who are
     driving to or through those destinations (“Drivers”). Drivers, Riders, and any other individuals,
     excluding any Excluded Individuals, using the Lyft Platform are collectively referred to herein as
     “Users,” and the driving services provided by Drivers to Riders, and other transportation related
     services provided by Drivers in connection with the Lyft Platform, shall be referred to herein as
     “Rideshare Services.” “Lyft Services” shall include any service provided by Lyft pursuant to the
     Lyft Platform (for clarity, Lyft Services does not include Rideshare Services or Third-Party
     Services). As a User, you authorize Lyft to match and/or re-match you with Drivers or Riders
     based on factors such as your location, the requested pickup location, the estimated time to
     pickup, your destination, User preferences, ride mode, driver mode, membership status,
     regulatory or other third-party requirements, user statistics, and platform efficiency, and to
     cancel an existing match based on the same or other considerations. Any decision by a User to
     offer or accept Rideshare Services is a decision made in such User’s sole discretion. A
     separate agreement is formed between Drivers and Riders when the Rider accepts the
     Rideshare Services offered by the Driver. As used herein, “Excluded Individuals” means any
     individual who is registering to use the Lyft Platform or whose use of the Lyft Platform is on
     behalf of an organization contracted with Lyft, except as a Rider or Driver.

     In certain markets, Riders may have the option to rent transportation modalities (e.g., bikes,
     scooters, cars, etc.) or be offered other services through the Lyft Platform. In some markets,
     some of these rental programs and/or other services are owned and operated by Lyft. In other


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     markets, some of these rental programs and/or other services are owned or operated by third
     parties.

     In any case, your use of Lyft Services through the Lyft Platform may be subject to additional
     agreements between you and Lyft as applicable to the particular service in the particular
     market (“Supplemental Agreements”). Please review any applicable Supplemental Agreements
     carefully. IF YOU DO NOT AGREE TO BE BOUND BY THE TERMS AND CONDITIONS OF A
     SUPPLEMENTAL AGREEMENT, YOU MAY NOT RENT OR USE LYFT SERVICES IN SUCH
     MARKET. In the event of any conflict between this Agreement and the terms and conditions of
     any Supplemental Agreement, the terms of this Agreement shall control, unless such
     Supplemental Agreement specifically states otherwise.


     Modification to the Agreement
     Lyft reserves the right to modify the terms and conditions of this Agreement, and such
     modifications shall be binding on you only upon your acceptance of the modified Agreement.
     Lyft reserves the right to modify any information on pages referenced in the hyperlinks from this
     Agreement from time to time, and such modifications shall become effective upon posting.
     Continued use of the Lyft Platform after any such changes shall constitute your acceptance of
     such changes. Unless material changes are made to the arbitration provisions herein, you
     agree that modification of this Agreement does not create a renewed opportunity to opt out of
     arbitration (if applicable).



     Eligibility
     The Lyft Platform may only be used by individuals who have the right and authority to enter into
     this Agreement and are fully able and competent to satisfy the terms, conditions, and
     obligations herein. The Lyft Platform is not available to Users who have had their User account
     temporarily or permanently deactivated. You may not allow other persons to use your User
     account, you agree that you are the sole authorized user of your User account, and you may
     not use your User account on behalf of any third party, except as otherwise expressly permitted
     by Lyft. To use the Lyft Platform, each User shall create a User account. Each person may only
     create one User account, and Lyft reserves the right to deactivate any additional or duplicate
     accounts. Your participation in certain Lyft programs and use of certain Lyft services may be
     subject to additional eligibility requirements as determined by Lyft.

     By becoming a User, you represent and warrant that you are at least 18 years old.
     Notwithstanding the foregoing, if you are the parent or legal guardian of a 16 or 17-year old
     minor you may create a User account for such minor to use the Lyft Platform subject to the
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     following requirements and restrictions: (a) you ensure that the minor’s use of the Lyft Platform
     is limited solely to accessing and using Lyft Services and/or Third-Party Services where
     expressly permitted under the Supplemental Agreement applicable to such Lyft Services and/o
     Third-Party Services, (b) you determine that the Lyft Services and/or Third-Party Services are
     suitable for the minor, (c) you ensure that the minor’s use of the Lyft Platform and applicable
     Lyft Services and/or Third-Party Services is done in compliance and acknowledgement of all
     applicable safety instructions and warnings in this Agreement, any applicable Supplemental
     Agreements, and the Lyft Platform, (d) you ensure that the minor does not request or accept
     any Rideshare Services unless accompanied by you or an authorized guardian, and (e) you
     explain the terms of this Agreement to the minor. For clarity, no unaccompanied User under 18
     years old may ride in an autonomous vehicle.

     By creating a User account for such minor, you hereby give permission and consent to the
     Agreement on the minor’s behalf, you expressly guarantee the minor’s acceptance, and your
     own acceptance, of the terms of this Agreement, and you shall assume any and all
     responsibility and liability for the minor’s use of the Lyft Platform as provided by the terms of
     this Agreement and any applicable Supplemental Agreements. You will be responsible for any
     breach of the above representations, warranties and/or this Agreement, and/or any attempt of
     the minor to disaffirm this Agreement. Furthermore, you hereby represent that you are fully
     authorized to execute this Agreement on behalf of yourself and all other parents or legal
     guardians of the minor rider.


     Charges
     As a User, you understand that request or use of Rideshare Services, Lyft Services, or Third-
     Party Services may result in charges (“Charges”) to you and/or to an organization, if applicable
     Charges to Riders and/or organizations, if applicable, for Rideshare Services include Fares
     (defined below) and other applicable fees, tolls, surcharges, and taxes, including as set forth
     on your market’s Lyft Cities page (“Lyft Cities Page”), plus any tips to the Driver that you elect
     to pay. Lyft has the authority and reserves the right to determine and modify pricing by posting
     applicable pricing terms to your market’s Lyft Cities Page or quoting you a price for a specific
     ride at the time you make a request. Pricing may vary based on the type of service you reques
     (e.g., shared, economy, extra seats, luxury) as described on your market’s Lyft Cities Page or
     within the Lyft Platform. You are responsible for reviewing the applicable Lyft Cities Page or
     price quote within the Lyft Platform and shall be responsible for all Charges incurred under you
     User account regardless of your awareness of such Charges or the amounts thereof.

     Rideshare Service Fares (“Fares”). There are two types of Fares, quoted and variable.

              Quoted Fares. When you make a ride request using the Lyft Platform, Lyft will quote you
              a Fare at the time of your request. The quote is subject to change until the ride request is
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              confirmed. If your final destination is not the same as the destination in your ride request,
              or the time or distance of your ride differs substantially from your quoted fare, or if you
              attempt to abuse the Lyft Platform, we may, at Lyft’s sole discretion and determination,
              cancel the fare quote and charge you a variable fare as described below. Lyft does not
              guarantee that the quoted fare price will be equal to a variable fare for the same ride.
              Quoted fares may include the Rideshare Service Fees and Other Charges below, as
              applicable.
              Variable Fares. Variable fares consist of a base charge and incremental charges based
              on the time and distance of your ride. For particularly short rides, minimum fares may
              apply. Please note that we use GPS data from your Driver’s phone to calculate the
              distance traveled on your ride. We cannot guarantee the availability or accuracy of GPS
              data. If we lose signal, we will calculate time and distance using available data from your
              ride. In addition to the variable fare, the total cost of your ride may include the Rideshare
              Service Fees and Other Charges below, as applicable.

     Rideshare Service Fees and Other Charges.

              Service Fee. Lyft may charge a “Service Fee” for each ride, as set forth on the applicable
              Lyft Cities Page.
              Prime Time. At certain times, including times of high demand for Rideshare Services
              (“Prime Time”), you acknowledge that Charges may increase substantially. For quoted
              fares, we may factor Prime Time increases into the quoted price of the ride.
              Priority Pickup and Wait & Save. In some cases, you may be able to select an expected
              pick up that is faster or slower than standard for a higher or lower Fare, respectively.
              Cancellation Fee. After requesting a ride you may cancel it through the Lyft Platform, but
              note that in certain cases a cancellation fee may apply. Lyft may also charge a fee if you
              fail to show up after requesting a ride. Please check out our Help Center to learn more
              about Lyft’s rider cancellation policy.
              Damage Fee. If a Driver reports that you have materially damaged the Driver's vehicle,
              you agree to pay a “Damage Fee” of up to $250 depending on the extent of the damage
              (as determined by Lyft in its sole discretion), towards vehicle repair or cleaning. Lyft
              reserves the right (but is not obligated) to verify or otherwise require documentation of
              damages prior to processing the Damage Fee.
              Abuse Fee. If we receive a credible report that you have misused or abused the Lyft
              Platform, you agree to pay an “Abuse Fee” of up to $250 as determined by Lyft in its sole
              discretion. Lyft reserves the right (but is not obligated) to verify or otherwise require
              documentation of abuse prior to processing the Abuse Fee.
              Tolls. In some instances tolls, toll estimates, or return tolls may apply to your ride. Please
              see our Help Center and your market’s Lyft Cities Page for more information about toll
              charges. We do not guarantee that the amount charged by Lyft will match the toll charged
              to the Driver, if any.
              Other Charges. Other fees and surcharges may apply to your ride, including, but not
              limited to: actual or anticipated airport fees, state fees, local fees, event fees, fuel
              surcharges, wait time fees, or distance surcharges as determined by Lyft or its marketing
              partners. In addition, where required by law Lyft will collect applicable taxes. See your
              market’s Lyft Cities Page for information on other Charges that may apply to your ride.
              Tips. Following a ride, you may have the opportunity to elect to tip your Driver in cash or
              through the Lyft Platform. You may also elect to set a default tip amount or percentage
              through the Lyft Platform. Any tips will be provided entirely to the applicable Driver.
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     Charges Generally.

              Facilitation of Charges. All Charges are facilitated through a third-party payment
              processor (First Data, Stripe, Inc., Braintree, a division of PayPal, Inc., etc.). Lyft may
              replace its third-party payment processor without notice to you. With the exception of tips
              and the purchase of Lyft Cash, cash payments are strictly prohibited unless expressly
              permitted by Lyft. Your payment of Charges to Lyft satisfies your payment obligation for
              your use of the Lyft Platform, Lyft Services, Third-Party Services, and Rideshare Services
              Certain Charges may be collectively billed as a single purchase transaction to your
              selected payment method based on the payment frequency indicated in your settings. If
              your primary payment method expires, is invalid, or if Charges to your primary payment
              method are unable to be processed for whatever reason, then you agree that Lyft may
              charge your other available payment methods in the Lyft Platform. If you don't recognize a
              transaction, then check your ride receipts and payment history.
              No Refunds. All Charges are non-refundable except to the extent required by law. This
              no-refund policy shall apply at all times regardless of your decision to terminate usage of
              the Lyft Platform, any disruption to the Lyft Platform, Lyft Services, Third-Party Services,
              or Rideshare Services, or any other reason whatsoever.
              Coupons. You may receive coupons, credits, discounts, or other promotions (collectively,
              “Coupons”) that you can apply toward payment of certain Charges. Coupons are valid
              only for use on the Lyft Platform, and are not transferable or redeemable for cash except
              as required by law. Coupons cannot be combined unless expressly provided otherwise,
              and if the cost of your Charges exceeds the applicable Coupon value, we may charge
              your payment method on file for the Charges in excess of the Coupon amount. With
              respect to Fares, Lyft may deduct the amount attributable to the Service Fee, Tolls, or
              Other Charges before application of the Coupon. Additional restrictions on Coupons may
              apply as communicated to you in a relevant promotion or by clicking on the relevant
              Coupon within the Rewards section of the Lyft Platform.
              Supplemental Charges. Charges related to Lyft Services (including the rental of bikes
              and scooters) may be further detailed in the applicable Supplemental Agreement.
              Third-Party Charges. If you choose to purchase Third-Party Services (described further
              in Section 20) through the Lyft Platform, you authorize your payment method on file to be
              charged according to the pricing terms set by Lyft or the third-party provider, or as
              otherwise provided in the terms of the purchased services.
              Payment Card Authorization. Upon addition of a new payment method or each request
              for Lyft Services, Rideshare Services, or Third-Party Services, Lyft may seek
              authorization of your selected payment method to verify the payment method, ensure the
              Charges will be covered, and protect against unauthorized behavior. The authorization is
              not a charge, however, it may reduce your available credit by the authorization amount
              until your bank’s next processing cycle. Should the amount of our authorization exceed
              the total funds on deposit in your account, you may be subject to overdraft of NSF
              charges by the bank issuing your debit or prepaid card. Lyft is not responsible for these
              charges and is unable to assist you in recovering them from your issuing bank. Check out
              our Help Center to learn more about our use of pre-authorization holds.

     For clarity, Lyft does not charge a fee for Users to access the Lyft Platform, but retains the right
     to charge Users and/or organizations, if applicable, a fee or any other Charge for accessing or


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     using Lyft Services, Rideshare Services, or Third-Party Services made available through the
     Lyft Platform.


     Driver Payments
     If you are a Driver, you will receive payment for your provision of Rideshare Services pursuant
     to the terms of the Driver Addendum, which shall form part of this Agreement between you and
     Lyft.



     Lyft Communications
     By entering into this Agreement or using the Lyft Platform, you agree to receive
     communications from us, our affiliates, or our third-party partners, at any of the phone numbers
     provided to Lyft by you or on your behalf, and also via email, text message, calls, and push
     notifications. You agree that texts, calls or prerecorded messages may be generated by
     automatic telephone dialing systems. Communications from Lyft, its affiliated companies and/o
     Drivers may include but are not limited to: operational communications concerning your User
     account or use of the Lyft Platform, Lyft Services, Third-Party Services or Rideshare Services,
     updates concerning new and existing features on the Lyft Platform, communications
     concerning marketing or promotions run by us or our third-party partners, and news concerning
     Lyft and industry developments. If you change or deactivate the phone number you provided to
     Lyft, you agree to update your User account information to help prevent us from inadvertently
     communicating with anyone who acquires your old number. Standard text messaging charges
     applied by your cell phone carrier will apply to text messages we send.

     IF YOU WISH TO OPT OUT OF PROMOTIONAL EMAILS, YOU CAN UNSUBSCRIBE FROM
     OUR PROMOTIONAL EMAIL LIST BY FOLLOWING THE UNSUBSCRIBE OPTIONS IN THE
     PROMOTIONAL EMAIL ITSELF. IF YOU WISH TO OPT OUT OF PROMOTIONAL CALLS OR
     TEXTS, YOU MAY TEXT “END” TO 46080 FROM THE MOBILE DEVICE RECEIVING THE
     MESSAGES. YOU ACKNOWLEDGE THAT YOU ARE NOT REQUIRED TO CONSENT TO
     RECEIVE PROMOTIONAL TEXTS OR CALLS AS A CONDITION OF USING THE LYFT
     PLATFORM OR RELATED SERVICES. IF YOU WISH TO OPT OUT OF ALL TEXTS OR
     CALLS FROM LYFT (INCLUDING OPERATIONAL OR TRANSACTIONAL TEXTS OR
     CALLS), YOU CAN TEXT THE WORD “STOPALL” TO 46080 FROM THE MOBILE DEVICE
     RECEIVING THE MESSAGES; HOWEVER, YOU ACKNOWLEDGE THAT OPTING OUT OF
     RECEIVING ALL TEXTS MAY IMPACT YOUR USE OF THE LYFT PLATFORM OR RELATED
     SERVICES. WHEN YOU OPT OUT TEXTS OR CALLS, YOU MAY RECEIVE A ONE-TIME
     OPT-OUT CONFIRMATION TEXT MESSAGE. NO FURTHER MESSAGES WILL BE SENT TO

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     YOUR MOBILE DEVICE, UNLESS INITIATED BY YOU. FOR COMMUNICATION SERVICE
     SUPPORT OR ASSISTANCE, PLEASE VISIT OUR HELP CENTER.


     Your Information
     Your Information is any information you provide, publish or post, and any information provided
     on your behalf, to or through the Lyft Platform (including any profile information you provide) or
     send to other Users (including via in-application feedback, any email feature, or through any
     Lyft-related Facebook, Twitter or other social media posting) (your “Information”). You consent
     to us using your Information to create a User account that will allow you to use the Lyft
     Platform, Lyft Services, and participate in the Rideshare Services. Our collection and use of
     personal information in connection with the Lyft Platform, Lyft Services, and Rideshare
     Services is as provided in Lyft’s Privacy Policy. You are solely responsible for your Information
     and your interactions with other members of the public, and we act only as a passive conduit
     for your online posting of your Information. You agree to provide and maintain accurate, curren
     and complete Information and that we and other members of the public may rely on your
     Information as accurate, current and complete. To enable Lyft to use your Information for the
     purposes described in the Privacy Policy and this Agreement, or to otherwise improve the Lyft
     Platform, Lyft Services, or Rideshare Services you grant to us a non-exclusive, worldwide,
     perpetual, irrevocable, royalty-free, transferable, sub-licensable (through multiple tiers) right
     and license to exercise the copyright, publicity, and database rights you have in your
     Information, and to use, copy, perform, display and distribute such Information to prepare
     derivative works, or incorporate into other works, such Information, in any media now known or
     not currently known. Lyft does not assert any ownership over your Information; rather, as
     between you and Lyft, subject to the rights granted to us in this Agreement, you retain full
     ownership of all of your Information and any intellectual property rights or other proprietary
     rights associated with your Information.



     Promotions, Referrals, and
     Loyalty Programs
     Lyft, at its sole discretion, may make available promotions, referral programs and loyalty
     programs with different features to any Users or prospective Users. Lyft reserves the right to
     withhold or deduct credits or benefits obtained through a promotion or program in the event
     that Lyft determines or believes that the redemption of the promotion or receipt of the credit or
     benefit was in error, fraudulent, illegal, or in violation of the applicable promotion or program

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     terms or this Agreement. Lyft reserves the right to terminate, discontinue, modify or cancel any
     promotions or programs at any time and in its sole discretion without notice to you.

     Lyft’s referral program may provide you with incentives to refer your friends and family to
     become new Users of the Lyft Platform in your country (the “Referral Program”). Your
     participation in the Referral Program is subject to this Agreement and the additional Referral
     Program rules.


     Restricted Activities
     With respect to your use of the Lyft Platform, Lyft Services, Third-Party Services, and your
     participation in the Rideshare Services, you agree that you will not:

          a. impersonate any person or entity;
          b. stalk, threaten, or otherwise harass any person, or carry any weapons;
          c. violate any law, statute, rule, permit, ordinance or regulation;
          d. interfere with or disrupt the Lyft Platform or the servers or networks connected to the Lyft
              Platform;
          e. post Information or interact on the Lyft Platform, Lyft Services, Third-Party Services, or
              Rideshare Services in a manner which is fraudulent, libelous, abusive, obscene,
              profane, sexually oriented, harassing, or illegal;
           f. use the Lyft Platform in any way that infringes any third party’s rights, including:
              intellectual property rights, copyright, patent, trademark, trade secret or other proprietary
              rights or rights of publicity or privacy;
          g. post, email or otherwise transmit any malicious code, files or programs designed to
              interrupt, damage, destroy or limit the functionality of the Lyft Platform or any computer
              software or hardware or telecommunications equipment or surreptitiously intercept or
              expropriate any system, data or personal information;
          h. forge headers or otherwise manipulate identifiers in order to disguise the origin of any
              information transmitted through the Lyft Platform;
           i. “frame” or “mirror” any part of the Lyft Platform, without our prior written authorization or
              use meta tags or code or other devices containing any reference to us in order to direct
              any person to any other website for any purpose;
           j. modify, adapt, translate, reverse engineer, decipher, decompile or otherwise
              disassemble any portion of the Lyft Platform;
          k. rent, lease, lend, sell, redistribute, license or sublicense the Lyft Platform or access to
              any portion of the Lyft Platform;
           l. use any robot, spider, site search/retrieval application, or other manual or automatic
              device or process to retrieve, index, scrape, “data mine”, copy, access, acquire
              information, generate impressions or clicks, input or store information, search, monitor
              any portion of the Lyft Platform, or in any way reproduce or circumvent the navigational
              structure or presentation of the Lyft Platform or its contents;
          m. link directly or indirectly to any other websites;
          n. transfer, lend, or sell your User account, password and/or identification, or any other
              User’s Information to any other party;

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           o. use a false email address or other identifying information, impersonate or misrepresent
               any person or entity, or your affiliation with any person or entity, or otherwise omit,
               misrepresent, or mislead as to the origin or source of any entity accessing the Lyft
               Platform;
           p. discriminate against or harass anyone on the basis of race, national origin, religion,
               gender, gender identity or expression, physical or mental disability, medical condition,
               marital status, age or sexual orientation;
           q. violate any of the Referral Program rules if you participate in the Referral Program;
            r. commercialize the Rideshare Services, Third-Party Services, or our Lyft Services withou
               an agreement directly with Lyft;
           s. misuse or abuse the Rideshare Services, Third-Party Services, or our Lyft Services in
               violation of eligibility requirements as determined by Lyft;
            t. violate Lyft’s Policy Against Sexual Assault, Misconduct, and Harassment;
           u. circumvent any measures implemented by Lyft to prevent or address violations of this
               Agreement; or
           v. cause any third party to engage in the restricted activities above.

     Should you suspect that any unauthorized party may be using your User account or you
     suspect any other breach of security or violation of this Agreement, you agree to notify us
     immediately.


     Driver Representations,
     Warranties and Agreements
     By providing Rideshare Services as a Driver on the Lyft Platform, you represent, warrant, and
     agree that:

           a. You possess a valid driver’s license and are authorized and medically fit to operate a
              motor vehicle and have all appropriate licenses, approvals and authority to provide
              transportation to Riders in all jurisdictions in which you provide Rideshare Services.
           b. You own, or have the legal right to operate, the vehicle you use when providing
              Rideshare Services; such vehicle is in good operating condition and meets the industry
              safety standards and all applicable statutory and state department of motor vehicle
              requirements for a vehicle of its kind; and any and all applicable safety recalls have been
              or will be remedied per manufacturer instructions.
           c. You will not engage in reckless behavior while driving or otherwise providing Rideshare
              Services, drive unsafely, operate a vehicle that is unsafe to drive, permit an unauthorized
              third party to accompany you in the vehicle while providing Rideshare Services, provide
              Rideshare Services as a Driver while under the influence of alcohol or drugs, or take
              action that harms or threatens to harm the safety of the Lyft community or third parties.
           d. You will only provide Rideshare Services using the vehicle that has been reported to,
              and approved by Lyft, and you will not transport more passengers than can securely be
              seated in such vehicle (and no more than seven (7) passengers in any instance).


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           e. You will not, while providing the Rideshare Services, operate as a public or common
               carrier or taxi service, accept street hails, charge for rides (except as expressly provided
               in this Agreement), demand that a rider pay in cash, or use a credit card reader, such as
               a Square Reader, to accept payment or engage in any other activity in a manner that is
               inconsistent with your obligations under this Agreement.
            f. You will not attempt to defraud Lyft or Riders on the Lyft Platform or in connection with
               your provision of Rideshare Services. If we suspect that you have engaged in fraudulent
               activity we may withhold applicable Fares or other payments for the ride(s) in question
               and take any other action against you available under the law.
           g. You will not discriminate against Riders with disabilities and agree to review Lyft’s Anti-
               Discrimination Policies. You will make reasonable accommodations as required by law
               and our Service Animal Policy and Wheelchair Policy for Riders who travel with their
               service animals or who use wheelchairs (or other mobility devices) that can be folded for
               safe and secure storage in the car’s trunk or backseat.
           h. You agree that we may obtain information about you, including your criminal and driving
               records, and you agree to provide any further necessary authorizations to facilitate our
               access to such records during the term of the Agreement.
            i. You have a valid policy of liability insurance (in coverage amounts consistent with all
               applicable legal requirements) that names or schedules you for the operation of the
               vehicle you use to provide Rideshare Services, and you agree to provide proof of such
               insurance and that information regarding such insurance may be released to Lyft upon
               Lyft’s reasonable request.
            j. You will pay all applicable federal, state and local taxes based on your provision of
               Rideshare Services and any payments received by you.
           k. You will comply with Lyft’s reasonable requests to provide information in connection with
               Rider complaints, law enforcement requests, or any other incident.


     Intellectual Property
     All intellectual property rights in and to the Lyft Platform shall be owned by Lyft absolutely and
     in their entirety. These rights include database rights, inventions and patentable subject-matter
     patents, copyright, design rights (whether registered or unregistered), trademarks (whether
     registered or unregistered) and other similar rights wherever existing in the world together with
     the right to apply for protection of the same. All other trademarks, logos, service marks,
     company or product names set forth in the Lyft Platform are the property of their respective
     owners. You acknowledge and agree that any questions, comments, suggestions, ideas,
     feedback or other information (“Submissions”) provided by you to us are non-confidential and
     shall become the sole property of Lyft. Lyft shall own exclusive rights, including all intellectual
     property rights, and shall be entitled to the unrestricted use and dissemination of these
     Submissions for any purpose, commercial or otherwise, without acknowledgment or
     compensation to you. Except for the explicit license grants hereunder, nothing in this
     Agreement shall be construed to transfer ownership of or grant a license under any intellectual
     property rights.


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     LYFT and other Lyft logos, designs, graphics, icons, scripts and service names are registered
     trademarks, trademarks or trade dress of Lyft in the United States and/or other countries
     (collectively, the “Lyft Marks”). If you provide Rideshare Services as a Driver, Lyft grants to you
     during the term of this Agreement, and subject to your compliance with the terms and
     conditions of this Agreement, a limited, revocable, non-exclusive license to display and use the
     Lyft Marks solely on the Lyft stickers/decals, and any other Lyft-branded items provided by Lyft
     directly to you in connection with providing the Rideshare Services (“License”). The License is
     non-transferable and non-assignable, and you shall not grant to any third party any right,
     permission, license or sublicense with respect to any of the rights granted hereunder without
     Lyft’s prior written permission, which it may withhold in its sole discretion. The Lyft logo (or any
     Lyft Marks) may not be used in any manner that is likely to cause confusion, including but not
     limited to: use of a Lyft Mark in a domain name or Lyft referral code, or use of a Lyft Mark as a
     social media handle or name, avatar, profile photo, icon, favicon, or banner. You may identify
     yourself as a Driver on the Lyft Platform, but may not misidentify yourself as Lyft, an employee
     of Lyft, or a representative or agent of Lyft.

     You acknowledge that Lyft is the owner and licensor of the Lyft Marks, including all goodwill
     associated therewith, and that your use of the Lyft logo (or any Lyft Marks) will confer no
     interest in or ownership of the Lyft Marks in you but rather inures to the benefit of Lyft. You
     agree to use the Lyft logo strictly in accordance with Lyft’s Brand Guidelines, as may be
     provided to you and revised from time to time, and to immediately cease any use that Lyft
     determines to be nonconforming or otherwise unacceptable.

     You agree that you will not: (1) create any materials that use the Lyft Marks or any derivatives
     of the Lyft Marks as a trademark, service mark, trade name or trade dress, other than as
     expressly approved by Lyft in writing; (2) use the Lyft Marks in any way that tends to impair
     their validity as proprietary trademarks, service marks, trade names or trade dress, or use the
     Lyft Marks other than in accordance with the terms, conditions and restrictions herein; (3) take
     any other action that would jeopardize or impair Lyft’s rights as owner of the Lyft Marks or the
     legality and/or enforceability of the Lyft Marks, including, challenging or opposing Lyft’s
     ownership in the Lyft Marks; (4) apply for trademark registration or renewal of trademark
     registration of any of the Lyft Marks, any derivative of the Lyft Marks, any combination of the
     Lyft Marks and any other name, or any trademark, service mark, trade name, symbol or word
     which is similar to the Lyft Marks; (5) use the Lyft Marks on or in connection with any product,
     service or activity that is in violation of any law, statute, government regulation or standard.

     You agree you will not rent, lease, lend, sell, or otherwise redistribute the Lyft driver amp, or
     manufacture, produce, print, sell, distribute, purchase, or display counterfeit/inauthentic Lyft
     driver amps or other Lyft Marks or (including but not limited to signage, stickers, apparel, or
     decals) from any source other than directly from Lyft.


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     Violation of any provision of this License may result in immediate termination of the License, in
     Lyft’s sole discretion, a takedown request sent to the appropriate ISP, or social media platform,
     and/or a Uniform Domain-Name Dispute-Resolution Policy Proceeding (or equivalent
     proceeding). If you create any materials (physical or digital) bearing the Lyft Marks (in violation
     of this Agreement or otherwise), you agree that upon their creation Lyft exclusively owns all
     right, title and interest in and to such materials, including any modifications to the Lyft Marks or
     derivative works based on the Lyft Marks or Lyft copyrights. You further agree to assign any
     interest or right you may have in such materials to Lyft, and to provide information and execute
     any documents as reasonably requested by Lyft to enable Lyft to formalize such assignment.

     Lyft respects the intellectual property of others, and expects Users to do the same. If you
     believe, in good faith, that any materials on the Lyft Platform infringe upon your copyrights,
     please view our Copyright Policy for information on how to make a copyright complaint.


     Disclaimers
     The following disclaimers are made on behalf of Lyft, our affiliates, subsidiaries, parents,
     successors and assigns, and each of our respective officers, directors, employees, agents, and
     shareholders.

     Lyft does not provide transportation services, and Lyft is not a transportation carrier. Lyft is not
     a common carrier or public carrier. It is up to the Driver to decide whether or not to offer a ride
     to a Rider contacted through the Lyft Platform, and it is up to the Rider to decide whether or no
     to accept a ride from any Driver contacted through the Lyft Platform. We cannot ensure that a
     Driver or Rider will complete an arranged transportation service. We have no control over the
     quality or safety of the transportation that occurs as a result of the Rideshare Services. Any
     safety-related feature, process, policy, standard, or other effort undertaken by Lyft is not an
     indication of any employment or agency relationship with any User.

     The Lyft Platform is provided on an “as is” basis and without any warranty or condition,
     express, implied or statutory. We do not guarantee and do not promise any specific results
     from use of the Lyft Platform, Lyft Services, Third-Party Services, and/or the Rideshare
     Services, including the ability to provide or receive Rideshare Services at any given location or
     time. Lyft reserves the right, for example, to limit or eliminate access to the Lyft Platform for
     Rideshare Services, Third-Party Services, and/or Lyft Services in specific geographic areas
     and/or at specific times based on commercial viability, public health concerns, or changes in
     law. To the fullest extent permitted by law, we specifically disclaim any implied warranties of
     title, merchantability, fitness for a particular purpose and non-infringement. Some states do not
     allow the disclaimer of implied warranties, so the foregoing disclaimer may not apply to you.



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     We do not warrant that your use of the Lyft Platform, Lyft Services, Third-Party Services, or
     Rideshare Services will be accurate, complete, reliable, current, secure, uninterrupted, always
     available, or error-free, or will meet your requirements, that any defects in the Lyft Platform will
     be corrected, or that the Lyft Platform is free of viruses or other harmful components. We
     disclaim liability for, and no warranty is made with respect to, connectivity, availability, accuracy
     completeness, and reliability of the Lyft Platform, Lyft Services, Third-Party Services, or
     Rideshare Services, including with respect to mapping, navigation, estimated times of arrival,
     and routing services. You are responsible at all times for your conduct and the consequences
     of your conduct while using the Lyft Platform.

     We cannot guarantee that each Rider or Driver is who he or she claims to be. Please use
     common sense when using the Lyft Platform, Lyft Services, Third-Party Services, and
     Rideshare Services, including looking at the photos of the Driver or Rider you have matched
     with to make sure it is the same individual you see in person. Please note that there are also
     risks of dealing with underage persons or people acting under false pretense, and we do not
     accept responsibility or liability for any content, communication or other use or access of the
     Lyft Platform by persons under the age of 18 in violation of this Agreement. We encourage you
     to communicate directly with each potential Driver or Rider prior to engaging in an arranged
     transportation service.

     Lyft is not responsible for the conduct, whether online or offline, of any User of the Lyft
     Platform, Lyft Services, Third-Party Services, or Rideshare Services. You are solely
     responsible for your interactions with other Users. We do not procure insurance for, nor are we
     responsible for, personal belongings left in the car by Drivers or Riders. By using the Lyft
     Platform, Lyft Services, Third-Party Services, and participating in the Rideshare Services, you
     agree to accept such risks and agree that Lyft is not responsible for the acts or omissions of
     Users on the Lyft Platform, Lyft Services, Third-Party Services, or participating in the Rideshare
     Services.

     You are responsible for the use of your User account and Lyft expressly disclaims any liability
     arising from the unauthorized use of your User account.

     It is possible for others to obtain information about you that you provide, publish or post to or
     through the Lyft Platform (including any profile information you provide), send to other Users, o
     share during the Rideshare Services, and to use such information to harass or harm you. We
     are not responsible for the use of any personal information that you disclose to other Users on
     the Lyft Platform or through the Rideshare Services, Lyft Services, or Third-Party Services.
     Please carefully select the type of information that you post on the Lyft Platform or through the
     Rideshare Services, Lyft Services, or Third-Party Services or release to others. We disclaim all
     liability, regardless of the form of action, for the acts or omissions of other Users (including
     unauthorized users, or “hackers”).

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     Opinions, advice, statements, offers, or other information or content concerning Lyft or made
     available through the Lyft Platform, but not directly by us, are those of their respective authors,
     and should not necessarily be relied upon. Such authors are solely responsible for such
     content. Under no circumstances will we be responsible for any loss or damage resulting from
     your reliance on information or other content posted by third parties, whether on the Lyft
     Platform or otherwise. We reserve the right, but we have no obligation, to monitor the materials
     posted on the Lyft Platform and remove any such material that in our sole opinion violates, or is
     alleged to violate, the law or this agreement or which might be offensive, illegal, or that might
     violate the rights, harm, or threaten the safety of Users or others.

     Location data provided by the Lyft Platform is for basic location purposes only and is not
     intended to be relied upon in situations where precise location information is needed or where
     erroneous, inaccurate or incomplete location data may lead to death, personal injury, property
     or environmental damage. Neither Lyft, nor any of its content providers, guarantees the
     availability, accuracy, completeness, reliability, or timeliness of location data tracked or
     displayed by the Lyft Platform. Any of your Information, including geolocational data, you
     upload, provide, or post on the Lyft Platform may be accessible to Lyft and certain Users of the
     Lyft Platform.

     Lyft advises you to use the Lyft Platform with a data plan with unlimited or very high data usage
     limits, and Lyft shall not be responsible or liable for any fees, costs, or overage charges
     associated with any data plan you use to access the Lyft Platform.

     This paragraph applies to any version of the Lyft Platform that you acquire from the Apple App
     Store. This Agreement is entered into between you and Lyft. Apple, Inc. (“Apple”) is not a party
     to this Agreement and shall have no obligations with respect to the Lyft Platform. Lyft, not
     Apple, is solely responsible for the Lyft Platform and the content thereof as set forth hereunder
     However, Apple and Apple’s subsidiaries are third-party beneficiaries of this Agreement. Upon
     your acceptance of this Agreement, Apple shall have the right (and will be deemed to have
     accepted the right) to enforce this Agreement against you as a third-party beneficiary thereof.
     This Agreement incorporates by reference Apple’s Licensed Application End User License
     Agreement, for purposes of which, you are “the end-user.” In the event of a conflict in the terms
     of the Licensed Application End User License Agreement and this Agreement, the terms of this
     Agreement shall control.

     As a Driver, you may be able to use "Lyft Nav built by Google" while providing Rideshare
     Services on the Lyft Platform. Riders and Drivers may also use Google Maps while using the
     Lyft Platform. In either case, you agree that Google may collect your location data when the
     Lyft Platform is running in order to provide and improve Google's services, that such data may
     also be shared with Lyft in order to improve its operations, and that Google's terms and privacy
     policy will apply to this usage.

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     Lyft shall not be in breach of this Agreement nor liable for failure or delay in performing
     obligations under this Agreement if such failure or delay results from events, circumstances or
     causes beyond its reasonable control including (without limitation) natural disasters or acts of
     God; labor disputes or stoppages; war; government action; epidemic or pandemic; chemical or
     biological contamination; strikes; riots; acts of domestic or international terrorism; quarantines;
     national or regional emergencies; or any other cause, whether similar in kind to the foregoing
     or otherwise, beyond the party’s reasonable control. All service dates under this Agreement
     affected by force majeure shall be tolled for the duration of such force majeure. The parties
     hereby agree, when feasible, not to cancel but reschedule the pertinent obligations as soon as
     practicable after the force majeure condition ceases to exist.


     State and Local Disclosures
     Certain jurisdictions require additional disclosures to you. You can view any disclosures
     required by your local jurisdiction at www.lyft.com/terms/disclosures. Please check regularly for
     updates.



     Indemnity
     You will indemnify and hold harmless and, at Lyft’s election, defend Lyft including our affiliates,
     subsidiaries, parents, successors and assigns, and each of our respective officers, directors,
     employees, agents, or shareholders (collectively, the “Indemnified Parties”) from and against
     any claims, actions, suits, losses, costs, liabilities and expenses (including reasonable
     attorneys’ fees) relating to or arising out of your use of the Lyft Platform, Lyft Services, Third-
     Party Services, and participation in the Rideshare Services, including: (1) your breach of this
     Agreement or the documents it incorporates by reference; (2) your violation of any law or the
     rights of a third party, including, Drivers, Riders, other motorists, and pedestrians, as a result of
     your own interaction with such third party; (3) any allegation that any materials or Information
     that you submit to us or transmit through the Lyft Platform or to us infringes, misappropriates,
     or otherwise violates the copyright, trademark, trade secret or other intellectual property or
     other rights of any third party; (4) your ownership, use or operation of a motor vehicle or
     passenger vehicle, including your provision of Rideshare Services as a Driver; and/or (5) any
     other activities in connection with the Lyft Platform, Lyft Services, Third-Party Services, or
     Rideshare Services. This indemnity shall be applicable without regard to the negligence of any
     party, including any indemnified person. You will not, without Lyft’s prior written consent, agree
     to any settlement on behalf of any Indemnified Party which includes either the obligation to pay
     any monetary amounts, or any admissions of liability, whether civil or criminal, on the part of
     any Indemnified Party.

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     Limitation of Liability
     IN NO EVENT WILL LYFT, INCLUDING OUR AFFILIATES, SUBSIDIARIES, PARENTS,
     SUCCESSORS AND ASSIGNS, AND EACH OF OUR RESPECTIVE OFFICERS,
     DIRECTORS, EMPLOYEES, AGENTS, OR SHAREHOLDERS (COLLECTIVELY “LYFT” FOR
     PURPOSES OF THIS SECTION), BE LIABLE TO YOU FOR ANY INCIDENTAL, SPECIAL,
     EXEMPLARY, PUNITIVE, CONSEQUENTIAL, OR INDIRECT DAMAGES (INCLUDING
     DAMAGES FOR DELETION, CORRUPTION, LOSS OF DATA, LOSS OF PROGRAMS,
     FAILURE TO STORE ANY INFORMATION OR OTHER CONTENT MAINTAINED OR
     TRANSMITTED BY THE LYFT PLATFORM, SERVICE INTERRUPTIONS, OR FOR THE
     COST OF PROCUREMENT OF SUBSTITUTE SERVICES) ARISING OUT OF OR IN
     CONNECTION WITH THE LYFT PLATFORM, LYFT SERVICES, THE RIDESHARE
     SERVICES, OR THIS AGREEMENT, HOWEVER ARISING INCLUDING NEGLIGENCE, EVEN
     IF WE OR OUR AGENTS OR REPRESENTATIVES KNOW OR HAVE BEEN ADVISED OF
     THE POSSIBILITY OF SUCH DAMAGES. THE LYFT PLATFORM MAY BE USED BY YOU TO
     REQUEST AND SCHEDULE TRANSPORTATION, GOODS, OR THIRD-PARTY SERVICES
     WITH THIRD-PARTY PROVIDERS, BUT YOU AGREE THAT LYFT HAS NO
     RESPONSIBILITY OR LIABILITY TO YOU RELATED TO ANY TRANSPORTATION, GOODS,
     OR THIRD-PARTY SERVICES SET FORTH IN THIS AGREEMENT. FOR CLARITY AND
     WITHOUT LIMITING THE FOREGOING, LYFT HAS NO RESPONSIBILITY OR LIABILITY
     FOR ANY DAMAGES ARISING OUT OF OR IN CONNECTION WITH YOUR USE OF OR
     RELIANCE ON TRANSPORTATION, GOODS, OR THIRD-PARTY SERVICES SET FORTH IN
     THIS AGREEMENT OR ANY TRANSACTION OR RELATIONSHIP BETWEEN YOU AND ANY
     THIRD-PARTY PROVIDER. CERTAIN JURISDICTIONS MAY NOT ALLOW THE EXCLUSION
     OR LIMITATION OF CERTAIN DAMAGES. IF THESE LAWS APPLY TO YOU, SOME OR ALL
     OF THE ABOVE DISCLAIMERS, EXCLUSIONS OR LIMITATIONS MAY NOT APPLY TO YOU
     AND YOU MAY HAVE ADDITIONAL RIGHTS.



     Term and Termination
     This Agreement is effective upon your acceptance of this Agreement. This Agreement may be
     terminated: (a) by User, without cause, upon seven (7) days’ prior written notice to Lyft; or (b)
     by either Party immediately, without notice, upon the other Party’s material breach of this
     Agreement, including but not limited to any breach of Section 9 or breach of Section 10(a)-(i) o
     this Agreement. In addition, Lyft may terminate this Agreement or deactivate your User accoun
     immediately in the event: (1) you are no longer eligible to qualify as a User; (2) you no longer
     qualify to provide Rideshare Services or to operate the approved vehicle under applicable law,

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     rule, permit, ordinance or regulation; (3) you fall below Lyft’s star rating or cancellation
     threshold; or (4) Lyft has the good faith belief that such action is necessary to protect the safety
     of the Lyft community or third parties, provided that in the event of a deactivation pursuant to
     (1)-(4) above, you will be given notice of the potential or actual deactivation and an opportunity
     to attempt to cure the issue to Lyft’s reasonable satisfaction prior to Lyft permanently
     terminating the Agreement. For all other breaches of this Agreement, you will be provided
     notice and an opportunity to cure the breach. If the breach is cured in a timely manner and to
     Lyft’s satisfaction, this Agreement will not be permanently terminated. Sections 2, 6, 7 (with
     respect to the license), 11-12, 14-19, and 21 shall survive any termination or expiration of this
     Agreement.


     DISPUTE RESOLUTION AND
     ARBITRATION AGREEMENT
     (a) Agreement to Binding Arbitration Between You and Lyft.
     YOU AND LYFT MUTUALLY AGREE TO WAIVE OUR RESPECTIVE RIGHTS TO
     RESOLUTION OF DISPUTES IN A COURT OF LAW BY A JUDGE OR JURY AND AGREE TO
     RESOLVE ANY DISPUTE BY ARBITRATION, as set forth below. This agreement to arbitrate
     (“Arbitration Agreement”) is governed by the Federal Arbitration Act (“FAA”); but if the FAA is
     inapplicable for any reason, then this Arbitration Agreement is governed by the laws of the
     State of Delaware, including Del. Code tit. 10, § 5701 et seq., without regard to choice of law
     principles. This Arbitration Agreement survives after the Agreement terminates or your
     relationship with Lyft ends. ANY ARBITRATION UNDER THIS AGREEMENT WILL TAKE
     PLACE ON AN INDIVIDUAL BASIS; CLASS ARBITRATIONS AND CLASS ACTIONS ARE
     NOT PERMITTED. Except as expressly provided below, this Arbitration Agreement applies to
     all Claims (defined below) between you and Lyft, including our affiliates, subsidiaries, parents,
     successors and assigns, and each of our respective officers, directors, employees, agents, or
     shareholders. This Arbitration Agreement also applies to claims between you and Lyft’s service
     providers, including but not limited to background check providers and payment processors;
     and such service providers shall be considered intended third-party beneficiaries of this
     Arbitration Agreement.

     Except as expressly provided below, ALL DISPUTES AND CLAIMS BETWEEN US (EACH A
     “CLAIM” AND COLLECTIVELY, “CLAIMS”) SHALL BE EXCLUSIVELY RESOLVED BY
     BINDING ARBITRATION SOLELY BETWEEN YOU AND LYFT. These Claims include, but are
     not limited to, any dispute, claim or controversy, whether based on past, present, or future
     events, arising out of or relating to: this Agreement and prior versions thereof (including the
     breach, termination, enforcement, interpretation or validity thereof), the Lyft Platform, the
     Rideshare Services, the Lyft Services, Lyft promotions, gift card, referrals or loyalty programs,
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     the Lyft Tablet, any other goods or services made available through the Lyft Platform by Lyft or
     a third-party provider, your relationship with Lyft, the threatened or actual suspension,
     deactivation or termination of your User Account or this Agreement, background checks
     performed by or on Lyft’s behalf, payments made by you or any payments made or allegedly
     owed to you, any promotions or offers made by Lyft, any city, county, state or federal wage-
     hour law, trade secrets, unfair competition, compensation, breaks and rest periods, expense
     reimbursement, wrongful termination, discrimination, harassment, retaliation, fraud,
     defamation, emotional distress, breach of any express or implied contract or covenant, claims
     arising under federal or state consumer protection laws; claims arising under antitrust laws,
     claims arising under the Telephone Consumer Protection Act and Fair Credit Reporting Act;
     and claims arising under the Uniform Trade Secrets Act, Civil Rights Act of 1964, Americans
     With Disabilities Act, Age Discrimination in Employment Act, Older Workers Benefit Protection
     Act, Family Medical Leave Act, Fair Labor Standards Act, Employee Retirement Income
     Security Act of 1974 (except for individual claims for employee benefits under any benefit plan
     sponsored by Lyft and covered by the Employee Retirement Income Security Act of 1974 or
     funded by insurance), and state statutes, if any, addressing the same or similar subject
     matters, and all other federal and state statutory and common law claims. All disputes
     concerning the arbitrability of a Claim (including disputes about the scope, applicability,
     enforceability, revocability or validity of the Arbitration Agreement) shall be decided by the
     arbitrator, except as expressly provided below.

     BY AGREEING TO ARBITRATION, YOU UNDERSTAND THAT YOU AND LYFT ARE
     WAIVING THE RIGHT TO SUE IN COURT OR HAVE A JURY TRIAL FOR ALL CLAIMS,
     EXCEPT AS EXPRESSLY OTHERWISE PROVIDED IN THIS ARBITRATION AGREEMENT.
     This Arbitration Agreement is intended to require arbitration of every claim or dispute that can
     lawfully be arbitrated, except for those claims and disputes which by the terms of this
     Arbitration Agreement are expressly excluded from the requirement to arbitrate.

     (b) Prohibition of Class Actions and Non-Individualized Relief.
     YOU UNDERSTAND AND AGREE THAT YOU AND LYFT MAY EACH BRING CLAIMS IN
     ARBITRATION AGAINST THE OTHER ONLY IN AN INDIVIDUAL CAPACITY AND NOT ON A
     CLASS, COLLECTIVE ACTION, OR REPRESENTATIVE BASIS (“CLASS ACTION WAIVER”).
     YOU UNDERSTAND AND AGREE THAT YOU AND LYFT BOTH ARE WAIVING THE RIGHT
     TO PURSUE OR HAVE A DISPUTE RESOLVED AS A PLAINTIFF OR CLASS MEMBER IN
     ANY PURPORTED CLASS, COLLECTIVE OR REPRESENTATIVE PROCEEDING.
     NOTWITHSTANDING THE FOREGOING, THIS SUBSECTION (B) SHALL NOT APPLY TO
     REPRESENTATIVE PRIVATE ATTORNEYS GENERAL ACT CLAIMS BROUGHT AGAINST
     LYFT, WHICH ARE ADDRESSED SEPARATELY IN SECTION 17(C).

     The arbitrator shall have no authority to consider or resolve any Claim or issue any relief on
     any basis other than an individual basis. The arbitrator shall have no authority to consider or
     resolve any Claim or issue any relief on a class, collective, or representative basis. The
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     arbitrator may award declaratory or injunctive relief only in favor of the individual party seeking
     relief and only to the extent necessary to provide relief warranted by that party's individual
     claims.

     Notwithstanding any other provision of this Agreement, the Arbitration Agreement or the AAA
     Rules, disputes regarding the interpretation, applicability, or enforceability of the Class Action
     Waiver may be resolved only by a court and not by an arbitrator. In any case in which: (1) the
     dispute is filed as a class, collective, or representative action and (2) there is a final judicial
     determination that the Class Action Waiver is unenforceable with respect to any Claim or any
     particular remedy for a Claim (such as a request for public injunctive relief), then that Claim or
     particular remedy (and only that Claim or particular remedy) shall be severed from any
     remaining claims and/or remedies and may be brought in a court of competent jurisdiction, but
     the Class Action Waiver shall be enforced in arbitration on an individual basis as to all other
     Claims or remedies to the fullest extent possible.

     (c) Representative PAGA Waiver.
     Notwithstanding any other provision of this Agreement or the Arbitration Agreement, to the
     fullest extent permitted by law: (1) you and Lyft agree not to bring a representative action on
     behalf of others under the Private Attorneys General Act of 2004 (“PAGA”), California Labor
     Code § 2698 et seq., in any court or in arbitration, and (2) for any claim brought on a private
     attorney general basis, including under the California PAGA, both you and Lyft agree that any
     such dispute shall be resolved in arbitration on an individual basis only (i.e., to resolve whether
     you have personally been aggrieved or subject to any violations of law), and that such an
     action may not be used to resolve the claims or rights of other individuals in a single or
     collective proceeding (i.e., to resolve whether other individuals have been aggrieved or subject
     to any violations of law) (collectively, “representative PAGA Waiver”). Notwithstanding any othe
     provision of this Agreement, the Arbitration Agreement or the AAA Rules, disputes regarding
     the scope, applicability, enforceability, revocability or validity of this representative PAGA
     Waiver may be resolved only by a civil court of competent jurisdiction and not by an arbitrator.
     If any provision of this representative PAGA Waiver is found to be unenforceable or unlawful fo
     any reason: (i) the unenforceable provision shall be severed from this Agreement; (ii)
     severance of the unenforceable provision shall have no impact whatsoever on the Arbitration
     Agreement or the requirement that any remaining Claims be arbitrated on an individual basis
     pursuant to the Arbitration Agreement; and (iii) any such representative PAGA or other
     representative private attorneys general act claims must be litigated in a civil court of
     competent jurisdiction and not in arbitration. To the extent that there are any Claims to be
     litigated in a civil court of competent jurisdiction because a civil court of competent jurisdiction
     determines that the representative PAGA Waiver is unenforceable with respect to those
     Claims, the Parties agree that litigation of those Claims shall be stayed pending the outcome o
     any individual Claims in arbitration.

     (d) Rules Governing the Arbitration.

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     Any arbitration conducted pursuant to this Arbitration Agreement shall be administered by the
     American Arbitration Association (“AAA”) pursuant to its Consumer Arbitration Rules that are in
     effect at the time the arbitration is initiated, as modified by the terms set forth in this Agreement
     Copies of these rules can be obtained at the AAA’s website (www.adr.org) (the “AAA Rules”).
     Notwithstanding the foregoing, if requested by you and if proper based on the facts and
     circumstances of the Claims presented, the arbitrator shall have the discretion to select a
     different set of AAA Rules, but in no event shall the arbitrator consolidate more than one
     person’s Claims, or otherwise preside over any form of representative, collective, or class
     proceeding. The parties may select a different arbitration administrator upon mutual written
     agreement.

     As part of the arbitration, both you and Lyft will have the opportunity for reasonable discovery
     of non-privileged information that is relevant to the Claim. The arbitrator may award any
     individualized remedies that would be available in court. The arbitrator may award declaratory
     or injunctive relief only in favor of the individual party seeking relief and only to the extent
     necessary to provide relief warranted by that party's individual claims. The arbitrator will
     provide a reasoned written statement of the arbitrator’s decision which shall explain the award
     given and the findings and conclusions on which the decision is based.

     The arbitrator will decide the substance of all claims in accordance with applicable law, and wil
     honor all claims of privilege recognized by law. The arbitrator shall not be bound by rulings in
     prior arbitrations involving different Riders or Drivers, but is bound by rulings in prior
     arbitrations involving the same Rider or Driver to the extent required by applicable law. The
     arbitrator’s award shall be final and binding and judgment on the award rendered by the
     arbitrator may be entered in any court having jurisdiction thereof, provided that any award may
     be challenged in a court of competent jurisdiction.

     (e) Arbitration Fees and Awards.
     The payment of filing and arbitration fees will be governed by the relevant AAA Rules subject to
     the following modifications:

           1. If Lyft initiates arbitration under this Arbitration Agreement, Lyft will pay all AAA filing and
              arbitration fees.
           2. With respect to any Claims brought by Lyft against a Driver, or for Claims brought by a
              Driver against Lyft that: (A) are based on an alleged employment relationship between
              Lyft and a Driver; (B) arise out of, or relate to, Lyft’s actual deactivation of a Driver’s Use
              account or a threat by Lyft to deactivate a Driver’s User account; (C) arise out of, or
              relate to, Lyft’s actual termination of a Driver’s Agreement with Lyft under the termination
              provisions of this Agreement, or a threat by Lyft to terminate a Driver’s Agreement; (D)
              arise out of, or relate to, Fares (as defined in this Agreement, including Lyft’s commission
              or fees on the Fares), tips, or average hourly guarantees owed by Lyft to Drivers for
              Rideshare Services, other than disputes relating to referral bonuses, other Lyft
              promotions, or consumer-type disputes, or (E) arise out of or relate to background
              checks performed in connection with a user seeking to become a Driver (the subset of
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              Claims in subsections (A)-(E) shall be collectively referred to as “Driver Claims”), Lyft
              shall pay all costs unique to arbitration (as compared to the costs of adjudicating the
              same claims before a court), including the regular and customary arbitration fees and
              expenses (to the extent not paid by Lyft pursuant to the fee provisions above). However,
              if you are the party initiating the Driver Claim, you shall be responsible for contributing up
              to an amount equal to the filing fee that would be paid to initiate the claim in the court of
              general jurisdiction in the state in which you provide Rideshare Services to Riders,
              unless a lower fee amount would be owed by you pursuant to the AAA Rules, applicable
              law, or subsection (e)(1) above. Any dispute as to whether a cost is unique to arbitration
              shall be resolved by the arbitrator. For purposes of this Section 17(e)(2), the term
              “Driver” shall be deemed to include both Drivers and Driver applicants who have not
              been approved to drive.
           3. Except as provided in Federal Rule of Civil Procedure 68 or any state equivalents, each
              party shall pay its own attorneys’ fees and pay any costs that are not unique to the
              arbitration (i.e., costs that each party would incur if the claim(s) were litigated in a court
              such as costs to subpoena witnesses and/or documents, take depositions and purchase
              deposition transcripts, copy documents, etc.).
           4. At the end of any arbitration, the arbitrator may award reasonable fees and costs or any
              portion thereof to you if you prevail, to the extent authorized by applicable law.
           5. Although under some laws Lyft may have a right to an award of attorneys' fees and non-
              filing fee expenses if it prevails in an arbitration, Lyft agrees that it will not seek such an
              award unless you are represented by an attorney or the arbitrator has determined that
              the claim is frivolous or brought for an improper purpose (as measured by the standards
              of Federal Rule of Civil Procedure 11(b)).
           6. If the arbitrator issues you an award that is greater than the value of Lyft’s last written
              settlement offer made after you participated in good faith in the optional Negotiation
              process described in subsection (k) below, then Lyft will pay you the amount of the
              award or U.S. $1,000, whichever is greater.

     (f) Location and Manner of Arbitration.
     Unless you and Lyft agree otherwise, any arbitration hearings between Lyft and a Rider will
     take place in the county of your billing address, and any arbitration hearings between Lyft and
     a Driver will take place in the county in which the Driver provides Rideshare Services. If AAA
     arbitration is unavailable in your county, the arbitration hearings will take place in the nearest
     available location for a AAA arbitration. Your right to a hearing will be determined by the AAA
     Rules.

     (g) Exceptions to Arbitration.
     This Arbitration Agreement shall not require arbitration of the following types of claims: (1)
     small claims actions brought on an individual basis that are within the scope of such small
     claims court’s jurisdiction; (2) a representative action brought on behalf of others under PAGA
     or other private attorneys general acts, to the extent the representative PAGA Waiver in
     Section 17(c) of such action is deemed unenforceable by a court of competent jurisdiction
     under applicable law not preempted by the FAA; (3) claims for workers’ compensation, state
     disability insurance and unemployment insurance benefits; (4) claims that may not be subject
     to arbitration as a matter of generally applicable law not preempted by the FAA; and (5)

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     individual claims of sexual assault or sexual harassment in connection with the use of the Lyft
     Platform, Lyft Services, or Rideshare Services. Where these claims are brought in a court of
     competent jurisdiction, Lyft will not require arbitration of those claims. Lyft’s agreement not to
     require arbitration of these claims does not waive the enforceability of any other provision of
     this Arbitration Agreement (including without limitation the waivers provided in Section 17(b)),
     or of the enforceability of this Arbitration Agreement as to any other dispute, claim, or
     controversy.

     Nothing in this Arbitration Agreement prevents you from making a report to or filing a claim or
     charge with the Equal Employment Opportunity Commission, U.S. Department of Labor,
     Securities Exchange Commission, National Labor Relations Board (“NLRB”), or Office of
     Federal Contract Compliance Programs, or similar local, state or federal agency, and nothing in
     this Arbitration Agreement shall be deemed to preclude or excuse a party from bringing an
     administrative claim before any agency in order to fulfill the party's obligation to exhaust
     administrative remedies before making a claim in arbitration However, should you bring an
     administrative claim, you may only seek or recover money damages of any type pursuant to
     this Arbitration Provision, and you knowingly and voluntarily waive the right to seek or recover
     money damages of any type pursuant to any administrative complaint, except for a complaint
     issued by the NLRB. Should you participate in an NLRB proceeding, you may only recover
     money damages if such recovery does not arise from or relate to a claim previously
     adjudicated under this Arbitration Provision or settled by you. Similarly, you may not recover
     money damages under this Arbitration Provision if you have already adjudicated such claim
     with the NLRB. Nothing in this Agreement or Arbitration Agreement prevents your participation
     in an investigation by a government agency of any report, claim or charge otherwise covered
     by this Arbitration Provision.

     (h) Severability.
     Except as otherwise provided in the severability provisions in subsections (b) and (c) above, in
     the event that any portion of this Arbitration Agreement is deemed illegal or unenforceable
     under applicable law not preempted by the FAA, such provision shall be severed and the
     remainder of the Arbitration Agreement shall be given full force and effect.

     (i) Driver Claims in Pending Settlement.
     If you are a member of a putative class in a lawsuit against Lyft involving Driver Claims and a
     Motion for Preliminary Approval of a Settlement has been filed with the court in that lawsuit
     prior to this Agreement’s effective date (a “Pending Settlement Action”), then this Arbitration
     Agreement shall not apply to your Driver Claims in that particular class action. Instead, your
     Driver Claims in that Pending Settlement Action shall continue to be governed by the arbitration
     provisions contained in the applicable Agreement that you accepted prior to this Agreement’s
     effective date.

     (j) Opting Out of Arbitration for Driver Claims That Are Not In a Pending Settlement Action.


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     As a Driver or Driver applicant, you may opt out of the requirement to arbitrate Driver Claims
     defined in Section 17(e)(2) (except as limited by Section 17(i) above) pursuant to the terms of
     this subsection if you have not previously agreed to an arbitration provision in Lyft’s Terms of
     Service where you had the opportunity to opt out of the requirement to arbitrate. If you have
     previously agreed to such an arbitration provision, you may opt out of any revisions to your
     prior arbitration agreement made by this provision in the manner specified below, but opting ou
     of this arbitration provision has no effect on any previous, other, or future arbitration
     agreements that you may have with Lyft. If you have not previously agreed to such an
     arbitration provision and do not wish to be subject to this Arbitration Agreement with respect to
     Driver Claims, you may opt out of arbitration with respect to such Driver Claims, other than
     those in a Pending Settlement Action, by notifying Lyft in writing of your desire to opt out of
     arbitration for such Driver Claims, which writing must be dated, signed and delivered by
     electronic mail to arbitrationoptout@lyft.com.

     In order to be effective, (A) the writing must clearly indicate your intent to opt out of this
     Arbitration Agreement with respect to Driver Claims that are not part of a Pending Settlement
     Action, (B) the writing must include the name, phone number, and email address associated
     with your User Account, and (C) the email containing the signed writing must be sent within 30
     days after the date this Agreement is executed by you. Should you not opt out within the 30-
     day period, you and Lyft shall be bound by the terms of this Arbitration Agreement in full
     (including with respect to Driver Claims that are not part of a Pending Settlement Action). As
     provided in paragraph 17(i) above, any opt out that you submit shall not apply to any Driver
     Claims that are part of a Pending Settlement Action and your Driver Claims in any such
     Pending Settlement Action shall continue to be governed by the arbitration provisions that are
     contained in the applicable Lyft Terms of Use that you agreed to prior to the effective date of
     this Agreement.

     Cases have been filed against Lyft and may be filed in the future involving Driver Claims. You
     should assume that there are now, and may be in the future, lawsuits against Lyft alleging
     class, collective, and/or representative Driver Claims in which the plaintiffs seek to act on your
     behalf, and which, if successful, could result in some monetary recovery to you. But if you do
     agree to arbitration of Driver Claims with Lyft under this Arbitration Agreement, you are
     agreeing in advance that you will bring all such claims, and seek all monetary and other relief,
     against Lyft in an individual arbitration, except for the Driver Claims that are part of a Pending
     Settlement Action. You are also agreeing in advance that you will not participate in, or seek to
     recover monetary or other relief, for such claims in any court action or class, collective, and/or
     representative action. You have the right to consult with counsel of your choice concerning this
     Arbitration Agreement and you will not be subject to retaliation if you exercise your right to
     assert claims or opt- out of any Driver Claims under this Arbitration Agreement.

     (k) Optional Pre-Arbitration Negotiation Process.


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     Before initiating any arbitration or proceeding, you and Lyft may agree to first attempt to
     negotiate any dispute, claim or controversy between the parties informally for 30 days, unless
     this time period is mutually extended by you and Lyft. A party who intends to seek negotiation
     under this subsection must first send to the other a written notice of the dispute (“Notice”). The
     Notice must (1) describe the nature and basis of the claim or dispute; and (2) set forth the
     specific relief sought. All offers, promises, conduct and statements, whether oral or written,
     made in the course of the negotiation by any of the parties, their agents, employees, and
     attorneys are confidential, privileged and inadmissible for any purpose, including as evidence
     of liability or for impeachment, in arbitration or other proceeding involving the parties, provided
     that evidence that is otherwise admissible or discoverable shall not be rendered inadmissible
     or as this could violate HIPAA non-discoverable as a result of its use in the negotiation.

     (l) Binding Effect; Third-Party Beneficiaries.
     This Arbitration Agreement shall be binding upon, and shall include any claims brought by or
     against any third parties, including but not limited to your spouses, heirs, third-party
     beneficiaries and permitted assigns, where their underlying claim(s) arise out of or relate to
     your use of the Lyft Platform, Lyft Services, or Rideshare Services. To the extent that any third-
     party beneficiary to this Agreement brings claims against a party, those claims shall also be
     subject to this Arbitration Agreement.


     Confidentiality
     You agree not to use any technical, financial, strategic and other proprietary and confidential
     information relating to Lyft’s business, operations and properties, information about a User
     made available to you in connection with such User’s use of the Lyft Platform, which may
     include the User’s name, pick-up location, contact information and photo (“Confidential
     Information”) disclosed to you by Lyft for your own use or for any purpose other than as
     contemplated herein. You shall not disclose or permit disclosure of any Confidential Information
     to third parties, and you agree not to store separate and outside of the Lyft Platform any
     Confidential Information obtained from the Lyft Platform. As a Driver, you understand that some
     of the Confidential Information you receive may be protected by federal and/or state
     confidentiality laws, such as the Health Information Portability and Accountability Act of 1996
     (“HIPAA”), governing the privacy and security of protected (patient) health information. In the
     event that you know a Rider, you should not disclose to anyone the identity of the Rider or the
     location that you picked up, or dropped off the Rider, as this could violate HIPAA. You
     understand that any violation of the Agreement’s confidentiality provisions may violate HIPAA
     or state confidentiality laws and could result in civil or criminal penalties against you. You agree
     to take all reasonable measures to protect the secrecy of and avoid disclosure or use of
     Confidential Information of Lyft in order to prevent it from falling into the public domain.
     Notwithstanding the above, you shall not have liability to Lyft with regard to any Confidential

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     Information which you can prove: was in the public domain at the time it was disclosed by Lyft
     or has entered the public domain through no fault of yours; was known to you, without
     restriction, at the time of disclosure, as demonstrated by files in existence at the time of
     disclosure; is disclosed with the prior written approval of Lyft; becomes known to you, without
     restriction, from a source other than Lyft without breach of this Agreement by you and
     otherwise not in violation of Lyft’s rights; or is disclosed pursuant to the order or requirement of
     a court, administrative agency, or other governmental body; provided, however, that You shall
     provide prompt notice of such court order or requirement to Lyft to enable Lyft to seek a
     protective order or otherwise prevent or restrict such disclosure.


     Relationship with Lyft
     As a Driver on the Lyft Platform, you acknowledge and agree that you and Lyft are in a direct
     business relationship, and the relationship between the parties under this Agreement is solely
     that of independent contracting parties. You and Lyft expressly agree that (1) this is not an
     employment agreement and does not create an employment relationship between you and
     Lyft; and (2) no joint venture, franchisor- franchisee, partnership, or agency relationship is
     intended or created by this Agreement. You have no authority to bind Lyft, and you undertake
     not to hold yourself out as an employee, agent or authorized representative of Lyft.

     Lyft does not, and shall not be deemed to, direct or control you generally or in your
     performance under this Agreement specifically, including in connection with your provision of
     Rideshare Services, your acts or omissions, or your operation and maintenance of your
     vehicle. You retain the sole right to determine when, where, and for how long you will utilize the
     Lyft Platform. Lyft does not, and shall not be deemed to, unilaterally prescribe specific dates,
     times of day, or any minimum number of hours for you to utilize the Lyft Platform. You retain the
     option to accept or to decline or ignore a Rider’s request for Rideshare Services via the Lyft
     Platform, or to cancel an accepted request for Rideshare Services via the Lyft Platform, subjec
     to Lyft’s then-current cancellation policies. Lyft does not, and shall not be deemed to, require
     you to accept any specific request for Rideshare Services as a condition of maintaining access
     to the platform. With the exception of any signage required by law or permit/license rules or
     requirements, Lyft shall have no right to require you to: (a) display Lyft’s names, logos or colors
     on your vehicle(s); or (b) wear a uniform or any other clothing displaying Lyft’s names, logos or
     colors. You acknowledge and agree that you have complete discretion to provide Rideshare
     Services or otherwise engage in any other business or employment activities, including but not
     limited to providing services similar to the Rideshare Services to other companies, and that Lyf
     does not, and shall not be deemed to, restrict you from engaging in any such activity.



     Third-Party Services
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     In addition to connecting Riders with Drivers, the Lyft Platform may enable Users to provide
     services or receive services from other third parties. For example, Users may be able to use
     the Lyft Platform to plan and reserve rides on public transportation, take a ride in an
     autonomous vehicle provided by a third party, rent vehicles, bikes, scooters, or other similar
     personal transportation devices provided by a third party, receive roadside assistance, or
     obtain financial, vehicle repair, insurance, or other services provided by third parties
     (collectively, the “Third-Party Services”). This Agreement between you and Lyft governs your
     use of the Lyft Platform in connection with the Third-Party Services.

     In addition, you understand that the Third-Party Services may also be subject to terms and
     pricing of the third-party provider (collectively, the “Third-Party Terms”) which will govern your
     relationship with such third-party provider, as applicable. You agree that Lyft is not responsible
     and may not be held liable for the Third-Party Services or the actions or omissions of the third-
     party provider. Such Third-Party Services may not be investigated, monitored or checked for
     accuracy, appropriateness, or completeness by Lyft, and Lyft is not responsible for any Third-
     Party Services accessed through the Lyft Platform. This Agreement incorporates by
     reference ADT Mobile Security Monitoring Terms, which are Third-Party Terms.

     In the event of a conflict in the terms of any Third-Party Terms and this Agreement, the terms o
     this Agreement shall control with respect to Lyft and your agreements with Lyft herein, and the
     limitations of liability set forth in Section 15 above shall also apply to the third-party provider.
     The Dispute Resolution and Arbitration Agreement provisions in Section 17 above shall apply
     instead of any terms in any Third-Party Terms for all purposes except with respect to claims
     that are solely against the third-party provider.


     General
     Except as provided in Section 17, this Agreement shall be governed by the laws of the State of
     California without regard to choice of law principles. This choice of law provision is only
     intended to specify the use of California law to interpret this Agreement and is not intended to
     create any other substantive right to non-Californians to assert claims under California law
     whether by statute, common law, or otherwise. If any provision of this Agreement is or
     becomes invalid or non-binding, the parties shall remain bound by all other provisions of this
     Agreement. In that event, the parties shall replace the invalid or non-binding provision with
     provisions that are valid and binding and that have, to the greatest extent possible, a similar
     effect as the invalid or non-binding provision, given the contents and purpose of this
     Agreement. You agree that this Agreement and all incorporated agreements may be
     automatically assigned by Lyft, in our sole discretion by providing notice to you. You may not
     assign this Agreement without Lyft’s prior written approval. Any purported assignment by you in
     violation of this Section 21 shall be void. Except as explicitly stated otherwise, any notices to

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     Lyft shall be given by certified mail, postage prepaid and return receipt requested to Lyft, Inc.,
     548 Market Street, #68514 San Francisco, CA 94104. Any notices to you shall be provided to
     you through the Lyft Platform or given to you via the email address or physical address you
     provide to Lyft during the registration process. Headings are for reference purposes only and in
     no way define, limit, construe or describe the scope or extent of such section. The words
     “include”, “includes” and “including” are deemed to be followed by the words “without
     limitation”. A party’s failure to act with respect to a breach by the other party does not constitute
     a waiver of the party’s right to act with respect to subsequent or similar breaches, any such
     waiver shall be in writing. This Agreement sets forth the entire understanding and agreement
     between you and Lyft with respect to the subject matter hereof and supersedes all previous
     understandings and agreements between the parties, whether oral or written.

     If you have any questions regarding the Lyft Platform, Lyft Services, or Rideshare Services,
     please contact us through our Help Center.



     Lyft Privacy Policy
     Last Updated: December 12, 2022

     At Lyft our mission is to improve people’s lives with the world’s best
     transportation, providing a platform to help you get from point A to point B and
     enjoy the ride. To do that, we need to collect, use, and share some of your
     personal information. This Privacy Policy is meant to help you understand how
     Lyft does that and how to exercise the choices and rights you have in your
     information.

     Lyft’s privacy homepage provides additional information about our commitment
     to respecting your personal information, including ways for you to access and
     delete that information.




     The Scope of This Policy

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     This policy applies to all Lyft users, including Riders and Drivers (including Driver applicants),
     and to all Lyft platforms and services, including our applications, websites, technology,
     facilities, and other services (collectively, the “Lyft Platform”). This policy applies only to
     personal information, not to aggregate information or information that does not identify you.
     Please remember that your use of the Lyft Platform is also subject to our Terms of Service.
     Certain elements of the Lyft Platform may operate under separate or additional terms or
     practices different from or in addition to those described in this policy; in those cases, you will
     be provided separate notice and information relevant to your use of those parts of the Lyft
     Platform.

     For users in California, Colorado, Connecticut, Utah, and Virginia: Additional information
     regarding Lyft’s privacy practices under state-specific privacy laws is available here.


     The Information We Collect
     When you use the Lyft Platform, we collect the information you provide, usage information, and
     information about your device. We also collect information about you from other sources like
     service providers, and optional programs in which you participate, which we may combine with
     other information we have about you. Here are the types of information we collect about you:

     A. Information You Provide to Us
     Account Registration. When you create an account with Lyft, we collect the information you
     provide us, such as your name, email address, phone number, birth date, profile photo, and
     payment information. You may choose to share additional info with us for your Rider profile, like
     saved addresses (e.g., home or work), and set up other preferences (such as your preferred
     pronouns). We may ask that you provide additional information related to the identity of your
     account, such as documents related to identification (e.g., driver’s license), a profile picture, or
     “selfie” imagery. If you choose to engage in additional offerings on the Lyft Platform (e.g.,
     services for your vehicle or linking to other accounts like travel rewards), you may provide us
     additional information relevant to those offerings.

     Driver Information. If you apply to be a Driver, we will collect the information you provide in
     your application, including your name, email address, phone number, birth date, profile photo,
     physical address, government identification number (such as social security number), driver’s
     license information, vehicle information, and car insurance information. We collect the payment
     information you provide us, including your bank routing numbers, and tax information.
     Depending on where you want to drive, we may also ask for additional business license or
     permit information or other information to manage driving and programs relevant to that
     location. We may need additional information from you at some point after you become a
     Driver, including information to confirm your identity (like “selfie” imagery).

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     Ratings and Feedback. When you rate and provide feedback about the Lyft Platform
     (including about Riders or Drivers), we collect all of the information you provide in your
     feedback.

     Communications. When you contact us or we contact you, including through surveys or
     research projects, we collect any information that you provide, including the contents of the
     messages or attachments you send us.
     B. Information We Collect When You Use the Lyft Platform
     Location Information. Great rides start with an easy and accurate pickup. The Lyft Platform
     collects location information (including GPS and WiFi data, IP address, and Bluetooth data)
     differently depending on your Lyft app settings and device permissions as well as whether you
     are using the platform as a Rider or Driver:

              Riders: We collect your device’s precise location when you open and use the Lyft app,
              including while the app is running in the background from the time you request a ride unti
              it ends. Lyft also tracks the precise location of scooters and e-bikes at all times.
              Drivers: We collect your device’s precise location when you open and use the app,
              including while the app is running in the background. We also collect precise location for a
              limited time after you exit driver mode in order to detect ride incidents, and continue
              collecting it until a reported or detected incident is no longer active. If you choose to insta
              a Lyft Platform device in or on your vehicle (e.g., a Lyft dashboard device or tablet), that
              device may collect precise location information when turned on.

     Usage Information. We collect information about your use of the Lyft Platform, including ride
     information like the date, time, destination, distance, route, payment, and whether you used a
     promotional or referral code. Our e-bikes and scooters may collect mobile sensor data, such as
     speed, direction, height, acceleration, deceleration, and other technical data. We also collect
     information about your interactions with the Lyft Platform like our apps and websites, including
     the pages and content you view and the dates and times of your use. We may also infer
     information from your use of or information you provide us in your interactions with the Lyft
     Platform.

     Device Information. We collect information about the devices you use to access the Lyft
     Platform, including device model, IP address, type of browser, version of operating system,
     identity of carrier and manufacturer, radio type (such as 4G), preferences and settings (such as
     preferred language), application installations, device identifiers, advertising identifiers, and
     push notification tokens. If you are a Driver, we also collect mobile sensor data from your
     device (such as speed, direction, height, acceleration, deceleration, and other technical data).
     If you have installed a Lyft Platform device in your vehicle (e.g., a Lyft dashboard device or
     tablet), that device may similarly collect sensor data and other information like location, as
     described when you choose and set up such devices.



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     Communications Between Riders and Drivers. We work with a third party to facilitate phone
     calls and text messages between Riders and Drivers without sharing either party’s actual
     phone number with the other. But while we use a third party to provide the communication
     service, we collect information about these communications and Lyft Platform chat
     communications, including the participants’ phone numbers, the date and time, and the
     contents of SMS and chat messages. For security purposes, we may also monitor or record
     the contents of phone calls made through the Lyft Platform, but we will always let you know we
     are about to do so before the call begins.

     Address Book Contacts. You may set your device permissions to grant Lyft access to your
     contact lists and direct Lyft to access your contact list, for example to help you refer friends to
     Lyft. If you choose to do this, we will access the names and contact information of the people in
     your address book.

     Calendar Information. You may set your device permissions or otherwise grant Lyft access to
     your chosen calendar and direct Lyft to access calendar information, for example to help you
     get alerts to order a ride for your upcoming trip. If you choose to do this, we will access and
     store information available in your calendar to use in providing you these optional features.

     Cookies, Analytics, and Third-Party Technologies. We collect information through the use
     of “cookies”, tracking pixels, data analytics tools like Google Analytics, SDKs, and other third-
     party technologies to understand how you navigate through the Lyft Platform and interact with
     Lyft advertisements, to make your Lyft experience safer, to learn what content is popular, to
     improve your site experience, to serve you better ads on other sites, and to save your
     preferences. Cookies are small text files that web servers place on your device; they are
     designed to store basic information and to help websites and apps recognize your browser. We
     may use both session cookies and persistent cookies. A session cookie disappears after you
     close your browser. A persistent cookie remains after you close your browser and may be
     accessed every time you use the Lyft Platform.
     C. Information We Collect From Other Sources
     Service Providers and Other Parties. Service providers and other parties provide us with
     information needed for core aspects of the Lyft Platform, as well as for additional services,
     programs, loyalty benefits, and promotions that can enhance your Lyft experience. These
     service providers and other parties include background check providers, insurance partners,
     financial service providers, marketing providers, and other businesses. We obtain the following
     information about you from these parties:

              Information to make the Lyft Platform safer, like background check information or identity
              verification information;
              Information about your participation in third-party programs that provide things like
              insurance coverage and financial instruments, such as insurance, payment, transaction,
              and fraud detection information;

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              Information to operationalize loyalty and promotional/marketing programs or applications,
              services, or features you choose to connect or link to your Lyft account, such as
              information about your use of such programs, applications, services, or features; and
              Information about you provided by specific services, such as vehicle, demographic and
              market segment information.

     Enterprise and Delivery Programs. If you use Lyft through your employer or other
     organization that participates in one of our Lyft Business enterprise programs, we will collect
     information about you from those parties, such as your name and contact information. If an
     organization has utilized Lyft to fulfill a delivery to you, we may receive information like your
     name and delivery address from the organization in order to fulfill the delivery.

     Concierge Service. Sometimes another business or entity may order you a Lyft ride. If an
     organization has ordered a ride for you using our Concierge service, they will provide us your
     contact information and the pickup and drop-off location of your ride.

     Referral Programs. Friends help friends use the Lyft Platform. If someone refers you to Lyft,
     we will collect information about you from that referral including your name and contact
     information.

     Other Users and Sources. Other users or public or third-party sources such as law
     enforcement, insurers, media, or pedestrians may provide us information about you, for
     example as part of an investigation into an incident or to provide you support.


     How We Use Your Information
     We use your personal information to:

              Provide the Lyft Platform;
              Maintain the security and safety of the Lyft Platform and its users;
              Build and maintain the Lyft community;
              Provide customer support;
              Improve the Lyft Platform; and
              Respond to legal proceedings and obligations.

     Providing the Lyft Platform. We use your personal information to provide an intuitive, useful,
     efficient, and worthwhile experience on our platform. To do this, we use your personal
     information to:

              Verify your identity and maintain your account, settings, and preferences;
              Connect you to your rides and track their progress;
              Provide various Lyft Platform offerings to you, such as vehicles services and third party
              promotional advertisements that may be personalized to you;
              Calculate prices and process payments;

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              Allow Riders and Drivers to connect regarding their ride and to choose to share their
              location with others;
              Communicate with you about your use of the Lyft Platform and experience;
              Collect feedback regarding your experience;
              Facilitate additional services and programs with third parties; and
              Operate contests, sweepstakes, and other promotions.

     Maintaining the Security and Safety of the Lyft Platform and its Users. Providing you a
     secure and safe experience drives our platform, both on the road and on our apps. To do this,
     we use your personal information to:

              Authenticate and verify users;
              Verify that Drivers and their vehicles meet safety requirements;
              Investigate and resolve incidents, accidents, and insurance claims;
              Encourage safe driving behavior and avoid unsafe activities;
              Find and prevent fraud; and
              Block and remove unsafe or fraudulent users from the Lyft Platform.

     Building and Maintaining the Lyft Community. Lyft works to be a positive part of the
     community. We use your personal information to:

              Communicate with you about events, promotions, elections, and campaigns;
              Personalize and provide content, experiences, communications, and targeted advertising
              to promote and grow the Lyft Platform; and
              Help facilitate donations you choose to make through the Lyft Platform.

     Providing Customer Support. We work hard to provide the best experience possible,
     including supporting you when you need it. To do this, we use your personal information to:

              Investigate and assist you in resolving questions or issues you have regarding the Lyft
              Platform; and
              Provide you support or respond to you.

     Improving the Lyft Platform. We are always working to improve your experience and provide
     you with new and helpful features. To do this, we use your personal information to:

              Perform research, testing, and analysis;
              Develop new products, features, partnerships, and services;
              Prevent, find, and resolve software or hardware bugs and issues; and
              Monitor and improve our operations and processes, including security practices,
              algorithms, and other modeling.

     Responding to Legal Proceedings and Requirements. Sometimes the law, government
     entities, or other regulatory bodies impose demands and obligations on us with respect to the
     services we seek to provide. In such a circumstance, we may use your personal information to
     respond to those demands or obligations.


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     How We Share Your Information
     We do not sell your personal information to third parties for money -- no one can buy the
     personal information we collect from and about you and we do not act as a data broker.
     However, we may need to share your personal information with other users, third parties, and
     service providers to make the Lyft Platform work and to deliver relevant personalized ads to
     you on and off the Lyft Platform. Some of these disclosures may constitute “sharing” or “selling
     of personal information under certain U.S. state privacy laws, which we describe in more
     detail here. This section otherwise explains when and why we share your information.

     A. Sharing Between Lyft Users
     Riders and Drivers.

     Rider information shared with Driver: As part of surfacing the ride request and enabling the
     ride, we share with the Driver the Rider’s pickup and destination, location, name, profile photo,
     rating, Rider statistics (like approximate number of rides and years as a Rider), and information
     the Rider includes in their Rider profile (like preferred pronouns) as well as any additional stops
     the Rider inputs into the Lyft app. Once the ride is finished, we also eventually share the
     Rider’s rating and feedback with the Driver. (We remove the Rider’s identity associated with
     ratings and feedback when we share it with Drivers, but a Driver may be able to identify the
     Rider that provided the rating or feedback.)

     Driver information shared with Rider: Upon a Driver accepting a requested ride, we will share
     with the Rider the Driver’s name, profile photo, preferred pronouns, rating, real-time location,
     and the vehicle make, model, color, and license plate, as well as other information in the
     Driver’s Lyft profile, such as information Drivers choose to add (like country flag and why you
     drive) and Driver statistics (like approximate number of rides and years as a Driver).

     Although we help Riders and Drivers communicate with one another to arrange a pickup, we
     do not share your actual phone number or other contact information with other users when
     enabling this. If you report a lost or found item to us, we will seek to connect you with the
     relevant Rider or Driver, which may include sharing actual contact information with your
     consent.

     Shared Ride Riders. When Riders use a Lyft Shared ride, we share each Rider’s name and
     profile picture to ensure safety. Riders may also see each other’s pickup and drop-off locations
     as part of knowing the route while sharing the ride.

     Rides Requested or Paid For by Others. Some rides you take may be requested or paid for
     by others. If you take one of those rides using your Lyft Business Profile account; a pass, code
     or coupon; a subsidized program (e.g., transit or government); a corporate credit card linked to
https://www.lyft.com/terms                                                                          34/39
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     another account; or another user or entity otherwise requests or pays for a ride (or portion of a
     ride) for you, we may share some or all of your ride details with that other party, including your
     identity (e.g., name, phone number), the date, time, charge, rating given, region of trip, and
     pick up and drop off location of your ride.

     Linked Accounts and Sharing Upon Your Request. If you use the Lyft Platform as part of a
     Lyft Family account linked with others or if you direct us to share your information with trusted
     contacts, we will then share with those parties information about your use of the Lyft Platform,
     such as the live location of your ride.

     Referral Programs. If you refer someone to the Lyft Platform, we will let them know that you
     generated the referral. If another user referred you, we may share information about your use
     of the Lyft Platform with that user. For example, a referral source may receive a bonus when
     you join the Lyft Platform or complete a certain number of rides and would receive such
     information.
     B. Sharing With Service Providers to Provide the Lyft Platform, and Other Parties
     Depending on whether you’re a Rider or a Driver, Lyft may share the following categories of
     your personal information to provide you with a variety of the Lyft Platform’s features and
     services:

              Personal identifiers, such as your name, address, email address, phone number, date of
              birth, government identification number (such as social security number), driver’s license
              information, vehicle information, and car insurance information;
              Financial information, such as bank routing numbers, tax information, and any other
              payment information you provide us;
              Commercial information, such as ride information, Driver/Rider statistics and feedback,
              and Driver/Rider transaction history;
              Internet or other electronic network activity information, such as your IP address, type of
              browser, version of operating system, carrier and/or manufacturer, device identifiers, and
              mobile advertising identifiers;
              Location data; and
              This and other information you may direct us to share with other parties, such as when
              you choose to link your Lyft account with a separate travel rewards program or when you
              choose to engage with an offering from another company through the Lyft Platform, such
              as a vehicle service.

     We disclose those categories of personal information to these other parties and service
     providers to fulfill the following purposes:

              Maintaining and servicing your Lyft account;
              Processing or fulfilling rides or other offerings of the Lyft Platform;
              Providing you customer service;
              Processing transactions and payments;
              Processing Driver applications;
              Verifying the identity of users;
              Detecting and preventing fraud and unsafe activity;
https://www.lyft.com/terms                                                                            35/39
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              Processing insurance claims;
              Providing Driver loyalty and promotional programs;
              Providing marketing and advertising services to Lyft, including to provide targeted and
              cross-contextual behavioral advertising personalized to you;
              Providing financing;
              Providing requested emergency services;
              Providing analytics services to Lyft; and
              Undertaking research to develop and improve the Lyft Platform.
     C. For Legal Reasons and to Protect the Lyft Platform
     We may share your personal information in response to a legal obligation, or if we have
     determined that sharing your personal information is reasonably necessary or appropriate to:

              Comply with any applicable federal, state, or local law or regulation, civil, criminal or
              regulatory inquiry, investigation or legal process, enforceable governmental request, or
              requirement as condition to operate (e.g., operating permit, license or agreement);
              Respond to legal process (such as a search warrant, subpoena, summons, or court
              order);
              Enforce our Terms of Service;
              Cooperate with law enforcement agencies concerning conduct or activity that we
              reasonably and in good faith believe may violate federal, state, or local law; or
              Exercise or defend legal claims, protect against harm to our rights, property, interests, or
              safety or the rights, property, interests, or safety of you, third parties, or the public as
              required or permitted by law.

     D. In Connection with Sale or Merger
     We may share your personal information while negotiating or in relation to a change of
     corporate control such as a restructuring, merger, or sale of our assets.

     E. Upon Your Further Direction
     With your permission or upon your direction, we may disclose your personal information to
     interact with a third party or for other purposes.


     How We Store and Protect Your
     Information
     We retain your information for as long as necessary to provide you and our other users the Lyft
     Platform. This means we keep your profile information for as long as you maintain an account.
     We retain transactional information such as rides and payments for at least seven years to
     ensure we can perform legitimate business functions, such as accounting for tax obligations.
     We also retain your information as necessary to comply with our legal obligations, resolve
     disputes and enforce our terms and policies. If you request account deletion, we will delete
     your information as set forth in the “Deleting Your Account” section below.

https://www.lyft.com/terms                                                                              36/39
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     We take reasonable and appropriate measures designed to protect your personal information.
     But no security measures can be 100% effective, and we cannot guarantee the security of you
     information, including against unauthorized intrusions or acts by third parties.


     Your Rights And Choices
     Regarding Your Data
     As explained more below and on our privacy homepage, Lyft provides ways for you to access
     and delete your personal information as well as exercise applicable data rights that give you
     certain control over your personal information.

     A. All Users
     Email Subscriptions. You can always unsubscribe from our commercial or promotional emails
     by clicking unsubscribe in those messages. We will still send you transactional and relational
     emails about your use of the Lyft Platform.

     Text Messages. You can opt out of receiving commercial or promotional text messages by
     texting the word END to 46080 from the mobile device receiving the messages. You may also
     opt out of receiving all texts from Lyft (including transactional or relational messages) by texting
     the word STOPALL to 46080 from the mobile device receiving the messages. Note that opting
     out of receiving all texts may impact your use of the Lyft Platform. Drivers can also opt out of
     driver-specific messages by texting STOP in response to a driver SMS. To re-enable texts you
     can text START in response to an unsubscribe confirmation SMS.

     Push Notifications. You can opt out of receiving push notifications through your device
     settings. Please note that opting out of receiving push notifications may impact your use of the
     Lyft Platform (such as receiving a notification that your ride has arrived).

     Profile Information. You can review and edit certain account information you have chosen to
     add to your profile by logging in to your account settings and profile.

     Location Information. You can prevent your device from sharing location information through
     your device’s system settings. But if you do, this may impact Lyft’s ability to provide you our ful
     range of features and services. You may also control some elements of sharing your location
     with Lyft in your Lyft account settings.

     Cookie Tracking. You can modify your cookie settings on your browser. You may also further
     control your cookie setting here.



https://www.lyft.com/terms                                                                           37/39
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     Accessing Your Information. If you would like to access your personal information, please
     visit our privacy homepage. You can also see information we have about you by logging into
     your account and viewing things like your profile, settings, and preferences (like preferred
     pronouns and address shortcuts such as home and work), ride history, or payment information
     In addition, you may have some information included in things we have sent to you, such as
     ride receipts.

     Deleting Your Account. If you would like to delete your Lyft account, please visit our privacy
     homepage. In some cases, we will be unable to delete your account, such as if there is an
     issue with your account related to trust, safety, or fraud. When we delete your account, we may
     retain certain information for legitimate business purposes or to comply with legal or regulatory
     obligations. For example, we may retain your information to resolve open insurance claims, or
     we may be obligated to retain your information as part of an open legal claim. When we retain
     such data, we do so in ways designed to prevent its use for other purposes.
     B. State-Specific Rights
     Some states such as California, Colorado, Connecticut, Utah, and Virginia provide specific
     rights to residents of the state regarding personal information. To see more information about
     these rights and how to exercise them, see here.


     Children’s Data
     Lyft is not directed to children, and we don’t knowingly collect personal information from
     children under the age of 13. If we find out that a child under 13 has given us personal
     information, we will take steps to delete that information. If you believe that a child under the
     age of 13 has given us personal information, please contact us at our Help Center.



     Links to Third-Party Websites
     The Lyft Platform may contain links or references to third-party websites, products, or services.
     Those third parties may have privacy policies that differ from ours. We are not responsible for
     those third parties and their websites, products or services, and we recommend that you
     review their policies. Please contact those parties directly if you have any questions about their
     privacy policies.



     Changes to This Privacy Policy

https://www.lyft.com/terms                                                                               38/39
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     We may update this policy from time to time as the Lyft Platform changes and privacy law
     evolves. If we update it, we will do so online, and if we make material changes, we will let you
     know through the Lyft Platform or by some other method of communication like email. When
     you use Lyft, you are agreeing to the most recent terms of this policy.


     Contact Us
     If you have any questions or concerns about your privacy or anything in this policy, including if
     you need to access this policy in an alternative format, we encourage you to contact us.




         DRIVER



         RIDER




         LYFT



                                                                   Lyft driver
                                                                      app

                                                                 Lyft rider app


                                                                 Ride on web




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https://www.lyft.com/terms                                                                                  39/39
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EXHIBIT G
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                                                                                                                      Features
                                                                                                     If you   want    to make       your     vehicle    stand      out to customers,      a

                                                                                                     Huttronics      sign   is a must-have          addition       to your   car to let

                                                                                                     passengers       know    you     have     arrived.



                                                                                                          e   Ultra-Bright      LED    lights    make     your     car visible

                                                                                                          e   Perfect size to be noticeable to customers
                                                                                                          e   No   messy     wires,    powered         by a built-in     battery

                                                                                                          e   Rechargeable          lithium     battery    lasts    up   to 10 hours

                                                                                                          e   Removeable        sign with       adhesive        holder

                                                                                                          e   Extremely easy installation




                                                                                                                                           SHOP NOW




                                                                  Free Shipping on US Orders



                                          Get Your Sign Today
                           Huttronics is your go-to provider of rideshare and delivery LED signs and accessories for a gig economy driver. We
                              are specialized in creating top-quality light signs, and our customers rate us with an average rating of 4.9/5
                                   based on 471 customer reviews. Get your sign today and enjoy free shipping to the United States




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                                                                                                                         e    Ultra-Bright    LED     lights    make     your     car visible

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                                                                                                                         e    Removeable       sign with adhesive holder
                                                                                                                         e    Extremely     easy installation




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                                                                                      Lyft LED Sign — White Outline
                                                                                      $36.99
                                                                                      If you want to make your vehicle stand out to customers, a Lyft sign
                                                                                      is a must-have       addition    to your car to let passengers      know you    have

                                                                                      arrived.



                                                                                      Features
                                                                                           e   Ultra Bright LED lights make your car visible
                                                                                           e   Perfect size to be noticeable to customers
                                                                                           e   No messy wires, powered by a built-in battery
                                                                                           e   Rechargeable lithium battery lasts up to 10 hours
                                                                                           e   Removable sign with adhesive holder
                                                                                           e   Easy installation

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              Lyft LED sign
              Love it just the right size and looks great at night!



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                                                                                              If you want to make your vehicle stand out to customers, a Lyft sign
                                                                                              is a must-have addition to your car to let passengers know you have
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                                                                                              Features
                                                                                                   e    Ultra Bright LED lights make your car visible
                                                                                                   e    Perfect size to be noticeable to customers
                                                                                                   e    No messy wires, powered by a built-in battery
                                                                                                   e    Rechargeable lithium battery lasts up to 10 hours
                                                                                                   e    Removable   sign with adhesive      holder

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              Great!




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                oO     Robert Johnson
               “ew
              Lyft LED Sign



               wkkekkk                                                                                                                                                                    12/02/2022
                o      Eric Biber
               “aw
              Pretty cool
              This is exactly what         | needed.   It is bright-   looks   totally legit- and you   can   remove   it easily when   you   are not driving for Lyft.




              kekkk                                                                                                                                                                       11/25/2022

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              Lyft sign
              They work      perfectly and     are easy to install, recharge        in no time.




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                                                                                      $36.99
                                                                                      If you      want to make          your    vehicle stand        out to customers,   an   Uber

                                                                                      sign       is a must-have        addition     to your      car to let passengers   know you

                                                                                      have arrived.



                                                                                      Features
                                                                                             e    Ultra Bright       LED    lights make       your   car visible

                                                                                             e    Perfect size to be           noticeable       to customers

                                                                                             e    No   messy      wires,    powered      by a built-in      battery

                                                                                             e    Rechargeable         lithium     battery lasts       up to 10 hours

                                                                                             e    Removable         sign with     adhesive       holder

                                                                                             e    Easy installation


                                                                                      Availability: In stock




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Capture timestamp (UTC): Tue, 31 Jan 2023 16:41:59 GMT                                                                                                                                  Page 1 of 4
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                                                                                 Customer Reviews

                                                                                                           kkekkk                                     102
                                                Wk ww         Kw 4.87 out of 5                             kkekky          OE                         7
                                                Based on 113 reviews                                       keke Y               q                     4
                                                collected by Judge.me                                      eee                                        0
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                                                                                               TRANSPARENCY ,

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                                                                                                    89.6
                                                                                         Verified    by Judge.me



                Most   Recent




             xkkkY                                                                                                                                                                   12/31/2022
                ©      Michael Peeples

              Uber LED Sign



              wkrekkk                                                                                                                                                                2/30/2022


                ©      MICHAEL BARTHOLOMEW

             nice

              nice




             KxKkekkk                                                                                                                                                                12/12/2022
                o      Phillip Pahl
               “wy
             Well worth every penny.
              | love this led sign it is professional   looking and   lights up brightly.   Do not settle with the poorly made             led signs. You won't   be disappointed.




             xkkKke                                                                                                                                                                  . 2/12/2022



                                                                                                                                                                                     h0
                ©      Quinn Olson
               “ew
             Just perfect!

              Really helps riders find me.



             wxKekkk                                                                                                                                                                 12/07/2022

               Oo Paul M
               Ow
              Excellent product
              | couldn’t   be happy with the product     | received   in the mail.   Looking forward           to buying another    one. Thank you!




           You may also like...


              i                                                                                                                                       OOS

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                                $36.99                                     $36.99                                  $36.99                   $36.99




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                                  s
                         instacart


                       we i & ww       7 reviews              ww        & & & 10 reviews                   Ww & & & & 30 reviews   Www & & &         30   reviews

                          Instacart LED Sign                          Grubhub LED Sign                      Uber Lyft LED Sign -   Uber Blue/Lyft LED Sign -
                                                                                                                Uppercase                White Outline
                                  $36.99                                   $36.99
                                                                                                                    $36.99                     $36.99




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                      ww
                       & & &       32 reviews              ww
                                                            & & &           49 reviews                    ww   ww       44 reviews     ww
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                              $36.99                                  $36.99                                       $36.99                          $36.99




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                       & wk        7   reviews                 Ww & & & &   10 reviews                    we & & & &    30   reviews   Www
                                                                                                                                         & & &           30   reviews

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                              $36.99                                  $36.99                                   Uppercase                     White Outline
                                                                                                                   $36.99                          $36.99




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       SHOP          CART    CHECKOUT                                    HUTTRONICS                                                                                              Login




              Home     » Shop » Uber Blue LED Sign
                                                                                           wk
                                                                                            & kk & 44 reviews

                                                                                           Uber Blue LED Sign
                                                                                           $36.99
                                                                                           If you      want to make      your vehicle stand            out to customers,   an   Uber

                                                                                           sign       is a must-have     addition    to your      car to let passengers    know you

                                                                                           have arrived.



                                                                                           Features
                                                                                                  e    Ultra Bright    LED    lights make       your   car visible

                                                                                                  e    Perfect size to be noticeable to customers
                                                                                                  e    No messy wires, powered by a built-in battery
                                                                                                  e    Rechargeable      lithium    battery lasts up to 10 hours

                                                                                                  e    Removable sign with adhesive holder
                                                                                                  e    Easy installation

                                                                                           Availability: In stock




                                                                                               ADD TO CART


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                                                                                           @      Secure Payments
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                                                                                       kkkkk                                               41




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                                                                                                                                                                  Pay now or pay later
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                                                                                                  Customer Reviews

                                                                                                                            kkekkk                                          a1
                                                              Wk www 4.93 out of 5                                          kkkky                                           3
                                                                  Based on 44 reviews                                       kee                                             0
                                                              collected by Judge.me                                         kes                                             0
                                                                                                                            ewe                                             0


               Most     Recent




             xkkke                                                                                                                                                                                            01/03/2023
                oO Nathaniel Chavez
               “e
              Uber sign
              Definitely     looks    way     better       than    the   cheaper   uber   lights and   not as bliding for the          me   as a driver.   | bought   2 of them, very clean    looking that
              battery    life is superior          on it




              wkkekknk                                                                                                                                                                                        12/21/2022
               © Paul Vanover
               “e
              Blue Uber Light
             This is my      second         light and       | love them       both. They are   bright, highly visible, easy to install, easy to operate,               easy to charge   and   the   battery    life is
             excellent.      | am    very satisfied          with this product.       Btw, rideshare     drivers    and     required    by state     law to display   illuminated   signage when     driving at
              night in both         North    and    South         Carolina.   So, this sign also makes       me    legal.




             KkkKknk                                                                                                                                                                                          12/11/2022



              Excellent uber light
             Very professional          looking . Very bright and               battery   is Long lasting.   | just ordered       a second     led   light for rear window.




              wxKkkknk                                                                                                                                                                                        12/01/2022
               Oo       Shawn Pace
               “eu
              | like them



              x*kkk                                                                                                                                                                                           12/01/2022


               ©        cristian alvarado bravo

              Uber    Blue   LED     Sign




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                                                                Uber
                      Ww     Ww & &   224   reviews             Ww i & & &        113 reviews                    Ww
                                                                                                                  & & &           32   reviews      Ww ww
                                                                                                                                                        & &          49   reviews

                           Uber Lyft LED Sign                             Uber LED Sign                           Uber Eats LED Sign             Lyft LED Sign — White Outline
                                 $36.99                                      $36.99                                       $36.99                               $36.99




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                                                                                                                   OUT    OF STOCK

                      Ww     & & &    30    reviews             Ww i & & &        10 reviews                     WWW        WwW   SU   reviews     Ww      & & &     52 reviews

                    Uber Blue/Lyft LED Sign -                           Grubhub LED Sign                              Lyft LED Sign                   DoorDash LED Sign
                             White Outline
                                                                             $36.99                                       $36.99                               $36.99
                                 $36.99




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              Home        » Shop » Uber Eats LED Sign
                                                                                           Ww & & & & 32 reviews

                                                                                           Uber Eats LED Sign
                                                                                           $36.99
                                                                                           If you       want to make          your vehicle stand            out to customers,   an   Uber

                                                                                           Eats sign         is a must-have          addition     to your     car to let passengers    know

                                                                                           you        have arrived.



                                                                                           Features
                                                                                                  e     Ultra Bright       LED    lights make        your   car visible

                                                                                                  e     Perfect size to be noticeable to customers
                                                                                                  e     No   messy      wires,    powered      by a built-in       battery

                                                                                                  e     Rechargeable         lithium     battery lasts        up to 10 hours

                                                                                                  e     Removable         sign with     adhesive       holder

                                                                                                  e     Easy installation


                                                                                           Availability: In stock




                 Uber
                                                                                                                                                 OR



                                                                                                 ADD     TO CART
              re             ey


                     I
                                                                                           Free shipping on US Orders!
                 ©                &

                     Oo                                                                    @     Secure Payments

                 ww                                                                        @     30 Day       Money       Back    Guarantee

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                                                                                       kkekkk                                                   29




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                                                                                                  Customer Reviews

                                                                                                                                kkekkk




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                                                   Wk www                4.81 out of 5                                          kkekkxy    OF                         2
                                                    Based   on 32 reviews                                                       kxkeevY                               0
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               Most   Recent




              xkkekknk                                                                                                                                                                                11/29/2022
               o      Russell Richardson

             Uber eats light Is up sign
             Works great shows up perfectly on my front window love it



             wkekkk                                                                                                                                                                                   10/08/2022

               ©      Roberto Vargas

              Loved   it!

              Looks   great.   Now   people   will know   who   is in the driveway.                 | have      leave at the door     customers   coming   out to get their orders.   Really works.
             Awesome!




             wkkekknk                                                                                                                                                                                 10/01/2022
               ©      Ike Santos
               a~
              Uber Eats LED Sign



             wxkekkk                                                                                                                                                                              09/25/2022

               ©      Marianlly Mendez
               “e
              Uber Eats LED Sign



             xkekknk                                                                                                                                                                                  09/11/2022
               ©      AlphaRica B Kabigting

              Uber Eats LED Sign




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                                                                                                                                 >                            —
                                                                                                                          instacart                    DOORDASH


                                                                                                     _A
                      Ww & & & &    10 reviews                 wk   kk      &      12 reviews                            ww
                                                                                                                          & & &           7 reviews   Ww
                                                                                                                                                       & & &           52 reviews

                        Grubhub LED Sign                 ~Replacement Holder for LED                                      Instacart LED Sign            DoorDash LED Sign
                               $36.99                                     Signs                                                   $36.99                         $36.99
                                                                          $12.99




            Related products




                                                                                                                                                      Uber
                      Ww
                       & & & 224 reviews                   Www
                                                             & & &                 30 reviews                            Www
                                                                                                                           & & &       49 reviews     ww
                                                                                                                                                       & & & 113 reviews

                        Uber Lyft LED Sign                 Uber Blue/Lyft LED Sign -                                Lyft LED Sign — White Outline          Uber LED Sign
                                                                    White Outline
                               $36.99                                                                                             $36.99                         $36.99
                                                                         $36.99




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              Home     » Shop   » Uber   Lyft LED   Sign - Uppercase
                                                                                         Ww & & & & 30 reviews

                                                                                         Uber Lyft LED Sign -
                                                                                         Uppercase
                                                                                         $36.99
                                                                                         If you     are   looking to make           your    vehicle     stand     out to customers,   an

                                                                                         Uber       Lyft sign is a must-have               addition     to your    car to let passengers

                                                                                         know you have arrived.


                                                                                         Features
                                                                                                e   Ultra Bright        LED    lights make      your     car visible

                                                                                                e   Perfect size to be noticeable to customers
                                                                                                e   No messy wires, powered by built-in battery
                                                                                                e   Rechargeable          lithium     battery lasts       up to 10 hours

                                                                                                e   Removable          sign with     adhesive         holder

                                                                                                e   Easy installation

                                                                                         Availability: In stock




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                                                                                                                                                  Pay now or pay later




                                                                                             Customer Reviews

                                                                                                                 kkekkk        Ds                         7:
                                                           Wk www 4.97 out of 5                                  kkekky        |
                                                           Based   on 30     reviews                             xkekeYY
                                                           collected by Judge.me                                 ee    YY
                                                                                                                 ¥YYYY



                  Most    Recent



              wxrekkk                                                                                                                                                            11/09/2022

                   Oo    Mario Méndez


              Uber       Lyft LED     Sign   - Uppercase




              xKkekk                                                                                                                                                             10/25/2022
                   Oo    Customer
                  “aw
              Uber       Lyft LED     Sign   - Uppercase




             xkekkn                                                                                                                                                              08/22/2022
                  ©      Zoltan Takacs

             Great quality

              Happy       with   my    purchase    the   item   is durable    and   serves   its purpose   well done




              wKkkkk                                                                                                                                                             08/16/2022
                  ©      Jose Amstutz

              &


             xkekk«                                                                                                                                                              08/01/2022
                   Oo    Mark Kirkwood
                  “e
              Uber       Lyft LED     Sign   - Uppercase




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                        w& & & ew        58 reviews                        & & & & & 20 reviews                        te & & & &   224 reviews                  & & & & & 113 reviews




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                    Ww   w& & & &   58   reviews                  Www
                                                                    & & &         20   reviews                    Ww
                                                                                                                   & & &       224   reviews   Ww & & &    W&   113 reviews

                    Uber Blue/Lyft LED Sign                      Uber Blue/Lyft LED Sign -                         Uber Lyft LED Sign               Uber LED Sign
                              $36.99                                     White Outline                                     $36.99                         $36.99
                                                                             $36.99




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           ee                                      /



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                                                                                                                   DOORDASH


                                                    a                    OUT OF STOCK

                                                   A                 r
                    Www
                      & & &         12 reviews                  ~Car Headrest Backseat 3-                         Www
                                                                                                                    & & &       52 reviews     we & & & &       10 reviews
              ~ Replacement Holder for LED                      in-1 Fast with
                                                                Station    Power  Charging
                                                                               Retractable                                       :
                                                                                                                   DoorDash LED Sign                          ;
                                                                                                                                                 Grubhub LED Sign
                                9                                           Cords                                          $36.99                         $36.99
                              $12.99                                            $32.99




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             Home     » Shop » Uber Blue/Lyft LED Sign - White Outline
                                                                                           Www
                                                                                             & & &             30 reviews

                                                                                           Uber Blue/Lyft LED Sign -
                                                                                           White Outline
                                                                                           $36.99
                                                                                           If you   want to make          your vehicle stand          out to customers,   an   Uber

                                                                                           Lyft sign is a must-have             addition    to your    car to let passengers    know

                                                                                           you have arrived.


                                                                                           Features
                                                                                                e   Ultra Bright       LED    lights make your        car visible

                                                                                                e   Perfect size to be noticeable to customers
                                                                                                e   No messy wires, powered by a built-in battery
                                                                                                e   Rechargeable          lithium    battery lasts up to 10 hours

                                                                                                e   Removable          sign with    adhesive     holder

                                                                                                e   Easy installation

                                                                                           Availability: In stock


                                                                                               -|1/)+




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                                                                         Customer Reviews

                                                                                           xkkkk                         28
                                               Wk KKH 4.93 out of 5                        kkkky                         2
                                               Based on 30 reviews                         XkKNY                         0
                                               collected by Judge.me                       key                           0
                                                                                            kerry                        0


              Most Recent


             vows                                                                                                                       12/27/2022

               o Tom Cz
              “ew
             Perfect Product
             A FULL 12 Hours of staying lit up before Finally running out of battery!
             It was quick to charge and | was also able to plug it in the cig lighter to run off 12v 2A power!
             Thanks for the fast shipping!



             wxkkknk                                                                                                                    12/05/2022
              Oo    mervin nunez

             Uber Blue/Lyft LED Sign - White Outline



             Kx*wxKKwn                                                                                                                  11/27/2022


               Oo   Asra QADIR
              “ew
             Uber Blue/Lyft LED Sign - White Outline



             xwxkxKxnk                                                                                                                  11/25/2022

               Oo   Henry Enriquez Hernandez

             Perfecto
             Es util y luce espectacular



             wxkkknk                                                                                                                    11/24/2022

               © Jeffrey Sippy
              “ey
             Lyft /Uber lighted window sign.
             | am pleased with my lighted car window sign. It looks nice and functions well. Thank you.




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                                                                                                                                       Uber
                    Wh    & & &    224   reviews          Www & & &       30   reviews                    Ww i & & &    58   reviews   Ww & & & &       113 reviews

                         Uber Lyft LED Sign                   Uber Lyft LED Sign -                        Uber Blue/Lyft LED Sign           Uber LED Sign
                               $36.99                             Uppercase
                                                                                                                   $36.99                         $36.99
                                                                     $36.99




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                     Uber

                    ww
                     & & &          32 reviews            ww
                                                           & & &          49 reviews                      Www & & &     44   reviews   Ww i & & &       10 reviews

                     Uber Eats LED Sign                 Lyft LED Sign — White Outline                       Uber Blue LED Sign           Grubhub LED Sign
                               $36.99                                $36.99                                        $36.99                         $36.99




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                                                                                           Ww
                                                                                            w& & & 224 reviews

                                                                                           Uber Lyft LED Sign
                                                                                           $36.99
                                                                                           If you       want to make          your vehicle stand           out to customers,   an   Uber

                                                                                           Lyft sign         is a must-have         addition     to your    car to let passengers    know

                                                                                           you        have arrived.



                                                                                           Features
                                                                                                  e     Ultra Bright       LED    lights make      your    car visible

                                                                                                  e     Perfect size to be noticeable to customers
                                                                                                  e     No   messy wires,         powered      by a built-in      battery

                                                                                                  e     Rechargeable         lithium     battery lasts up to 10 hours

                                                                                                  e     Removable         sign with     adhesive      holder

                                                                                                  e     Easy installation


                                                                                           Availability: In stock




                                                                                                 ADD     TO CART



                                                                                           Free shipping on US Orders!

                                                                                           @     Secure Payments
                                                                                           @     30 Day Money Back Guarantee
                                                                                           @     No Hassle Refunds


                                                                                                                                 Guaranteed      Safe Checkout



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                                                                                                                                    Pay now or pay later




                                                                         Customer Reviews

                                                                                       kkekkk                                                   206




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                                                                                                Customer Reviews

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                                                             Wk www             4.89 out of5                          wkK KY
                                                             Based on 224 reviews                                     KKK
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                                                                                                                      kee


                Most    Recent




              xKkkkk
               o J.B.
               “e
              Great product,        fast shipping!

              Does     everything     it says     it does.      Looks   great   and   lights up very nicely at night.      My only request   is to have   a switch   between   Uber-only,   Lyft-only,   or
              both. The     mount      is a     little flimsy but secures        well with   the   provided   3M   tape.




              wxkkekkk
                ©      Mustafa Alobaidi

              Uber Lyft LED Sign



              wkkekkk
                Oo     Mike Comero
               “ew
              Lyft light
              Came.pretty         quick,      works   great..




              wKkkkk
                ©.     Saiful Islam
               a~
              Uber     Lyft LED     Sign




              wxkkkk
                ©      Daniel Montgomery

              The sign is great

              | love the sign, i drive at night mostly, so my customers being able to see my car helps a lot. It also helps with driving for both lyft and Uber.




            You may also like...




                                                                                                                                UBER                                           Uber
                                                                            Uber                                                (Ta                                              Ty) a.

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                                                         Uber
                     & & &
                    ww            58 reviews              & & &
                                                         Ww            113 reviews                    Ww & & & & 30 reviews           Ww & & & & 20 reviews

                    Uber Blue/Lyft LED Sign                    Uber LED Sign                           Uber Lyft LED Sign -         Uber Blue/Lyft LED Sign -
                                                                  $36.99                                   Uppercase                          White Outline
                             $36.99
                                                                                                               $36.99                               $36.99




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                                                                                                                              Removeable   Sign with Sturdy   Adhesive   Cradle Y/




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                          OUT OF STOCK                                                                                                                                               |
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                                                         & & & & & 10 reviews                         Ww & kk & 52 reviews            Wk wk & 12 reviews
                ~Car Headrest Backseat 3-
                   in-1       Power
                        Fast with
                   Station           Charging
                                  Retractable                             ;
                                                             Grubhub LED Sign                                        :
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                             Cords                                $36.99                                       $36.99                                   9g
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                                                                                          & & &                 58 reviews

                                                                                         Uber Blue/Lyft LED Sign
                                                                                         $36.99
                                                                                         If you       want to make          your vehicle stand           out to customers,   an   Uber

                                                                                         Lyft sign         is a must-have         addition     to your    car to let passengers    know

                                                                                         you        have   arrived.



                                                                                         Features
                                                                                                e     Ultra Bright       LED    lights make your         car visible

                                                                                                e     Perfect size to be noticeable to customers
                                                                                                e     No   messy wires,         powered      by a built-in      battery

                                                                                                e     Rechargeable         lithium     battery lasts      up to 10 hours

                                                                                                e     Removable         sign with     adhesive      holder

                                                                                                e     Easy installation


                                                                                         Availability: In stock




                                                                                                                                           — oR     —



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                                                                                               Customer Reviews

                                                                                                                    xkkke




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                                                            kw kw             4.97 out of 5                         kkkkY
                                                           Based     on 58   reviews                                keke
                                                                                                                      ke
                                                           collected     by Judge.me                                ee     YY

                                                                                                                    ¥YYNY



               Most    Recent




              xkkke
                ©      Steven Tricarico
               “eu
              Awesome         unit

              Great    item    ... lasts well and very professional            looking




              wkkekkk
                0.     Kirk Singer
               a~
              Uber Blue/Lyft LED Sign



              wk KK YY
                ©      Mark Torre
               “e
              Looks    Great!

              | haven't      had     a chance     to see how      long the   battery   lasts, however    these    look superior   to others   I've seen.   How    Long these will hold     a charge   and
              how     many     times     they'll recharge     to nearly maximum          capacity   will be the   other   criteria by which   these   will be    reviewed.   It would   be nice if they
              included       a way to order        an   additional   mounting      frame.




              xkkkk
                © Michael Callaghan

              Perfect uber lyft combo sign
              Sets    me    apart from      the    other   drivers




              xKkkkk                                                                                                                                                                              11/24/2022


                ©      power Amioku
               “ew
              Great

              The    Uber     Lyft LED    sign works       good    and   creates   awareness   for my    riders




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                    Uber
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                    Ww           113 reviews             & & &
                                                        Ww             224    reviews                      & &
                                                                                                          ww                   w&     30   reviews             Ww & & & &       30   reviews

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                                                                   $36.99                                             Uppercase                                     White Outline
                            $36.99
                                                                                                                             $36.99                                       $36.99




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                                                                                                  Removeable   Sign   with   Sturdy   Adhesive   Cradle   /




                          EU                                 Uber                                                                                                      a
                                                                                                                                                                DOORDASH




                    Ww & & & &   10 reviews

                      Grubhub LED Sign
                                                         wk
                                                          & & &         44   reviews

                                                             Uber Blue LED Sign
                                                                                                          Www
                                                                                                            & & &
                                                                                                                         re
                                                                                                     ~Replacement Holder for LED
                                                                                                                                      12 reviews               Www
                                                                                                                                                                 & & &          52 reviews

                                                                                                                                                                 DoorDash LED Sign
                            $36.99                                 $36.99                                                    Signs                                        $36.99
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             About Us
             Thank you for visiting us here at HUTTRONICS! As a US-based company here in California, we’ve seen firsthand the need for easy-to-use, high-
             visibility lighted rideshare signs and gig economy accessories. Not only do our signs help our customers connect with their customers quickly and
             easily, they also eliminate many of the common            hassles — parking problems, customer identification issues, and more - experienced every day by the
             millions of hardworking gig workers nationwide. Our items are designed, built, and manufactured with real users in mind, and customer satisfaction is,
             and always will be, our top priority.


             We’re proud to be a crucial part of the gig economy, and look forward to lighting the way to easier pickups, drop-offs, and runs as you work on the
             road.


             Have questions or comments?      Please feel free to reach out to us directly at: Support@Huttronics.com        —- we’re always happy to hear from you!




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